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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA



IN RE: CENTURYLINK SALES            MDL No. 17-2795 (MJD/KMM)
PRACTICES AND SECURITIES
LITIGATION

This Document Relates to:

Civil Action No. 18-296 (MJD/KMM)



     CONSOLIDATED SECURITIES CLASS ACTION COMPLAINT
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                 COUNT I
                     FOR VIOLATIONS OF SECTION 10(b) OF THE EXCHANGE
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       Lead Plaintiff the State of Oregon by and through the Oregon State Treasurer and

the Oregon Public Employee Retirement Board, on behalf of the Oregon Public Employee

Retirement Fund (“Oregon”) and named plaintiff Fernando Alberto Vildosola, as trustee

for the AUFV Trust U/A/D 02/19/2009 (“Vildosola,” and collectively with Lead Plaintiff,

“Plaintiffs”), individually and on behalf of a class of similarly situated persons and entities,

by their undersigned attorneys, allege the following against CenturyLink, Inc.

(“CenturyLink” or the “Company”) and the Executive Defendants (defined below), upon

personal knowledge as to themselves and their own acts, and upon information and belief

as to all other matters.

       Plaintiffs’ information and belief as to allegations concerning matters other than

themselves and their own acts is based upon the investigation conducted by and through

counsel, which included, among other things, the review and analysis of: (i) transcripts,

press releases, news articles, and other public statements issued by or concerning

CenturyLink and the Executive Defendants; (ii) research reports issued by financial

analysts concerning the Company; (iii) reports and other documents filed publicly by

CenturyLink with the U.S. Securities and Exchange Commission (“SEC”), the Federal

Communications Commission (“FCC”), and other governmental bodies, including state

public utility commissions; (iv) publicly filed documents and discovery from the

Minnesota Attorney General’s investigation into CenturyLink; (v) CenturyLink’s

corporate website; (vi) interviews with former CenturyLink employees; (vii) information

and documents obtained through requests made under the Freedom of Information Act

(“FOIA”) and similar state open records laws, including from the FCC, numerous state
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Attorneys General and other governmental bodies; and (viii) other publicly available

information. Plaintiffs believe that substantial additional evidentiary support will exist for

the allegations set forth herein after a reasonable opportunity for discovery.

        Plaintiffs bring this federal securities class action on behalf of themselves and a

class consisting of all persons and entities who purchased, or otherwise acquired, the

securities of the Company from March 1, 2013 to July 12, 2017, inclusive (the “Class

Period”), subject to certain exclusions addressed below (the “Class”). Defendants in this

action are: CenturyLink; Glen F. Post, III (“Post”), CenturyLink’s former CEO; R. Stewart

Ewing, Jr. (“Ewing”), CenturyLink’s former CFO; David D. Cole (“Cole”), CenturyLink’s

former Executive Vice President and Controller, Karen Puckett (“Puckett”), CenturyLink’s

former Global Head of Sales; Dean J. Douglas (“Douglas”), former President, Sales and

Marketing; and G. Clay Bailey (“Bailey”), former Senior Vice President and Treasurer.

Plaintiffs’ and the Class’s claims arise under Sections 10(b) and 20(a) of the Securities

Exchange Act of 1934 (“Exchange Act”) and Rule l0b-5 promulgated thereunder.

I.      PRELIMINARY STATEMENT

        1.     This case arises out of CenturyLink’s years-long practice of routinely and

systematically misquoting prices and improperly billing customers for services they did

not request.     This illegal practice, termed “cramming,” was so endemic and

institutionalized at CenturyLink that, according to an internal CenturyLink audit, the

Company potentially overbilled 3.5 million customers—a number representing over half

of CenturyLink’s 5.9 million broadband subscribers and one-third of its 12 million wireline

subscribers.

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       2.     The Company’s systemic overbilling was condoned and encouraged by the

Company’s senior leadership, which depended upon these corrupt practices to meet the

financial projections Defendants provided to Wall Street. Naturally, the fact that the

Company overbilled half of its customers had a material financial impact on the Company’s

reported financial results. But CenturyLink never once disclosed that the Company’s

reported revenues could be called into question, let alone suggest any hint of wrongdoing.

       3.     To the contrary, during the Class Period, Defendants told investors that the

Company’s sales practices were beyond reproach, and publicly committed that

CenturyLink would never “place or record an order for our products and services for a

customer without that customer’s authorization.” Instead, Defendants falsely attributed

CenturyLink’s substantial revenue and subscriber growth in its consumer and small

business segments to the Company’s focus on “customer needs” and its “customer first”

sales approach, competitive “bundling” marketing strategy, and strict adherence to the

Company’s Unifying Principles: “fairness, honesty and integrity.” These and similar

representations were critical to investors, and gave them confidence that the Company

would weather the declines in the Company’s long distance wireline services, effectively

compete with cable operators to sell broadband high speed internet and television services,

and continue to generate dependable and sustainable cash flows.

       4.     Unfortunately for investors, these representations were entirely at odds with

reality. Contrary to Defendants’ representations, CenturyLink:

             routinely added services to customers’ accounts without
              authorization, which would result in customers being charged for
              services they did not need, request or approve;

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            routinely and repeatedly lied to customers about the prices they would
             be charged, including by misrepresenting the terms and conditions
             required to obtain promotional discounts, the duration of discounted
             prices and other contract terms, and penalties for cancellation;

            systematically misquoted the prices of customer contracts by failing
             to disclose that “bundled” and other multiple service packages
             included fees for optional services that the customer did not need or
             authorize—a sales pitch developed by CenturyLink management,
             taught to sales trainees, and promoted at monthly sales meetings; and

            concealed other highly material contract terms and misled customers
             concerning significant limitations on their service including the
             suitability or availability of particular services (such as the available
             speed of broadband), the existence of “early termination fees,” and
             other material terms.

      5.     These deceptive practices were documented in the Company’s computer

systems, reviewed by the Company’s quality assurance analysts, recorded in scores of

employee termination and disciplinary investigations and proceedings, and detailed in

internal audits and reports reviewed by senior management.            Indeed, CenturyLink

potentially overbilled up to half of its subscribers. Such widespread cramming did not

escape the attention of the Company’s senior management.

      6.     In fact, the Company’s senior leadership directly and purposefully

encouraged this behavior by imposing unachievable sales quotas on sales employees. In

the words of former CenturyLink employees, the Company’s sales quotas – which were

dictated by the Executive Defendants and based on the revenue projections they approved

– were “insane,” so “ridiculously high you had to cheat to get your numbers” and

“impossible to meet unless you were engaged in shady practices.” The Company’s senior

management closely monitored and enforced strict compliance with these quotas, and
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terminated sales employees who did not meet them. That punishment was meted out even

though, during a significant portion of the Class Period, it meant that over half of all sales

employees were disciplined for failing to meet CenturyLink’s quotas.

       7.     As explained by numerous former employees, however, at CenturyLink, the

“numbers are the numbers,” and the Company refused to adjust quotas despite the fact that

they could not be met without engaging in fraud. At the same time, employees who

exceeded sales goals were rewarded with cash bonuses and recognized as honorees in the

Company’s “Circle of Excellence” program—even if those sales were achieved through

deceptive means. In fact, as reported by former CenturyLink employees, “Circle of

Excellence” honorees were often the very same employees who were engaged in deceptive

practices and cited for illegal cramming.

       8.     The cramming culture at CenturyLink was such an ingrained and endemic

part of the Company’s business that, during the Class Period, the Executive Defendants

internally acknowledged the problem and secretly took significant steps to address it. For

example, in April 2014, Defendant Bailey – who worked “directly” for Defendant Post in

dealing with the Company’s billing systems and call centers – acknowledged that

cramming was occurring on a significant scale, and agreed that “[w]e’ve got to do

something about our call centers.” Shortly thereafter, Defendant Post sent out an internal

Company email announcing that Defendant Bailey would be responsible for business ethics

and how the Company deals with customers.

       9.     Next, just months later, CenturyLink implemented a significant change to the

Company’s sales employee performance assessment model specifically in order to address

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the Company’s unethical sales practices.         Although the new method was an initial

success—with customer complaints and terminations for unethical behavior declining

significantly—it was soon followed by a decline in sales. Unwilling to tolerate any drop

in revenues, CenturyLink’s senior management reverted back to strict quota-enforcement

almost immediately. At the same time, the Executive Defendants continued to receive and

review monthly reports detailing the thousands of customer and regulator “cramming” and

billing complaints which confirmed the scope and seriousness of the fraud.

       10.    Instead of disclosing the truth—that CenturyLink’s cramming practices were

a material driver of the Company’s revenues, and that efforts to address them had led to a

sharp decline in sales—Defendants concocted a false story to explain the Company’s

fluctuating financial results. In fact, at the same time, the SEC directly questioned the

Company about the adequacy of its disclosures concerning the performance of the

consumer segment and the Company flatly denied any material information was omitted—

despite the fact that the Company had turned its entire sales operation upside down, and

back again, because its revenues were so drastically impacted by illegal billing.

       11.    Unwilling to report a continued slowdown in sales, CenturyLink returned to

form, and the Company’s billing misconduct again continued to drive customer complaints

and began to attract the attention of the news media and regulators. But even as complaints

and state regulator and news media investigations mounted, the Company refused fix its

broken sales culture, failed to disclose the widespread fraud and related investigations, and

affirmatively denied allegations of improper sales practices.



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      12.    For example, in April 2016, CenturyLink quietly settled an investigation into

its billing practices by the Arizona Attorney General, agreeing to a nominal $150,000

payment while “expressly” denying each and every one of the regulator’s allegations. And

although CenturyLink agreed to adopt changes to prevent further cramming, the Company

swiftly disregarded the measures it promised the Arizona Attorney General it would follow.

      13.    In May 2016, just a month later, the Minnesota Attorney General served

CenturyLink with a civil investigative demand following scores of complaints by

Minnesota customers. While Defendant Post would later attempt to take personal credit

for “cooperating with the AG’s office since the inquiry began,” Minnesota Attorney

General Lori Swanson made clear that CenturyLink did everything in its power to quash

the investigation and keep CenturyLink’s billing practices a secret. For example, when

responding to General Swanson’s discovery requests, CenturyLink falsely denied

documents existed—but when the Attorney General subpoenaed CenturyLink’s vendors,

they “promptly” produced the documents CenturyLink claimed did not exist.

CenturyLink’s response to the Minnesota Attorney General was consistent with how it

handled the Arizona Attorney General and other state regulator investigations into the

Company—the Company tried to get by with only paying a nominal fine and agreeing to

cosmetic changes, but never actually intended to reform its practices. As explained by one

former employee, CenturyLink’s senior management would rather “pay the fines” than

“kowtow” to a state Attorney General.

      14.    Several months later, as a similar scandal involving the unauthorized opening

of customer accounts at Wells Fargo began to make headlines, a CenturyLink

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whistleblower, Heidi Heiser, brought her concerns over the cramming she witnessed

directly to the attention of CenturyLink’s CEO, Defendant Post. Specifically, in an online

town hall meeting in October 2016, during which Company employees had the opportunity

to post questions to an online message board for review by Defendant Post, Heiser asked

the CEO “why customers were being given multiple accounts and being billed for things

they did not ask for” – again alerting CenturyLink’s senior-most executives to the practices

they had previously attempted to address. Consistent with the manner in which the

Company treated other employees who challenged CenturyLink’s practices, the

whistleblower’s post was promptly removed, and she was terminated just two days later.

       15.    As CenturyLink sought to scuttle the Minnesota Attorney General’s

investigation and fired employees who challenged the Company’s sales culture, the

Executive Defendants doubled down on their false portrayal of CenturyLink’s “customer

first” approach. For example, in a May 2016 investor conference call, the Executive

Defendants sought to distinguish the Company from CenturyLink’s competitors,

representing that – unlike other providers – CenturyLink did not “add[] a lot of fees” to

customers’ bills. At the same time, the Company continued to tout its “honest and personal

service” and pointed investors to its Code of Conduct, in which CenturyLink promised it

would not “misstate facts or mislead consumers through Company advertisements or

promotions,” “engage in unethical or deceptive sales practices,” or “place or record an

order for our products and services for a customer without that customer’s authorization.”

       16.    The truth concerning the Company’s fraudulent practices began to be

revealed on June 16, 2017, when Bloomberg published a story revealing that a CenturyLink

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whistleblower, Heiser, was fired after raising her concerns about the Company’s fraudulent

business practices with Defendant Post. That article, titled “CenturyLink Is Accused of

Running a Wells Fargo-Like Scheme,” addressed Heiser’s account of CenturyLink’s

practice of charging customers for services they did not request, the striking parallels to

the Wells Fargo scandal, and the fact that these practices had led to “many millions” of

dollars in improperly recorded revenues. As a result of these revelations, the Company’s

stock declined significantly on extraordinarily heavy volume.

        17.   The next trading day, on June 19, 2017, CenturyLink’s securities continued

to decline after additional reports of consumer class actions filed in the following days

alleging systemic billing misconduct in numerous states across the country.

        18.   Then, on July 12, 2017, the Minnesota Attorney General announced that it

had filed a lawsuit against CenturyLink alleging violations of state consumer protection

laws after a year-long investigation. As detailed in news reports, the Minnesota Attorney

General’s complaint, which was posted on its website, provided extensive detail as to how

the Company defrauded Minnesota consumers by refusing to honor the prices they were

quoted. Among other things, the complaint cited internal Company employee emails and

call recordings detailing that “maybe 1 out of 5 [customers] are quoted correctly or close

enough.” The details provided in the Minnesota Attorney General’s complaint also further

revealed the financial impact of the Company’s fraudulent practices—documenting scores

of instances where customers were charged hundreds of dollars more than they should have

been.



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       19.    Analysts reacted sharply to the news, and downgraded their ratings on the

Company’s stock. CenturyLink’s stock declined immediately in a statistically significant

manner on extraordinarily high volume, causing substantial investor losses.

       20.    CenturyLink’s illegal billing practices are now the subject of investigations

by state Attorneys General around the country, the Company has been forced to adopt

changes to address the cramming practices that undergirded the Company’s reported

growth, and CenturyLink’s revenues have stagnated as a result. Indeed, the Company’s

stock price is currently trading at approximately $18.00 per share, or less than half of its

Class Period high.

       21.    Through this action, Plaintiffs and other CenturyLink investors seek to hold

the Company and the Executive Defendants accountable for this misconduct, and recover

the significant losses caused by their fraud.

II.    JURISDICTION AND VENUE

       22.    This Complaint asserts claims under Sections 10(b) and 20(a) of the

Exchange Act, § 78j(b) and 78t(a), and the rules and regulations promulgated thereunder,

including SEC Rule 10b-5, 17 C.F.R. § 240.10b-5 (“Rule 10b-5”).

       23.    This Court has jurisdiction over the subject matter of this action under

Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331, because this is

a civil action arising under the laws of the United States.

       24.    Venue is proper in this District under Section 17 of the Exchange Act, 15

U.S.C. § 78aa, and 28 U.S.C. § 1391(b) and (c) because the Company has significant

operations in this District and many of the acts and transactions that constitute violations

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of law complained of herein, including the dissemination of the materially false and

misleading statements set forth herein, occurred in this District.

       25.    In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not

limited to, the mails, interstate telephone communications, and the facilities of the national

securities markets.

III.   PARTIES

       A.     Plaintiffs

       26.    Lead Plaintiff State of Oregon by and through the Oregon State Treasurer

and the Oregon Public Employee Retirement Board, on behalf of the Oregon Public

Employee Retirement Fund (“Oregon”) operates and oversees public funds for the benefit

of retired public employees. The Oregon Public Employee Retirement Fund is a state

pension fund for retired public employees overseeing $77 billion in assets under

management as of April 30, 2018. As reflected in its certification filed herewith, Oregon

purchased CenturyLink securities during the Class Period and suffered damages as a result

of the violations of the federal securities laws alleged herein.

       27.    Named Plaintiff Vildosola purchased CenturyLink securities during the

Class Period. Fernando Alberto Vildosola resides in the State of California and is trustee

for AUFV Trust U/A/D 02/19/2009. As reflected on the certification filed herewith, AUFV

Trust U/A/D 02/19/2009 purchased CenturyLink’s 7.60% Senior Notes due September 15,

2039 (the “7.60% Senior Notes”) during the Class Period and suffered damages as a result

of the violations of the federal securities laws alleged herein.

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      B.     Defendants

      28.    Defendant CenturyLink is a Louisiana corporation headquartered at 100

CenturyLink Drive, Monroe, Louisiana 71203. CenturyLink’s common stock trades on

the New York Stock Exchange under the symbol “CTL.”

      29.    Defendant Post was at all relevant times the CEO, President, and a director

of CenturyLink. During the Class Period, CenturyLink announced that Defendant Post

would be succeeded in his role as CEO of CenturyLink on January 1, 2019, or about 15

months after the Company’s then-pending merger with Level 3 Communications, Inc.

(“Level 3”) was expected to close. Then, on March 9, 2018, after the end of the Class

Period, and just several weeks after CenturyLink disclosed the results of its internal

investigation into the misconduct at issue in this case, the Company announced that

Defendant Post would in fact be leaving far sooner—on May 23, 2018, following the

Company’s 2018 Annual Shareholders’ Meeting.

      30.    Defendant Ewing was, at all relevant times, the CFO and Executive Vice

President of CenturyLink. Ewing resigned his post shortly after CenturyLink closed its

acquisition of Level 3 on November 1, 2017.

      31.    Defendant Cole was at all relevant times Executive Vice President and

Controller of CenturyLink, and served as the Company’s principal accounting officer

during the Class Period. On March 27, 2018, Cole informed the Company of his decision

to step down from the Company effective April 8, 2018.

      32.    Defendant Puckett spent 15 years at CenturyLink until the Company

unexpectedly announced her departure on June 2, 2015. From 2009 through October 2014,

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Puckett served as CenturyLink’s Executive Vice President and COO. From November

2014 until she left the Company in August 2015, she served as CenturyLink’s President of

Global Markets. During the Class Period, Puckett was the highest ranking executive with

direct oversight of the consumer segment sales division. In the June 2, 2015 announcement

describing her departure, which came just four months after she was promoted to global

head of sales, Post said that “Karen and I have mutually arrived at a conclusion that, after

15 years of hard work and extensive contributions, she will retire from the company.”

Puckett forfeited over $2.2 million worth of CenturyLink stock upon termination of her

employment.

       33.    Defendant Douglas took over Puckett’s role. He began his employment at

CenturyLink as President, Sales and Marketing in February 2016, and was later named

President, Enterprise Markets. On April 28, 2017 CenturyLink disclosed that Douglas

would be a member of the “senior leadership” team reporting to Post after the Level 3

merger closed and, on June 1, 2017, confirmed certain executive compensation that

Douglas would receive in connection with that role in a Form 8-K filed with the SEC.

However, less than two months later, following the disclosures of the Company’s

widespread cramming practices alleged herein, on June 22, 2017, CenturyLink disclosed

that Douglas had “decided to leave the company at the close of the Level 3 transaction.”

In doing so, Douglas forfeited over $2 million in compensation.

       34.    Defendant Bailey held numerous positions during his 25-year career at

CenturyLink. During the Class Period, Bailey served as the Company’s Senior Vice

President and Treasurer and, as such, had significant involvement in the Company’s

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financial affairs and, under the Company’s bylaws, had general custody of all of the funds

and securities of the Company and authority to sign all bills of exchange or promissory

notes of the Company. In 2014, Defendant Bailey served as CenturyLink’s Senior Vice

President of Operations with oversight over “all [CenturyLink’s] region operations.” In

2015, Defendant Post asked Bailey to serve as “Senior Vice President of Operations

Transformation.” As described by Defendant Post, in that role, Defendant Bailey oversaw

a team “devoted to…bringing really a better customer experience at every touch point for

our customers.” Defendant Ewing explained that, in this position, “Clay basically works

directly for [Defendant Post], and he’s in charge of really taking a look at all of our

processes to see how we can streamline our processes to enable us to be easier to do

business with from a customer perspective.” During the Class Period, Defendant Bailey

served as a spokesperson for the Company, including in investor conference calls and

presentations.     Previously, Defendant Baily served as the lead of the Company’s

Regulatory and Legislative teams at both the state and federal levels, and served as a

spokesperson for the Company in its interactions with regulators.

       35.       The Defendants referenced above in ¶¶29-34 are collectively referred to

herein as the “Executive Defendants.” The Executive Defendants, because of their high-

ranking positions and direct involvement in the everyday business of CenturyLink and its

subsidiaries, directly participated in the management of CenturyLink’s operations,

including its public reporting functions, had the ability to, and did control, CenturyLink’s

conduct, and were privy to confidential information concerning CenturyLink and its

business, operations and financial statements, as alleged herein.

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       36.    CenturyLink and the Executive Defendants together are sometimes

collectively referred to herein as the “Defendants.”

IV.    FACTUAL BACKGROUND AND SUBSTANTIVE ALLEGATIONS OF
       FRAUD

       37.    CenturyLink is the third largest telecommunications company in the United

States, and provides a wide variety of telecommunication, internet and similar services to

approximately 12 million customers. The Company’s main offerings include local and

long-distance telephone services, broadband internet access, and video services. Although

CenturyLink changed its reporting segments at certain points during the Class period, the

Company’s consumer segment was, at all times, a major driver of the Company’s financial

success. The consumer segment accounted for a third or more of the Company’s revenues

during the Class Period, or up to $6 billion or more annually, and was a central focus for

CenturyLink’s investors.

       38.    Although it was not separately reported, CenturyLink’s Small and Medium

Business (“SMB”) sales also served as a significant source of revenue for the Company.

Former Employee No. 1 (“FE-1”), who worked at CenturyLink for approximately 18 years,

including as a Manager of Customer Care and Sales in the Southeastern United States until

February 2018, estimated that the SMB business was approximately 20% of the size of the

consumer segment, and employed the same, call-center based sales apparatus as the

consumer segment.




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       A.     CenturyLink Touts Revenue Growth Through Acquisitions And Its
              Purportedly Superior Customer Service And Marketing Practices

       39.    Throughout the Class Period, CenturyLink touted its purportedly superior

“customer-first” approach as a key distinguishing feature and a driver of the Company’s

success. Even before the Class Period, the Company told investors that this approach

would enable the Company to succeed where its competitors had fallen short.

       40.    Through a series of acquisitions, including the Company’s $11.6 billion

acquisition of Embarq in July 2009, its $24 billion acquisition of Qwest in April 2011, and

its $2.5 billion acquisition of Savvis in July 2011, CenturyLink had grown to become the

third largest telecommunications provider in the United States by the beginning of the Class

Period. During this period of extraordinary growth, the Company repeatedly told investors

that its success would be based on providing a superior “customer experience” relative to

its competitors. Specifically, the Company told investors that CenturyLink would grow

revenues and add subscribers through its superior “marketing strategy” and “customer care

system,” all while maintaining strict adherence to the Company’s Unifying Principles,

including “fairness, honesty and integrity.” According to CenturyLink, these were the key

“differentiators” that were the basis for the Company’s success. As CenturyLink claimed,

“our employees keep our customers at the center of everything we do.”

       41.    CenturyLink also told investors that its “customer first” business model

would enable the Company to grow revenues in the markets where Embarq and Qwest had

previously competed, but had fallen short. For example, Defendant Ewing, CenturyLink’s

CFO, told investors that CenturyLink would be able to leverage is superior “customer


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service and marketing efficiencies” to grow revenues in markets previously served by

Embarq by changing “what they’ve been doing from a marketing standpoint and [using]

the approach that we’re using.” Similarly, Defendant Post, CenturyLink’s CEO, explained

that the Company would “drive revenues and to create synergies in the Embarq areas” by

deploying CenturyLink’s IT and “billing systems, [which] we think [will] create a better

customer experience and reduce costs significantly from a customer service standpoint.”

Immediately after the Embarq acquisition closed in July 2009, CenturyLink began to

highlight the revenues the Company was generating from its superior marketing

capabilities.   For example, during the Company’s November 5, 2009 third-quarter

conference call, Defendant Post said this strategy was “going very well” and “already

making a difference” due to the change to “local market focus.” As Post explained:

       We have implemented our aggressive Broadband strategy and Embarq
       market in the third quarter. And among a number of things this effort
       included consumer promotional pricing for high-speed internet and the
       targeting of non-customers with our Pure Broadband products. It has proven
       very successful and obviously contributed to our Broadband customer
       growth during the quarter.

       42.      CenturyLink similarly told investors that adopting its sales and marketing

approach in areas formerly served by Qwest enabled the Company to take back market

share Qwest had previously ceded to competitors. During a presentation at the UBS Global

Media and Communications Conference on December 8, 2010, Defendant Ewing

explained that CenturyLink would operate its newly-acquired Qwest division “the same

way we operate legacy CenturyLink today.” As with Embarq, Defendants touted the

Company’s success in applying the CenturyLink approach to Qwest markets. For example,


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during a September 13, 2012 investor call, Defendant CFO Ewing claimed “[w]e’re seeing

results in the Qwest markets from just the local model that we’ve implemented.” Ewing

claimed these results were due to the CenturyLink model, where managers are “responsible

for serving our customers out there and really gathering the information that helps define

the way we compete against the cable company in that market.”

              1.     CenturyLink Represented That It Met and Exceeded
                     Regulators’ Customer Service Standards And That Risks Of
                     Non-Compliance With Those Standards Were Merely
                     Hypothetical

       43.    CenturyLink carefully crafted a public image as an honest steward of its

telecommunications infrastructure by repeatedly claiming that it met and exceeded the

customer service standards and consumer protection laws governing its business. During

the Class Period, CenturyLink was subject to significant regulation by the Federal

Communications Commission (the “FCC”), which regulates interstate communications,

state utility commissions, which regulate intrastate communications, and other regulators

that enforce rules to protect consumers and promote competition.

       44.    One critical set of regulations designed to protect consumers from

unscrupulous sales and billing conduct targets a practice known as “cramming.”

“Cramming” refers not only to the situation in which a customer is charged for a service

he or she did not authorize or request, but also encompasses other improper practices in

which customers are not properly informed of the terms or conditions of services. For

example, the FCC defines “cramming” as “placing unauthorized, misleading or deceptive

charges on a consumer’s telephone bill” or failing to “clearly or accurately describe all of


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the relevant charges when marketing a service.”1 Many states and municipalities have

enacted legislation specifically outlawing cramming that describe the practice similarly.2

       45.    The illegal practice of cramming became a prominent concern of the public

prior to the Class Period. In May 2010, Senator John D. Rockefeller IV, the then-Chair of

the Senate Committee on Commerce, Science, and Transportation (the “Senate

Committee”), opened an investigation to examine the extent of third-party cramming. That

investigation culminated in a July 12, 2011 Senate Committee report that found, among

other things, that AT&T, Verizon, and Qwest (which CenturyLink acquired in April 2011)

had reaped more than $650 million from third-party billing.3

       46.    During the Senate Committee’s investigation, CenturyLink sought to

distance itself from third-party cramming and to assure regulators that its billing practices



1
  Another illegal practice, “slamming,” occurs when a service provider switches a
consumer’s traditional wireline telephone company for local, local toll, or long distance
service without permission. Given the similarity between the terms, even professionals in
the telecommunications industry refer to “slamming” when they instead mean
“cramming,” and vice versa. As used herein, both “cramming” and “slamming” refer to
the practice of “cramming” unless otherwise noted.
2
  For example, Wisconsin prohibits a service provider from initiating “any price increase
or other subscription change without giving the consumer prior notice,” and specifically
targets notice concerning the “duration of the promotional offer” and the “terms that would
apply after the promotional offer expired.” Similarly, California Public Utilities
Commission General Order 168 Part 4 provides that “[c]ramming occurs when an
unauthorized charge is placed on a Subscriber’s telephone bill,” and defines an
“unauthorized charge” as “any charge placed upon a Subscriber’s telephone bill for a
service or goods that the Subscriber did not agree to purchase, including any charges that
resulted from false, misleading, or deceptive representation.”
3
 U.S. Senate Committee on Commerce, Science, and Transportation, Staff Report on
Unauthorized Third-Party Charges on Telephone Bills (July 12, 2011).
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were appropriate. For example, in an October 24, 2011 submission to the FCC addressing

cramming, CenturyLink highlighted the purported integrity and rigor of the Company’s

processes relating to third-party billing. Among other things, the Company told the FCC

that it “monitors customer inquiries and complaints” about third-party billing and that the

Company’s “customer inquiry and complaint process focuses on customer satisfaction.”

According to the Company, “CenturyLink has a customer-friendly dispute resolution

process to address complaints about alleged cramming.”

       47.    CenturyLink even sought to present itself as an industry leader in combatting

cramming. In a March 21, 2012 letter to CenturyLink, U.S. Senator Amy Klobuchar (D-

Minn.) asked that CenturyLink voluntarily agree to limit third-party billing, noting that

doing so would represent a “significant step to cracking down on cramming.” Senator

Klobuchar told CenturyLink that “consumers shouldn’t have to open their phone bills every

month to find an endless array of ghost charges they never authorized” and urged him to

“step up to the plate” and remove third-party billing for services outside CenturyLink’s

network. Recognizing the political and public relations benefits of taking that step – and

that third-party (as opposed to direct service) billing was not a significant source of

revenues to the Company – CenturyLink agreed to the change a week later.

       48.    Thereafter, CenturyLink repeatedly highlighted its “voluntary” move to

remove third-party billing in an attempt to distinguish itself from competitors, present the

false impression to investors and regulators that the Company engaged in ethical and

transparent billing practices, and to avoid further governmental oversight of its actual

billing practices. For example, in a June 25, 2012 submission to the FCC, CenturyLink

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argued that the proposed rules were unnecessary because CenturyLink had already agreed

to limit third-party billing. In doing so, CenturyLink highlighted its purported commitment

to its customers, explaining that “CenturyLink values our customers and seeks to treat them

fairly and equitably in our delivery of products and services, including billing.” Similarly,

in a November 18, 2013 response to the FCC for further comment on the proposed rules,

CenturyLink portrayed itself as an industry leader in combatting cramming practices:

       CenturyLink values our customers and seeks to treat them fairly and
       equitably in our delivery of products and services, including billing. And we
       share the Commission’s goals of ensuring consumers are not subjected to
       unauthorized third-party charges. In that vein, CenturyLink determined mid-
       summer 2012 to reduce the scope of our third-party billing services,
       essentially foregoing most third-party enhanced-services billing….

       Our decision to reduce third-party billing activities was shared by other major
       U.S. wireline providers. And those billing reductions became operative
       coincident with additional regulations associated with the Commission’s
       2012 Cramming Order. The combination of these activities, we believe, has
       produced an environment associated with wireline carrier third-party billing
       that does not warrant additional government intervention.

       49.     CenturyLink also specifically agreed to abide by consumer protection

standards throughout the country in representations to the FCC and to state and local

authorities.   Under the 1992 Cable Act, the FCC promulgated consumer protection

standards in connection with cable television service, and empowered local authorities to

enforce the FCC’s standards and to promulgate their own, stricter standards. The FCC’s

standards – the very baseline CenturyLink was required to meet – required CenturyLink

to, among other things, give subscribers 30 days’ advanced notice of any changes in rates,

promptly issue refunds and credits for overcharges, and promptly answer customer calls.

As CenturyLink expanded its provision of cable services, the Company entered into

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numerous franchise agreements with local authorities in which it agreed to abide by the

FCC standards, or even stricter rules.

       50.       CenturyLink was also required to comply with consumer protection laws in

the states where the Company conducted business, as well as similar rules enforced by the

Federal Trade Commission (“FTC”), the Consumer Financial Protection Bureau and state

Attorneys General. In fact, every year during the Class Period, Defendant Cole personally

certified under penalty of perjury that he was “familiar with the Company’s day-to-day

operations” and the applicable “consumer protection rules” governing CenturyLink’s

business, and affirmed that the Company was “complying with applicable service quality

standards and consumer protection rules,” including those prohibiting the “unauthorized

switching to another telecommunications provider and unauthorized inclusion, or addition

of services, commonly known as slamming and cramming,” in 35 states and over 100

jurisdictions.

       51.       Government enforcement of these consumer protection laws took on

particular significance during the Class Period. Beginning in the fall of 2014, the FTC and

attorneys general from all 50 states pursued claims and obtained multimillion-dollar

settlements from AT&T and T-Mobile for illegal third-party cramming. In the AT&T case,

which settled for $105 million, the government alleged that customers had requested

refunds of more than 40% of the charges placed by some third parties – which should have

rung “alarms inside AT&T” – but AT&T refused to refund the amounts, capping any

refunds at only two months’ worth of charges no matter how long the customer had been



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improperly charged. These highly publicized enforcement actions alerted the Executive

Defendants to the significant consequences the Company’s illegal cramming would invite.

       52.     For this reason, CenturyLink itself repeatedly told investors that compliance

with these laws and regulations was critical to the Company’s success, and that the

consequences of noncompliance would be highly material. In SEC filings prior to and

throughout the Class Period, CenturyLink represented that it faced hypothetical risks in

connection with the high level of regulatory oversight it experienced. For example, in the

Company’s 2013 Annual Report filed with the SEC on February 27, 2014, CenturyLink

warned that the Company was subject to “significant” regulations by the FCC and state

utility commissions, that the “agencies responsible for the enforcement of these laws, rules

and regulations may initiate inquiries or actions based on customer complaints or on their

own initiative,” and that such actions could “have a material adverse effect on our

operations.”   In other words, the Company told investors that noncompliance with

consumer protection laws was a mere “risk”—not that this risk was likely materialize. As

Defendant Bailey explained in testimony before the Public Service Commission of Utah

before the Class Period, the risk warnings contained in CenturyLink’s SEC filings were

“not intended to suggest that the risks are likely outcomes.”

       53.     And this is exactly how investors understood CenturyLink’s purported risk

warnings, particularly given that CenturyLink at the same time assured investors that the

Company strictly complied with the regulations governing its business. Among other

things, CenturyLink published, and disseminated to investors on its website, a Code of

Conduct. In that document, CenturyLink acknowledged the importance of complying with

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laws and regulations governing its customer interactions, and claimed to adhere to certain

proscriptions on unethical conduct. Pursuant to the Code of Conduct, CenturyLink assured

investors that the Company would be “truthful and demonstrate integrity in all our

dealings,” “[n]ever encourage or direct employees to achieve business results at the

expense of ethical conduct or compliance with the Code or the law,” and “truthfully market,

promote, advertise and sell our products” – a requirement that was part of the Company’s

“commitment to act honestly in all business affairs.” Specifically, with regard to customer

interactions, the Code assured investors that “[a]ll descriptions of our products, services,

and prices must be truthful and accurate,” and the Company would not “misstate facts or

mislead consumers through Company advertisements or promotions.” Most significantly,

the Code stated that the Company would not “engage in unethical or deceptive sales

practices,” including “plac[ing] or record[ing] an order for our products and services for a

customer without that customer’s authorization.”

       54.    CenturyLink touted its Code of Conduct in SEC filings throughout the Class

Period. For example, CenturyLink’s 2014 Form 10-K stated that “[w]e have adopted

written codes of conduct that serve as the code of ethics applicable to our directors, officers

and employees,” that the Code of Conduct was “available in the ‘Corporate Governance’

section of our website” and that, to the extent “we make any changes (other than by a

technical, administrative or non-substantive amendment) to, or provide any waivers from,

the provisions of our code of conduct applicable to our directors or executive officers, we

intend to disclose these events on our website or in a report on Form 8-K filed with the



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SEC.” Based on these statements, the Company assured investors that they could take

comfort in the Company’s sales practices and the accuracy of its public disclosures.

              2.     CenturyLink Told Investors that Its Results Were Driven By
                     Its “Honest and Personal Service,” Superior “Customer
                     Experience” and Strategic “Bundling” Strategy

       55.    Not only did the Company tout its purported compliance with the laws

governing CenturyLink’s sales practices, CenturyLink told investors that those sales and

marketing practices would help it combat structural challenges facing the Company’s

business. CenturyLink’s core business was historically focused on providing local and

long distance telephone service – which the Company called “legacy services.” But by the

beginning of the Class Period, those services were in severe structural decline because, as

the Company explained in its 2014 Form 10-K, “an increasing number of consumers are

willing to substitute cable, wireless and electronic communications for traditional voice

telecommunications services.” This well-recognized phenomenon, often referred to in the

industry as customers’ “cutting the cord,” presented a significant threat.

       56.    Indeed, immediately before the Class Period, investors were alerted to just

how significant a threat this trend posed to the Company’s long-term financial health.

Specifically, just before the beginning of the Class Period, CenturyLink announced a

massive 25% dividend cut—a move that Defendant Post said was prompted by rating

agencies’ concerns about the Company’s ability to service its debt. The market reacted

severely to this development, which sparked concerns over the Company’s financial health

and led numerous analysts to downgrade the Company’s stock, which fell 22.6% on the

announcement.

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       57.    To counter the structural decline in wireline services and reassure investors

about the Company’s ability to continue generating the cash flows required to fund its

dividend, CenturyLink began to focus on selling what it termed “strategic services,” which

included consumer broadband, cable television, and similar newer technologies. As

Defendant CEO Post explained, the Company’s “strategic priorities” included increasing

sales of “consumer broadband and video” as a key to driving “long-term profitable growth

and value for our shareholders.” The Company’s ability to successfully grow these

business lines and return to “revenue stability” was of critical importance to investors –

indeed, it was a focus of every conference call during the Class Period.

       58.    In fact, throughout the Class Period, Defendants repeatedly highlighted the

marketing and sales strategies the Company purportedly used to grow new subscribers,

prevent customers from leaving, and increase sales—and falsely credited these practices as

responsible for CenturyLink’s reported revenues. Specifically, the Company told investors

that one of its key marketing initiatives involved selling these services as “bundled”

packages, in which consumers bought more than one of voice, data, and video products as

a single package. Defendants regularly explained that customers who purchased bundles

were less likely to “churn,” or leave the Company for a competitor, than were customers

who only purchased a single product. This marketing approach was highlighted in the

Company’s SEC filings throughout the Class Period, in which CenturyLink explained that

“[o]ur strategy is to enhance our communications services by offering a comprehensive

bundle of services…to further enhance customer loyalty.”



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      59.    The Executive Defendants also touted the Company’s “bundling” marketing

strategy on investor conference calls. For example, on an August 3, 2016 conference call,

Defendant Douglas explained that the Company’s ongoing “shift” to targeting “bundled

customers” drove “better ARPU,” or “average revenue per user,” as well as a “longer

lifetime revenue base for that customer.” According to Douglas, the Company was seeing

“churn level for our pure customers, or standalone high-speed customers” that was “double

that of what we’re seeing in those bundled customers,” explaining this signified a “very,

very significant churn rate in those [pure, non-bundled] customers.” Defendants touted the

Company’s ability to cross-sell products as a reason for optimism about CenturyLink’s

revenue prospects throughout the Class Period.

      60.    The Company also told investors that one of the keys to its sales strategy was

the use of the Company’s call centers. During the Class Period, the Company operated 18

call centers throughout the country, each of which was managed by a Call Center Director.

Call Center Directors reported to Linda Olsen, CenturyLink’s Vice President of Consumer

Contact Centers, who in turn reported to Defendant CEO Post. In numerous SEC filings

before and throughout the Class Period, CenturyLink explained that “[w]e…rely on our

call center personnel to promote sales of services that meet the needs of our customers”

and that “[o]ur approach to our…residential customers emphasizes customer-oriented

sales, marketing and service.”

      61.    The Company’s representations were critical to investors’ evaluation of

CenturyLink stock—particularly in light of the structural challenges facing the Company’s

business. For example, at the beginning of the Class Period, analysts at Morningstar Inc.

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noted that, while CenturyLink reported “nicely improved customer metrics in the consumer

and small business segment recently, we expect competition and declining demand will

continue to steadily erode revenue and margins in this business.” Accordingly, the analysts

were hopeful that CenturyLink would regain ground in those expanded territories through

the “strategies [CenturyLink] employed in the past, such as empowering local management

and using more direct marketing, to improve performance at both Embarq and Qwest.”

       B.     CenturyLink’s Revenues Were Secretly Driven By                        An
              Institutionalized Company-Wide Sales Cramming Apparatus

       62.    Defendants’ representations touting the Company’s “customer first” focus,

superior customer service approach, and legal compliance were false. In reality, fraudulent

sales practices were at the very core of the Company’s business model.

       63.    During the Class Period, CenturyLink implemented a boiler-room sales

apparatus in which intense pressure was exerted on sales personnel – including employees

in so-called “customer service” positions – to bill for CenturyLink products and services

without regard to whether customers wanted or requested them. This pressure took the

form of impossibly high sales quotas, which employees were required to meet under threat

of termination, as well as rewards and incentives for generating sales regardless of how

they were obtained. Under this constant pressure, customer service employees turned to

deceptive practices to hit their numbers, including cramming, misquoting prices, and

falsification of contracts. Indeed, some of the deceptive sales pitches CenturyLink used

were developed by Company managers and discussed at monthly sales meetings.




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       64.    To ensure that the Company kept as much revenue from these improper

charges as possible, CenturyLink established a “customer service” apparatus staffed by

hundreds of call center representatives who were coached on how to “save” sales and given

strict limits on the amount of “credits” they could issue to customers who had been

improperly billed. The Executive Defendants knew, through direct communications from

subordinates and regular reporting, that these rules and incentives led to rampant illegal

cramming. Specifically, and as set forth in detail below, CenturyLink engaged in the

following illegal and deceptive “cramming” practices:

             Adding unauthorized services to customers’ bills. As confirmed by
              numerous former employees, including FE-4, FE-7, FE-11, FE-13,
              FE-14, FE-15, CenturyLink routinely added services to customers’
              accounts without authorization, which would result in customers
              being charged for services they did not need, request or approve.

             Misquoting and deceiving customers concerning the prices they
              would be charged, including by misrepresenting or omitting key
              promotional terms. As reported by FE-5, FE-7, FE-9, FE-11 and FE-
              13 detailed in complaints filed by the Arizona and Minnesota
              Attorneys General, CenturyLink routinely represented that a customer
              would be charged one price for a particular service but would in fact
              be charged another.

             Misleading customers about other material terms. CenturyLink
              omitted and concealed highly material contract terms or misled
              customers concerning significant limitations on their service. As
              reported by FE-5, FE-9 and FE-11, one established, companywide and
              management-endorsed practice involved quoting a customer a price
              without disclosing that the price included additional fees for optional
              services.

       65.    These illegal and deceptive practices had a material, undisclosed effect on

the Company’s financial condition. As was revealed after the end of the Class Period, these

practices resulted in CenturyLink potentially “over-bill[ing] more than 3.5 million
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customers”—a number representing over half of CenturyLink’s 5.9 million broadband

subscribers and one-third of its 12 million wireline customers.

       66.    This extraordinary overbilling rate did not happen by accident, or escape the

attention of the Executive Defendants. To the contrary, as set forth below, these practices

were recorded in the Company’s computer systems, regularly reported to the Executive

Defendants and driven by a punitive sales quota system they approved.                In fact,

CenturyLink itself has admitted that these deceptive sales practices originated in the offices

and conference rooms at its corporate headquarters in Monroe, Louisiana.                   In

CenturyLink’s words, its sales and billing “practices are run out of its headquarters” and

“the consumer sales and billing channels at CenturyLink have all reported to common

management, and have all been subject to common sales and billing policies that apply

across all consumer channels.” CenturyLink’s lawyer explained to the Judicial Panel on

Multidistrict Litigation that “the decision-makers are in Monroe,” and that CenturyLink’s

call centers “just implement the policies from Louisiana.”

              1.     CenturyLink’s Senior Management Imposed “Ridiculous”
                     Sales Quotas That Could Not Be Met Without Engaging In
                     Deception

       67.    CenturyLink’s billing misconduct was driven by the sales quota system that

CenturyLink put in place to meet the ambitious revenue targets that the Company promised

Wall Street. The Executive Defendants, including Defendants Post, Ewing, and Puckett,

were personally involved in approving revenue forecasts and sales quotas that

contemplated and, in fact, necessitated improper sales practices.



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      68.    According to FE-1, sales quotas were based on revenue targets that would be

set by senior management during annual meetings.         Once the revenue targets were

determined, the marketing department would figure out which and how many products

needed to be sold to hit those targets – i.e., how many high speed internet connections,

Prism TV subscriptions, access lines, etc. Those figures would then be given to Linda

Olsen, and she and other directors would divvy up the units by head count and assign quota

numbers to each call center. According to FE-1, the quotas were based on the revenue

projections that management had set – not on what the Company’s sales force historically

achieved. As FE-1 explained, “it was all revenue driven” and did not “make sense” based

on prior sales. However, according to FE-1, CenturyLink’s senior management had no

interest in looking at any analytics that would take prior sales experience, or any other

factors, into account. At CenturyLink, FE-1 said, the “number was the number.”

      69.    Former Employee No. 2 (“FE-2”), who worked in Financial Planning and

Analysis as a Financial Analyst II from April 2013 through April 2016, confirmed that

revenue projections would be presented to the Executive Defendants, including Defendants

Post, Ewing, Cole, and Puckett, including by FE-2’s boss. The Executive Defendants

would then sign off on the projections, and those numbers became the working plan. FE-

2, who worked on revenue forecasting and variance analyses for PrismTV, among other

things, said that once the Company started receiving the actual numbers, a new analysis

was run and the outlook would be updated every quarter, and the Executive Defendants

received these updates. According to FE-2, CenturyLink’s revenue forecasts were often

out of whack. As FE-2 explained, “A lot of times I’d get unit projections and would think,

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‘Are we really going to do this?’ Just looking at what we had done [historically] it was

always mind blowing. In a market where we’d never sold over 1,700 units, all of a sudden

we’re going to push 2,500 units next month.”

      70.    Former Employee No. 15 (“FE-15”), who worked as a Regional President in

the Southern United States from 2009 through 2014, explained that CenturyLink’s

marketing strategy involved trying to compete with cable companies and other providers

on price—but then charge fees, terms and charges to help the Company recover the revenue

lost by keeping the price point low. FE-15 recalled that, in 2014, “there was a big push to

keep the price point low but add fees,” and FE-15 discussed this strategy in meetings with

Defendant Puckett, Defendant Bailey and Victory. FE-15 repeatedly voiced concerns

about it, particularly to Defendant Puckett, but was told FE-15’s approach was too naïve.

According to FE-15, however, “Putting fees out here that mask the issue or not talking

about them fairly…I didn’t feel comfortable with that.”

      71.    According to former CenturyLink sales representatives, the sales quotas

established by CenturyLink senior management were impossible to meet without

committing fraud. For example, Former Employee No. 3 (“FE-3”), an inbound call center

sales representative who worked at CenturyLink from April 2010 through December 2013,

confirmed that the Company encouraged deceptive sales practices by having “ridiculous”

sales quotas for the numerous products CenturyLink offered. As FE-3 explained, monthly

quotas required customer service representatives to sell approximately 20 TV

subscriptions, 30 internet subscriptions, 20 regular phone lines, and a certain number of

long distance plans, as well as added features like LineGuard, Caller ID, three-way calling

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and @Ease. FE-3 said that the sales quotas were unreasonable, and did not reflect what

employees who were dealing honestly with customers could be expected to sell.

       72.    Former Employee No. 4 (“FE-4”), who worked as a CenturyLink Inbound

Sales and Care Representative from March 2014 through January 2015, similarly

confirmed that CenturyLink’s monthly sales quotas were “insane” and strictly enforced.

Indeed, failure to hit the sales quotas for three months in a row was the reason FE-4 was

terminated from CenturyLink. FE-4 explained that CenturyLink’s quotas included selling

approximately 30-40 phone lines and bundles per month; 25-35 internet subscriptions per

month; and seven to 10 television subscriptions per month. FE-4 said that, for in-bound

call representatives, these quotas were difficult to meet because most customers were

calling in to complain about their bills and wanted to disconnect their service not purchase

additional ones. However, according to FE-4, this is what CenturyLink expected inbound

call representatives to do: sell additional products and services to complaining customers.

FE-4 said that sales representatives were told that they had 10 minutes per call to figure

out the customer’s problem, resolve it, and then make a sale.

       73.    Similarly, Former Employee No. 5 (“FE-5”), who worked as a Consumer and

Business Sales Manager in Boise, Idaho from February 2009 through June 2016, said that

CenturyLink sales employees repeatedly talked about how “crazy” the Company’s quotas

were. According to FE-5, the Company continued to steadily increase the sales goals

throughout his tenure and, based on interactions with call center employees, it was clear

that “their sales goals were so ridiculously high you had to cheat to get your numbers.”

Likewise, according to Former Employee No. 6 (“FE-6”), who worked as an Inbound Sales

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Representative from April through September 2015 and sold internet and cable services to

residential customers, the sales quotas were “impossible to hit unless you were engaged in

shady practices.”

               2.     CenturyLink Strictly Enforced Senior Management’s
                      Excessive Sales Quotas By Disciplining and Terminating
                      Employees Who Did Not Meet Them

         74.   CenturyLink’s billing misconduct was perpetuated through the strict,

punitive enforcement of the sales quotas senior management imposed. As confirmed by

FE-1, FE-5, Former Employee No. 7 (“FE-7”),4 and Former Employee No. 8 (“FE-8”),5

CenturyLink’s quotas for sales representatives were enforced as follows: In the first month

an employee missed his or her sales goals, he or she would be put on a “documented

discussion,” a formal discussion with a supervisor that was the first disciplinary step. If

the employee missed a sales goal for two months in a row, he or she would receive a written

warning; if sales goals were missed for three months there was a formal warning of

dismissal; and if goals were missed four consecutive months, the employee would be fired.

As FE-5 explained, as the Company raised sales quotas, the monthly targets were harder

to meet, which led to sales representatives to “store” any sales in excess of the monthly

quota, and then post-date those sales so they would appear on the next month’s statistics.

         75.   CenturyLink senior management closely monitored compliance with sales

quotas, and discussed disciplining sales representatives who missed them every month. As


4
 FE-7 worked as a Customer Care & Sales Supervisor from 2010 to 2018 in the
Midwestern United States.
5
    FE-8 worked as a Lead HR Business Partner from 2012 until 2016.
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FE-8 explained, Olsen (CenturyLink’s Director of Inbound Sales and Care), the relevant

director and manager from each of CenturyLink’s call centers, and an HR Business Partner

would hold monthly calls to discuss employee sales performance and discipline—including

how many representatives missed their targets, the status of the disciplinary action for those

individuals, and what the next disciplinary step would be. In those meetings, Olsen and

the HR Business Partners would review a spreadsheet that had a tab for each call center,

and rows for each of the employees at each center. The spreadsheet rows would turn red

if an employee did not hit their numbers. The excel sheet also included notes for the

disciplinary actions taken for poor sales performance, as well as detailed information

concerning the performance of each representative (including gross revenue, revenue per

order, revenue per call, calls per hour, and revenue per hour). In fact, according to FE-8,

most Company personnel – including the Executive Defendants (including Defendants

Post, Ewing and Puckett) – had access to a dashboard system that provided nearly up-to-

the-minute data on sales and revenues, including employee-level information.             The

workbooks would reflect this effectively “real time” data, and would also include notes on

any disciplinary action taken for cramming.

       76.    As FE-3 explained, the high employee turnover rate at the Company

illustrated that the quotas were unobtainable – about 15 to 30 new employees were brought

in every other month, maybe a third would be with the Company three months after

training. After three years, FE-3 was the eighth-most senior employee in a 60-employee

call center. FE-3’s own experience at CenturyLink illustrates just how unreasonable the

quotas were. In 2012, FE-3 was named a Circle of Excellence honoree, meaning that

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her/his sales were in the top 1% of the Company and s/he had a picture taken with

Defendant Post. However, the following year, when FE-3 was responsible for selling

PrismTV, s/he was terminated for failing to meet CenturyLink’s monthly quotas.

       77.    Significantly, CenturyLink sales representatives were not the only

employees accountable for meeting quotas – call center supervisors, managers and

directors were as well. Former Employee No. 9 (“FE-9”), who worked at CenturyLink

from 2002 through 2016, including as a Residential Customer Service Representative and

as a National Order Help Desk (“NOHD”) Representative in the Midwestern United States,

explained that this environment not only drove unethical behavior, but a tendency for call

center managers not to do anything about it. Although supervisors could terminate

employees for unethical conduct, there was no reason to do so because of the need to hit

quotas.

       78.    CenturyLink’s sales goals were enforced even when, as inevitably occurred,

doing so resulted in a majority of sales employees being disciplined. According to FE-8,

for about seven months in a row in 2014, over half of all employees would have been

written up for failing to meet the monthly quota. Similarly, FE-1 similarly estimated that

about 70% to 80% of all sales agents could be in corrective action at one time.

       79.    But at CenturyLink, the quotas were never adjusted. FE-7 said that when he

questioned Olsen about strict enforcement of sales quotas, she responded: “That’s our

culture. If you don’t get to 90% [of your quota], we’re going to churn to the next person.”

       80.    The sales quotas imposed by CenturyLink, and the punitive manner in which

they were enforced, contrasted sharply with the practices at the predecessor companies that

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CenturyLink acquired. For example, Former Employee No. 10 (“FE-10”), who began

her/his career at Embarq and then worked at CenturyLink in the NOHD in the Southern

United States from July 2009 through December 2016, said the sales culture changed

dramatically after CenturyLink took over: “It became totally toxic.” According to FE-10,

“CenturyLink only cared about profits.”

             3.     CenturyLink Managers Instructed Employees on the
                    Deceptive Sales Pitches that Sales Representatives Would Use
                    to Cram

      81.    The Company’s management not only encouraged cramming through its

aggressive quotas, but also specifically instructed sales representatives to use deceptive

sales pitches and promotions, and even disciplined employees for failing to do so. For

example, according to FE-9, during every sales training s/he did at CenturyLink throughout

out a 14-year career, the trainers would instruct representatives that they could quote a

single price for internet service without disclosing underlying fees (such as the

maintenance fee, internet recovery fee, and other charges) that might be included, so long

as the customer did not ask. These instructions were given at monthly sales meetings and

sales strategy courses by Company trainers and would have been approved by Olsen, FE-

9 said, because “everything” on training “had to go past her desk and be approved

beforehand.” According to FE-9, representatives were specifically told that if a customer

“doesn’t ask you don’t have to tell them” that the single quoted price included other,

optional products. FE-9 was even disciplined for not hitting quotas because s/he spent too

much time, according to his superiors, telling customers what their actual charges would

be.

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       82.    FE-5 likewise said that when s/he attended a training class, “the facilitators

were straight up telling new hires just to tell people what the total price was and not what

all the items were”—which FE-5 knew from her/his experience was in violation of both

Company policy and federal regulations. Former Employee No. 11 (“FE-11”), who

worked as a Retention Specialist from 2006 through 2016 in the Southeastern United

States, similarly confirmed that this practice – quoting one price but not disclosing that

individual services included in the package were optional – would be encouraged by his/her

call center manager at monthly meetings. According to FE-11, “That is cramming; it’s

highly illegal, and we were instructed to do it.”

              4.     CenturyLink Secretly Transformed Its “Customer Service”
                     Department Into A Sales and Revenue Retention Operation

       83.    CenturyLink’s billing misconduct was also facilitated by CenturyLink’s

creation of a “customer service” department whose primary function was to sell services—

not resolve complaints or provide customer service—as well as a complaint escalation

department that was designed to minimize any refunds the Company owed customers.

       84.    During the Class Period, CenturyLink employed approximately 250 to 450

“retention specialists” who were tasked with preventing customers who would complain

about their bills from terminating their contracts with CenturyLink. Former Employee No.

12 (“FE-12”), who worked as a Retention Specialist from December 2015 through

December 2017 in the Southeastern United States, explained that retention specialists’

compensation was tied to the number of accounts they could “save” – i.e., prevent from

disconnecting – and that retention specialists were instructed to “save by selling.” FE-12


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said that retention specialists would get a bonus if their retention rate was 85% or higher—

meaning they were able to “save” 85% or more of all threatened disconnects.

       85.    Even though retention specialists were responsible for addressing billing

disputes and “saving” customer accounts, FE-12 said that retention specialists were limited

in the amount of “credits,” or refunds, they could offer customers to resolve billing

disputes. Specifically, credits for more than $50 needed a supervisor’s approval, and the

Company’s computer systems made it physically impossible to give back credits for more

than three months’ worth of charges. Along similar lines, FE-10 reported that retention

specialists were limited to giving out credits of around $3.50 to $5 per customer. At the

same time, FE-11 reported, retention specialists were also required to sell CenturyLink

services, and had minimum sales quotas just like regular CenturyLink sales representatives.

       86.    In addition to a team of “retention specialists,” CenturyLink also created a

National Order Help Desk, or NOHD, that handled customer “escalation” complaints – i.e.,

complaints in which a customer demands to “speak to a supervisor” – to account for the

overflow of calls the Company received about improper bills and other complaints. FE-9,

who worked at the NOHD from 2009 through 2015, explained that approximately 90% of

the escalation calls s/he received were from customers complaining that they had fees and

charges added onto their accounts without their knowledge. According to FE-9, if the

customer was able to prove he or she had been misquoted, NOHD employees offered to

honor the misquoted price for the current month and the next month—but would not honor

the price for a longer period than that.



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       87.    But CenturyLink made it difficult for customers to receive any refund at all.

According to Former Employee No. 13 (“FE-13”), who worked as a NOHD Consultant

from 2010 until 2014 in the Western United States, CenturyLink made it nearly impossible

for customers to successfully challenge the wrongful charges they incurred.           FE-13

explained that it was the Company’s policy that customers had the responsibility to confirm

the accuracy of their bill, and if they did not verify the information provided during their

price quote, that was their problem. FE-13 explained that, because recordings of sales calls

were only kept for about a month, it was virtually impossible for a customer to challenge a

misquoted price or fraudulent bill. This is because under most promotions, the first month

would be free, and customers would only receive their first “real” bill after that. According

to FE-13, time was the biggest ally to the Company when it came to customer disputes.

The Company put the burden on customers to prove the Company was wrong, but also

implemented a policy of deleting the call recordings—the evidence that could show the

customer had been misquoted—at around the same time the customer would learn he or

she had been misled.

              5.     CenturyLink’s Enforcement of Unobtainable Sales Quotas
                     Led to Rampant Cramming

       88.    The combination of quotas set without regard to sales representatives’ ability

to meet them and the severity with they were enforced led to the expected result—customer

service and sales representatives turned to deceptive sales practices.

       89.    According to FE-11, cramming was “happening all the time, all day, every

day,” and that representatives who engaged in these practices included high sales


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performers who the Company named as “Circle of Excellence” honorees. Similarly, FE-

13 said that, while s/he worked in complaint escalations, s/he received calls from customers

complaining that their bills charged different rates than they were quoted – and from

customers who had been wrongfully charged early termination fees – every single day.

FE-13 said that s/he also received calls from customers who said that phone lines appeared

on their bills that they had not requested once or twice per week. According to FE-13,

there was a lot of cramming and unethical behavior, that cramming was widespread

throughout the Company, and that it was encouraged by the Company’s aggressive

enforcement of sales quotas.

       90.    FE-7, who served as a Customer Care & Sales Supervisor, explained that

there were “many, many instances of people doing things that we knew were unethical,”

including cramming. FE-7 explained that one frequently “slammed” service was the

Company’s @Ease computer protection package, which, at one point, cost $5 per month

for a two-month promotional period, and would then increase to $10 per month after the

promotional period ended. According to FE-7, sales representatives would add @Ease

service to customers’ accounts without explaining that the promotional rate would expire

or that they were adding the service at all, as sales of these products enabled representatives

to meet their corrective action limit quota. As FE-7 explained, adding @Ease “counted as

a sale and would make sure you weren’t going to lose your job for missing your numbers.”

FE-4 similarly confirmed that adding CenturyLink’s @Ease service to a customer’s bill

was a common, daily occurrence. Although CenturyLink did not explicitly instruct

employees to add @Ease without the customer’s knowledge, the culture at the Company

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encouraged this conduct. FE-4 said that CenturyLink wanted employees to sell, and there

were never any negative repercussions for adding services like @Ease to customer

accounts.

       91.    Former CenturyLink employees explained that the same “cramming”

practices used in residential sales were also employed when selling to small-medium

business customers.     Former Employee No. 14 (“FE-14”), who began as a sales

representative on the residential side in March 2014 but was then promoted to the small

business and enterprise units before leaving the Company in October 2017, explained that

sales representatives who “crammed” customers were the best performers, and thus were

promoted to the business side. After being promoted, FE-14 explained, those same

individuals would continue the same practices that led to their promotion in the first place.

       92.    FE-14 described a typical tactic: a representative selling CenturyLink’s small

business services would tell a customer the options, provide a quote, and tell the customer

to call back when the customer was ready to complete the order. However, the sales agent

would then secretly place the order at that time and label the sale a “self-install.” A “self-

install” was selected to ensure that a technician would not arrive at the customer’s business

and alert the customer to the fact that service (from CenturyLink’s standpoint) had, in fact,

been ordered. FE-14 repeatedly received phone calls from customers looking to complete

an order and would pull their information up on the Company’s computer system and see

that the order had in fact been placed during the original phone call. FE-14 reported

instances of orders already having been placed, and was told management would



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investigate the problem, but did not see any evidence that anyone was ever disciplined for

this practice.

       93.       The financial impact of these cramming practices was highly material.

Indeed, thousands of consumer complaints, including those obtained through Plaintiffs’

open records requests and the Minnesota Attorney General’s investigation, reveal that

CenturyLink customers—including elderly consumers living on fixed incomes—were

routinely overbilled hundreds of dollars each, and that the Company institutionalized a

policy of refusing to honor confirmed, quoted prices. For example:

                L.F. switched to CenturyLink to save money, but her/his first bill was
                 more than double the price CenturyLink had quoted. L.F. contacted
                 CenturyLink and was told that s/he would receive credits for the
                 overcharge, but the next month’s bill was even higher. L.F. called
                 CenturyLink in November 2013 requesting to disconnect his/her
                 service, but continued to receive bills despite calling the company a
                 second time in November, three times in January 2014, and two more
                 times in February 2014. CenturyLink refused to cancel L.F.’s bill of
                 $412.31 for services that L.F. sought to disconnect months before.

                J.F., a retired engineer, was offered internet service for a base rate of
                 $19.99 per month, but received a bill for $367.33, including internet
                 service for a base rate of $71. CenturyLink told J.F. that the Company
                 had “verified” the $19.99 offer but would not honor the promised rate.

                S.H., a 70-year-old former director of a non-profit organization,
                 purchased a CenturyLink package that the Company said would cost
                 approximately $54 per month. S.H. was charged $103.87 and after
                 calling CenturyLink, was promised that the bill would be fixed—but
                 the Company charged $76.46 and $77.96 the following two months.

                When S.J. signed up for CenturyLink’s internet service in October
                 2016, she was told by a CenturyLink representative that she could
                 cancel without paying an early termination fee. A few months later,
                 when S.J. tried to cancel, she was told that she would have to pay a
                 $200 fee. The company refused to honor its promise to cancel her


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              service for no charge and instead offered to reduce the $200
              cancellation fee to $146.20.

             K.T., a 76-year-old retiree, was promised a rate of $62.14 and $40.91
              for the first and second months and then $85.92 per month for the rest
              of the year—but he was actually charged $172.24 the first month, or
              more than $100 above the promised price. CenturyLink then falsely
              promised to fix his bill.

             M.H., who is 81 years old and lives on a budget, agreed to keep her
              service after CenturyLink promised her the same rate for another
              year—but CenturyLink increased her bill and then charged her a
              series of changing rates. CenturyLink then refused to give her the rate
              she was promised, claiming that there were no promotion that could
              give her the promised price, and then threatened to charge her a $200
              cancellation penalty if she terminated her service—even though the
              CenturyLink agent she spoke to confirmed that the Company had lied
              to her.

       94.    The above examples illustrate the financial impact of CenturyLink’s

cramming practices, which was so sizeable that it could not have escaped the attention of

the Executive Defendants.

              6.     CenturyLink Documented Instances of Cramming and
                     Reported Them to the Executive Defendants

       95.    In all events, CenturyLink’s senior management and the Executive

Defendants were directly informed of the Company’s cramming practices, and the rampant

billing misconduct that was at the core of the consumer and small business sales strategy.

       96.    To start, the Company’s improper sales practices were documented and

monitored through the Company’s “quality assurance” program, and reported to managers

through a “coaching” process that focused on ensuring sales and rarely led to discipline for

billing misconduct. For example, NOHD employees were instructed to record and “coach”

sales representatives about mishandled calls and, in doing so, routinely documented

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instances of cramming and other improper sales practices in the Company’s computer

systems, and communicated the violations to the representatives’ supervisors.        FE-9

explained that NOHD representatives were to investigate the reasons behind a customer’s

complaint and document them in a report in the Company’s Order Quality Management,

or OQM, system. According to FE-9, NOHD representatives would document cramming

incidents in the OQM, which included various “codes” for violations of Company policy.

These codes were listed in a drop-down menu and included, for example, misquoting a

price, making improper or inaccurate notes in a customer’s call history, or placing an

“unauthorized service on account” – the Company’s code for “cramming.” FE-10 said

that, at one point, s/he was filling out a form for reports addressing unauthorized charges

at least once a day and, at minimum, at least once or twice per week. As both FE-9 and

FE-10 reported, OQM reports were automatically sent to the sales representative’s

supervisor, who was then responsible for “coaching” the representative and addressing the

violation.

       97.    But because supervisors’ compensation depended on meeting quotas, the

corrective “coaching” or discipline rarely occurred. According to FE-9, although sales

representatives were ostensibly supposed to have a quality rating of over 93% (meaning

they could not have more than 7 OQM findings for every 100 calls), FE-9 knew of

representatives who were reported for cramming every day who were never reprimanded.

As FE-9 explained, “How many times do I have to ding this person? How do you keep

them and not fire them? It was because just their immediate supervisor was reviewing

them. The supervisor would discuss the OQMs with them and could [fire] them or

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discipline them. But if I’m a supervisor why would I do that if they’re selling all that

stuff?”

          98.   FE-7 similarly reported that, despite extensive documented instances of

cramming, responsible employees were rarely disciplined. FE-7 explained that when

investigating complaints of cramming, s/he would pull the recording (if one existed) of the

phone call, allow the representative to listen to it and allow the representative to explain

the other side of the story, and then formulate a recommendation for FE-7’s supervisor, the

Call Center Director, who would then discuss the issue with Human Resources. FE-7

stated that there were a lot of sales representatives who were repeat offenders and had

multiple documented incidents of unethical sales conduct but were not disciplined. FE-7

recalled one sales representative who had 13 documented cases of unethical sales behavior

that were logged in the Company’s coaching database but was never disciplined. FE-7 said

that, because s/he had access to the Company’s coaching database, s/he could see

complaints s/he had made about certain sales representatives did not result in any corrective

action. When s/he failed to see any corrective action measures taken, FE-7 would call the

Company’s integrity or “tips” line, which would assign a confirmation number to the

complaint that could be used to check on any follow-up investigation. In numerous cases,

FE-7 would report instances of cramming, and go back and check the status of the

complaints s/he reported. None of those complaints were ever updated to reflect they had

been addressed.

          99.   The sales practices used at the Company’s call centers were also documented

and reviewed by a separate Quality Assurance department. As explained by Former

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Employee No. 16 (“FE-16”), who worked as CenturyLink’s Manager of Customer

Experience from April 2011 to July 2015, the Company’s Quality Assurance team would

review four calls made by each sales representative every month, score those calls, and

provide feedback in reports in a system called Q-FINITY. The calls would be scored by a

team of approximately 88 workers (66 contracted by an overseas outside vendor and 22

located in the U.S.) on about 26 or 27 different metrics or questions, such as whether the

representative reviewed what the customer currently had in service, offered the customer

other products, and quoted the correct rates and internet speed. Once a call was reviewed

and scored, the representative’s supervisor would be notified by email, and could then pull

up the report on the Q-FINITY system. Any team leader, director or vice president also

had access to the QA call scores, and every month FE-16’s team would compile a report

that was sent to team leaders, directors, VPs, and regional VPs analyzing trends and other

metrics from the scoring data.

      100.   Two circumstances prevented this QA review from providing an effective

check on inappropriate sales behavior.      First, according to FE-16, the review and

enforcement of the QA findings was the responsibility of call center supervisors who were

not incentivized to discipline employees. As FE-16 explained, although the QA results

were at one time factored into compensation for call center managers and supervisors, the

QA metric was removed from monthly bonus compensation in 2014 for all call center

director-level employees and below—a decision that was implemented by Olsen and

approved by Senior Vice President Consumer Sales & Care, Kathy Victory. As a result,

according to FE-16, “supervisors were 100% not incentivized for QA.”

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       101.   Second, the QA department was effectively eliminated in February 2015 for

cost reasons, and the responsibility for QA was given to call center supervisors. FE-16 had

“grave concerns” over the elimination of the QA department, which s/he expressed to

Olsen and Victory, given “how valuable our practice was in calling out inappropriate

behaviors and changing behaviors at the call centers.” FE-16 explained that moving the

QA process in-house and having supervisors review calls was not effective because poor

reviews made the supervisors look bad. As a result, after the QA department was

eliminated, “supervisors were not conducting reviews at all” and “were just checking the

boxes they needed to.”

       102.   Despite the fact that CenturyLink employees who routinely witnessed

cramming and other deceptive sales practices reported that this misconduct was rarely

punished, the conduct was so widespread that – even though “rarely” addressed – the

Company’s human resources department still disciplined employees for cramming on a

routine basis. FE-17, who was Director of Human Resources for consumer and small

business sales from April 2011 until December 2016 and oversaw over 8,000 employees,

said her/his team received complaints from call center sales employees about the

unreasonableness of sales goals and would get exit survey data from employees who left

the Company who said they were not being paid enough to be put under the kind of pressure

they were subjected to.     FE-17 said that CenturyLink employees were frequently

terminated for cramming accounts, and those employees would tell Company investigators

that they crammed customer accounts because they were under pressure to make sales and

felt they had to do so or would risk losing their jobs. FE-17 said the cramming issues were

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documented in exit interviews, and that these facts were shared with call center directors,

as well as FE-17’s supervisor, Vice President of Human Resources Kathy Flynn. Former

Employee No. 20 (“FE-20”), who worked as an HR Business Partner from 1995 through

April 2015, similarly confirmed that cramming and unethical sales behavior was always an

issue at CenturyLink, employee turnover was horrible, and the major reason people would

leave was due to the fact that sales goals were impossible to meet—a concern that was

expressed to CenturyLink’s HR department during exit interviews and other separation

processes.

       103.   The complaints concerning customer cramming and other deceptive sales

practices were also regularly reported to the Executive Defendants in monthly reports

generated by the Company’s Executive & Regulatory Services division. Former Employee

No. 18 (“FE-18”) worked as one of three managers of that division from 2009 through

March 2014 and was responsible for handling complaints from the FCC, state attorneys

general and the Better Business Bureau, as well as “executive complaints,” or formal

written complaints to Defendant Post and other “C-level” executives. FE-18 dealt with

hundreds of complaints per month, and the majority of those were customers who said they

had been defrauded through cramming or otherwise improperly billed. Of the cramming

complaints FE-18’s team reviewed, about half were substantiated and “did, in fact, happen

like the customer said it did.” FE-18 explained that top performing sales employees and

Circle of Excellence honorees were frequently identified as repeat offenders – i.e., were

identified in customer complaints for cramming – and that FE-18 and other managers in

her/his division repeatedly told Victory that this was the case. Former Employee No. 19

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(“FE-19”), who worked as a Manager of Executive Complaints from 2009 through June

2013, similarly reported that top sales performers were often the worst offenders regarding

cramming, a fact that FE-19 team looked into and confirmed multiple times.

       104.    FE-18’s team emailed monthly reports to CenturyLink’s senior leadership –

including Defendant Post, Defendant Puckett, Victory and Olsen – reporting on the

number, types and categories of complaints from the FCC, state agencies, the BBB and

direct customer escalations. According to FE-18, the majority of the complaints were

billing related, and the reports specifically identified “slamming/cramming” as a complaint

category.     As FE-18 explained, the data on these complaints were discussed with

CenturyLink senior management, including Victory, on conference calls focused on

operations reviews. FE-16, who was involved in this monthly reporting, confirmed that

billing complaints were always one of the key things the reports would analyze. According

to FE-16, the “complaint that always stood out was misrepresenting prices. We always

had those issues.”

       105.    FE-19 likewise confirmed that Defendant Post, Defendant Puckett, and

Victory were sent and reviewed monthly reports concerning the cramming complaints that

CenturyLink received, and those reports included specific category of complaints for

cramming—a “very common and widespread” issue cited by customers. According to FE-

19, after reviewing the reports, Defendant Post, Defendant Puckett and Victory would often

complain to FE-19 that the number of complaints was inaccurate and too high. As FE-19

explained, the numbers reported to senior management were accurate – and FE-19 would

confirm the accuracy of the reports and the team’s process to Defendant Post, Defendant

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Puckett and Victory, who never provided any justification for believing the numbers were

wrong. According to FE-19, this was because Defendant Post and Defendant Puckett knew

the numbers were accurate and only claimed they were not “so they didn’t have to deal

with it.”

       106.   FE-19’s team was responsible for investigating customer complaints

submitted by regulatory bodies like state Attorneys General, public utility commissions,

and the FCC, and would review an average of 4,000 complaints per month, half of which

were related to billing issues and cramming, as well as customer escalation complaints

about cramming addressed to Defendant Puckett and Defendant Post. Defendant Post

would often ask FE-19’s team to look into complaints addressed to him, resolve them, and

report back. When FE-19 would report back to Defendant Post about the resolution, he

would often complain about it—typically, according to FE-19, Defendant Post would say

that FE-19’s team had given the customer too much compensation.

       107.   FE-19 explained that, despite the substantial number of complaints and

evidence of cramming – which was clearly occurring in every state in which CenturyLink

did business – CenturyLink’s senior leadership refused to meaningfully address the

problem. FE-19 said that FE-19’s team would provide recommendations about what could

be done to reduce cramming to Defendant Post, Defendant Puckett and Victory, but they

never acted on those recommendations.

       108.   According to FE-19, this was because Defendant Post, Defendant Puckett

and other senior executives were not willing to lose revenues in order to reduce the number

of complaints. To illustrate, FE-19 described CenturyLink’s response to at least four state

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Attorney General civil investigative demands issued between 2009 and 2013 in which 600

out of 700 consumer complaints (or 83%) were substantiated by FE-19’s team. Despite

repeated civil investigative demands, CenturyLink refused to change its practices.

According to FE-19, CenturyLink senior leadership simply did not take the Attorney

General investigations seriously—indeed, FE-19 reported that senior management would

rather “just pay the fines” than “kowtow” to state Attorneys General.

      C.     CenturyLink’s Senior Management Recognized the Unsustainability
             of the Company’s Boiler Room Sales Practices and Secretly
             Attempted to Address Them

      109.   By the beginning of the Class Period, the Company’s improper sales

practices became a central focus of the Executive Defendants. In April 2014, FE-5 alerted

both her/his manager, Northwest Region Vice President Brian Stading, and Defendant

Bailey of the cramming issues s/he encountered. Specifically, on or around April 23-27,

2014 at the Company’s “Circle of Excellence” event at the Breakers Hotel in Palm Beach,

Florida, Stading introduced FE-5 to Defendant Bailey specifically so that FE-5 could

address the constant and rampant cramming and misquoting problems s/he encountered to

CenturyLink’s most senior-level managers. In that discussion, FE-5 explained the

complaints and issues with cramming s/he was experiencing. In response, Defendant

Bailey acknowledged these cramming issues were occurring, and told Stading and FE-5

that “We’ve got to do something about our call centers.”

      110.   After this discussion, Defendant Post sent out a corporate-wide email saying

that the Company was creating a new position for Defendant Bailey on business ethics and

how the Company deals with customers. After receiving the email announcing the new

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position, FE-5 sent Defendant Bailey an email reminding him of their conversation at the

Breakers and asked to be a part of the team that was going to be fixing the call center issues.

       111.   At around the same time, CenturyLink’s senior management began to

develop a new behavioral coaching model for its sales employees—another action that was

prompted by the complaints the Company’s cramming and deceptive practices had

generated.    In 2014, FE-17’s team developed a new way to measure employee

performance. Instead of judging employees on numerous metrics, which FE-17 said were

impossible to meet, FE-17’s team developed a new “behavioral coaching” model which

judged employees on three overall criteria: how many customers did the employee help,

did the employee resolve all issues the customer presented, and did they provide good

customer service. Flynn was convinced to adopt this change, and supervisors were trained

to provide behavioral coaching (rather than focusing on metrics) using this criteria.

According to FE-17, when this new system was rolled out, it was initially well received.

Defendant Post recognized Flynn for her work on the project, and employees provided

positive feedback, boosting morale. According to FE-17, the number of complaints from

customers declined significantly, as did terminations for unethical behavior.

       112.   However, after only a few months, CenturyLink’s sales numbers took a

downturn. According to FE-17, after the decline in sales, the Company’s senior

management reverted back to the old metrics system almost immediately because

CenturyLink senior management could not tolerate any drop in sales.

       113.   Numerous other former employees confirmed the change in the disciplinary

model, and the impact on sales. For example, FE-20 confirmed that the switch to

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behavioral coaching model was done, in part, as an attempt to lower the number of

cramming incidents. FE-20 described how employees who were determined, through an

HR investigation, to have committed unethical sales behavior would say that it was

something they felt they had to do in order to keep their jobs—and the effort to reduce this

pressure motivated the switch to behavioral coaching. According to FE-20, “Recruiting

couldn’t even keep the turnover. We were having so much discipline and so many

investigations, and we were hearing in the exit interviews that it was because of the sales

quotas,” so CenturyLink had to stop enforcing them so strictly.

       114.   Similarly, FE-1 recalled a change in corrective action policy around 2014

whereby sales representatives received behavioral coaching while supervisors were to be

held accountable for sales numbers. According to FE-1, after this change was adopted,

sales fell off “very quickly,” and thereafter the Company went back to the old model of

enforcing quotas at the sales representative level. Similarly, FE-8 recalled a change to a

behavioral coaching model in 2014-2015 which was less focused on a metrics-heavy

scorecard. Like FE-17, FE-8 said that while the change was initially well received, it

immediately led to a significant drop in sales. As FE-8 reported, “I remember results

dropping drastically when people were no longer being managed to a number.”

       115.   Rather than reveal the truth – that the Company was desperately trying to

address the deceptive company-wide sales and marketing practices at the Company’s call

centers that had secretly driven a material portion of the Company’s reported results –

CenturyLink concocted a false story to explain the revenue declines. For example, in

announcing CenturyLink’s 2014 fourth quarter results on February 11, 2015, Defendant

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Post blamed the “weaker” revenues on a recent reorganizational alignment and warned that

this realignment could “result in some additional negative impact on our sales momentum

in the first half of 2015”—an explanation that provided cover for the sales dip associated

with the Company’s relaxing of the strict quota-enforcement system, and the time needed

to ramp sales back up again after the behavioral coaching model was aborted. When the

Company’s first quarter results and CenturyLink’s consumer segment missed revenue

estimates, Defendants again blamed the sales alignment, and again, analysts credited

Defendants’ explanations. For example, UBS noted that consumer segment revenues were

approximately $8 million below estimates while Oppenheimer—which also expected

better results—noted “[w]eakish [f]undamentals” in the consumer segment. No analyst

suspected that these results were driven by CenturyLink’s attempt to remedy cramming.

       116.   Just a month later, on June 2, 2015, and just three months after the Company

announced that Defendant Puckett had been promoted to the head of global sales,

CenturyLink announced that Defendant Puckett was leaving the Company. No explanation

was given for her departure. A press release announcing the move quoted Puckett as saying

that she was “looking forward to spending more time with my family and considering other

leadership opportunities that allow me to continue to have a significant impact.”

       117.   Shortly thereafter, CenturyLink’s return to the metrics-based system and

strict enforcement of sales quotas began to take hold. For example, during the Company’s

third quarter 2015 earnings call on November 4, 2015, Defendant Post highlighted a “solid

quarter” in the consumer segment, with revenues growing $18 million year-over-year.

Defendant Post did not disclose the true driver of this sales growth—i.e., the Company’s

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undisclosed cramming practices—but rather credited CenturyLink’s strategy of “attracting

more high-value customers” and pursuing “higher value bundled sales and select pricing

increases.”

       118.   By year-end, the return of the Company’s prior sales practices had taken

effect, and the Company was able to again report favorable results to Wall Street. For

example, in announcing year-end results on February 10, 2016, Defendant Post attributed

the reported rebound in revenues to the “aggressive corrective action” the Company had

taken, as well as the realignment of the sales force and new leadership appointments (e.g.,

Douglas’s replacement of Puckett). For his part, Defendant Ewing told investors that

“churn reduction” as well as a concerted effort to “keep the customers we have and try to

make some of the price declines and credits that we’ve been issuing smaller” led to the

improved results.

       119.   These representations had their intended effect, and reversed a nearly year-

long share price decline. Analysts at UBS noted that the Company’s financials were above

guidance and ahead of UBS’s expectations, and that “revenues beat across the board.”

Barclays likewise cited the “healthy strategic services growth led by solid consumer

results,” calling out the 6% year-over-year revenue growth in consumer revenues and

higher ARPU, while JPMorgan analysts were reassured and “expect[ed] revenue trends to

continue to move in the right direction.” Over the next several trading days, the Company’s

shares shot up, increasing over $4 per share, and began trading at their highest levels in

over six months.



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       120.   Data that Plaintiffs obtained through FOIA requests to the FCC confirm that

customer complaints and consumer segment revenues tracked the Company’s efforts to

address the widespread deceptive billing practices at the Company. Based on quarterly

data obtained through a FOIA request to the FCC (which was only available for the first

quarter of 2015 to the present), the number of customer cramming complaints rose

dramatically after the Company abandoned the behavioral coaching model and reverted

back to its strict enforcement of sales quotas. The uptick in complaints since the beginning

of 2015 is all the more striking given that, as complaints were growing, the number of

CenturyLink subscribers was decreasing substantially throughout the Class Period.




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       D.     The SEC Questions CenturyLink About Its Consumer Segment
              Disclosures and the Company’s Compliance With Item 303

       121.   At the same time CenturyLink publicly attributed its rejuvenated revenue

growth to a shift in strategy, the Company was pointedly instructed by the SEC to disclose

any known trends that impacted its consumer segment results.               Specifically, in

correspondence from the SEC’s Division of Corporation Finance on August 11, 2015 to

Defendant Cole, the SEC requested that CenturyLink provide more information concerning

the revenue composition of the Company’s consumer segment, as well as the Company’s

“marketing and sales efforts” of its “strategic” services. In doing so, the SEC specifically

cited the Company’s need to comply with Item 303(a) of Regulation S-K and Securities

Act Release No. 33-8350, which requires disclosure of, among other things, “any known

trends or uncertainties that have had or that the registrant reasonably expects will have a

material favorable or unfavorable impact on net sales or revenues or income from

continuing operations.”

       122.   Under Item 303, CenturyLink was required to disclose the fact that the

Company’s illegal and deceptive sales practices were a material driver of the Company’s

reported revenue in the consumer and small business segments—and that the Company’s

efforts to alter those practices, and reduce cramming, had resulted in a decline in revenue.

CenturyLink’s senior management were aware of and/or specifically approved significant

changes to the Company’s sales employee discipline and compensation scheme in order to

address these practices. The Executive Defendants further recognized that, when these

changes were made, they immediately and materially impacted revenues. Moreover, that


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revenue decline was so significant that CenturyLink reverted back to its prior method of

disciplining sales employees almost immediately.

      123.   On September 8, 2015, the SEC again questioned CenturyLink about the

Company’s disclosures concerning the operating performance of its consumer segment,

stating that additional information about the operating margins of strategic and legacy

services was necessary and “material for a complete investor understanding.”

      124.   In a September 22, 2015 response letter to the SEC from Defendant Cole,

which copied CenturyLink’s Audit Committee Chair W. Bruce Hanks, CenturyLink

misleadingly claimed that “price compression and customer disconnects caused by

competition” were the primary drivers of performance. In other words, despite the clear

requirements of Item 303 and the Executive Defendants’ knowledge that changes in the

Company’s sales practices had dramatically impacted consumer revenues – and despite

being directly questioned about it by the SEC – CenturyLink continued to conceal the

material impact its sales practices was having on the Company’s financial performance.

      E.     A CenturyLink Director Loudly Resigns, Warning that His Removal
             and Defendant Post’s Conduct Raised “Serious Governance,
             Transparency and Honesty Issues”

      125.   Shortly after CenturyLink responded to several pointed questions from the

SEC about its consumer segment disclosures, one of the Company’s longtime directors

accused CenturyLink and Defendant Post of conduct that raised “serious governance,

transparency and honesty issues,” and warned the Company that a press release it had

prepared was “incomplete and inaccurate” and “deliberately misleading in a material way.”



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       126.   Specifically, beginning in November 2015, Defendant Post and other senior

members of the Company’s Board began to orchestrate the removal of former director

Joseph Zimmel, who had served on the Board since 2003 and was then one of four members

of the Company’s audit committee. As a member of the audit committee, Zimmel would

have been aware of and reviewed the Company’s responses to the SEC about the lack of

disclosure surrounding the Company’s consumer segment.

       127.   As revealed in email correspondence that Zimmel forced CenturyLink to

publicly file with the SEC, Zimmel was presented with an ultimatum by the Board’s chair

in December 2015 after several directors “decided [Zimmel] had to go.” Zimmel said his

forced resignation was improperly orchestrated without input from the rest of the Board,

and was contrary to their wishes. As Zimmel put it, except for the “Monroe or Monroe

related directors,” all disinterested Board members said that removing Zimmel from the

Board “was wrong, that it was not good for the company, that I added a lot of value, that I

was an important and needed voice on the board.”

       128.   Most concerning for investors, however, is that the facts surrounding

Zimmel’s ouster would not have become public if Zimmel had not forced the Company’s

hand by specifically stating in an email to Defendant Post, Board Chairman Bill Owens,

CenturyLink General Counsel Stacey Goff and CenturyLink’s outside counsel that

“[a]nything short of disclosing the full and accurate account of events would be misleading

in a material way.” At Zimmel’s suggestion, CenturyLink publicly filed the emails he

exchanged with them in a Form 8-K on January 25, 2016.



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       129.   As reflected in that correspondence, CenturyLink’s senior leadership went to

significant lengths to conceal the true facts concerning Zimmel’s ouster. As Zimmel told

Defendant Post and Goff in those emails, the original draft press release CenturyLink

prepared announcing Zimmel’s departure was “incomplete and inaccurate” and

“deliberately misleading in a material way.” As Zimmel explained, the conduct of the

Company’s senior leadership “raised serious governance, transparency and honesty issues”

– and only further corroborates the Executive Defendants’ proclivity to mislead.

       130.   After the end of the Class Period, Zimmel’s replacement, Martha Bejar, was

one of the two members of the Board appointed as the “special committee” responsible for

investigating the billing misconduct at issue in this case.

       F.     The Arizona Attorney General Investigates and Accuses
              CenturyLink of Fraudulent and Deceptive Conduct, Which
              CenturyLink “Expressly Denies”

       131.   After CenturyLink returned to its prior sales model, billing complaints again

began piling up—leading consumers to lodge complaints with their state attorneys general.

Those state attorneys general soon began to investigate the reasons behind the rising tide

of complaints against the Company.

       132.   Beginning no later than March 2016, the Arizona Attorney General launched

such an investigation. This investigation found that CenturyLink had engaged in numerous

deceptive practices in the sale and marketing of internet and telephone services that

violated the Arizona Consumer Fraud Act and, specifically, that CenturyLink had:

             Failed to adequately disclose material qualifying conditions that
              applied to promotional rates, such as the requirement that consumers
              enter into a term commitment or that they authorize CenturyLink to

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         automatically withdraw monthly payments from their financial
         accounts;

        Failed to adequately disclose the advertised promotion rate would end
         before the consumers’ term commitments expire, thus requiring
         consumers to continue purchasing services at a non-promotional rate
         for the remainder of the term;

        Failed to disclose that if consumers cancel their contract before their
         term commitment expires, they will be charged an early termination
         fee;

        Failed to disclose that a consumer will be required to purchase or lease
         a modem-router for high speed interent service;

        Failed to disclose that a consumer would be charged an installation
         fee for certain services;

        Billed consumers at rates higher than those it represented during sales
         calls with consumers;

        Billed consumers an early termination fee when the consumer
         cancelled his or service upon discovering that CenturyLink was
         charging the consumer higher rates than those it represented during
         the sales call;

        Billed consumers for periods of service before such services were
         connected, for services that were never connected, and for products
         that were never received, without subsequently giving those
         consumers a credit for such charges;

        Billed consumers for services and products that the consumer never
         requested without subsequently giving those consumers a credit for
         such charges;

        Failed to process consumers’ service cancellation requests in a timely
         manner and billing them for the period of time such service remained
         connected following the consumers’ requested cancellation date,
         without providing a subsequent credit for such period of time; and

        Charged consumers full price for leased modems that consumers
         returned to CenturyLink within the required time frame and, in many

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              cases, subsequently referring the consumers’ accounts to collection
              when the consumers refused to pay for returned modems.

       133.   In the face of the Attorney General’s findings, CenturyLink quietly agreed to

a settlement in which it promised to take a number of measures intended to prevent

consumers from being misled and improperly charged. Specifically, on April 6, 2016,

CenturyLink entered into an Assurance of Discontinuance with the Arizona Attorney

General in which the Company (falsely) denied any wrongdoing, and where it “expressly

denie[d]” each and every one of the Arizona Attorney General’s allegations. Indeed, in the

Assurance of Discontinuance, CenturyLink claimed that all terms, materially qualifying

conditions, termination fees, availability of high speed internet speeds, modem/router

purchase requirements and installation fees were “fully disclosed.”

       134.   Despite the seriousness of the Arizona Attorney General’s allegations,

CenturyLink resolved the inquiry with a modest $150,000 payment to cover the Attorney

General’s fees and costs. CenturyLink claimed that it settled the case solely as a “means

of efficiently closing the Attorney General’s investigation into this matter” and that the

settlement did not represent “any admission of guilt, wrongdoing, violation or sanction.”

Rather, CenturyLink broadly denied “any violation of state, federal, or local law,” that “any

actions, inactions or practices of CenturyLink were a consumer fraud or otherwise legally

improper,” or that “any Arizona Consumers who are residential customers of CenturyLink

suffered or incurred any damage or loss for which the law provides recourse.”

       135.   Nevertheless, as part of the Assurance of Discontinuance, which expressly

applied to CenturyLink’s “officers, directors, managerial [and] supervisory employees,”


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CenturyLink also agreed to comply with a number of prospective requirements intended to

ensure compliance with the Arizona consumer protection laws, including:

             sending consumers a confirmation of the charges included in their
              bills after three days of a sale;

             conducting an investigation into any consumer complaints in which a
              customer alleges being charged for a product or service that was not
              requested, being charged at a price that was not accurately quoted, or
              being charged for a modem/router that the customer claimed to have
              properly and timely returned;

             agreeing that no customer bills would be sent to collections until an
              investigation was completed and the results were provided to the
              consumer; and

             confirming with the customer internet speeds before processing a
              customer’s high speed internet order.

       136.   To investors who were unfamiliar with CenturyLink’s actual sales practices,

the settlement did not appear to reflect any sanction whatsoever – as CenturyLink should

have been following the steps required by the agreement in the first place. Indeed,

CenturyLink led investors to believe that none of these requirements represented a change

in CenturyLink’s practices, and the Company “expressly denie[d] that its policies, practices

or procedures that may be inconsistent with those set forth in this Assurance of

Discontinuance fail to meet or violate any applicable standard.”

       137.   Due to CenturyLink’s strongly worded express denials, and the relatively

modest $150,000 payment, the significance of the Arizona Attorney General’s

investigative findings was obscured from investors. Indeed, CenturyLink did not disclose

the Arizona Attorney General’s investigation or its settlement in any SEC filing or other

public release, and the settlement was not identified or cited by any other public news or
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other source until months later. As a result, the market barely registered this development,

and instead continued to be misled by Defendants’ false and misleading statements.

       138.   Unfortunately for investors and consumers, CenturyLink ignored the

Assurance of Discontinuance as well. While the settlement required CenturyLink to

implement the steps described above, according to former CenturyLink employees, there

is no evidence CenturyLink took any of the affirmative measures required by the order

when dealing with Arizona consumers, or any other CenturyLink customers. To the

contrary, according to FE-9, “It went in the opposite direction. It got even worse.”

       G.     CenturyLink Distinguishes Its Sales and Marketing Practices as
              Honest and Legitimate, Criticizing Competitors for Boosting
              Revenues By “Adding Fees”

       139.   Just weeks later, the Company again reported favorable results in its

consumer segment, which had been buoyed by the improper sales practices identified by

the Arizona Attorney General. But instead of disclosing the impact of its actual sales

practices on revenues or addressing the Arizona Attorney General settlement, CenturyLink

attributed its success to strategy “adjustments.”

       140.   Specifically, when reporting the Company’s first quarter results on May 4,

2016, Defendant Douglas highlighted a change in emphasis to “bundled broadband

services” that was purportedly enabling the Company to sign up customers who were “less

precluded to churn” and were going to generate a “higher ARPU.” Most significantly,

Douglas clarified that any difference between CenturyLink’s ARPU figures and those of

the Company’s competitors was the result of its competitors charging unwanted fees—

something that Douglas falsely told investors CenturyLink did not do:

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       So I would tell you that our ARPUs are consistent with what you’d see at an
       ARPU level in our competitors. And we see competition adding a lot of
       fees. And so, that’s where there might be a little bit of a delta, but we’re
       working through, and constantly monitoring what our competitors are doing
       in the marketplace, with regard to the average ARPUs in our business.

       H.     CenturyLink’s Cramming Practices Continue Unabated While the
              Minnesota Attorney General Issues A Civil Investigative Demand
              and A Whistleblower Urges Defendant Post to Address the Fraud

       141.   Just one week after Defendant Douglas assured investors of the Company’s

sales practices and ARPUs, on May 12, 2016, the Minnesota Attorney General’s Office

sent a civil investigative demand to CenturyLink following a growing wave of complaints

from Minnesota consumers who had been victimized by the very same deceptive practices

as millions of other customers across the country.

       142.   As would be revealed only after the end of the Class Period, Defendant Post

and CenturyLink’s senior managers immediately sprung into action after receiving the civil

investigative demand. Indeed, CenturyLink’s senior management recognized that this new

investigation, following on the heels of CenturyLink’s settlement with the Arizona

Attorney General’s inquiry, threatened to expose Defendants’ scheme. As discussed

further below, after the Class Period, the Minnesota Attorney General disclosed that

Defendants engaged in a series of obstructionist tactics to frustrate the investigation.

       143.   As CenturyLink’s senior management was attempting to keep the Minnesota

Attorney General at bay, Defendants continued to receive repeated reports, both internally

from employees and externally from customers and regulators, concerning the fraudulent

practices carried out in the Company’s call centers. One such employee, Heidi Heiser, who



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worked as customer service and sales agent in Arizona beginning in August 2015, brought

those issues directly to the attention of Defendant Post.

       144.   As she would later allege in a whistleblower lawsuit, like the former

CenturyLink employees cited above, Heiser witnessed CenturyLink customers being

charged for services that they did not request and that CenturyLink’s sales quota and

disciplinary systems encouraged this conduct. As Heiser and numerous former employees

confirm, this inevitably led to rampant cramming and charging of unauthorized services on

customer accounts, which meaningfully contributed to the revenues that CenturyLink

reported to investors. According to Heiser:

       CenturyLink management had not only created the workplace incentives,
       sales practices, and lack of oversight that encouraged the fraudulent
       assignment of unauthorized lines or services, and related charges, to
       customer accounts, but they were knowingly and intentionally ignoring the
       customer complaints about such practices and enforcing such policies that
       allowed CenturyLink to keep payments received on unauthorized charges
       and to encourage more such payments.

       145.   At the same time Heiser became increasingly troubled by CenturyLink’s

fraudulent business practices – which she reported to her direct supervisor (Christine

Wells) and as well as two other supervisor-managers (Denise Medina and Michael Del

Campo) – a strikingly similar fraudulent scheme at U.S. banking giant Wells Fargo began

to make headlines. Specifically, on September 8, 2016, regulators investigating Wells

Fargo announced $185 million in fines for the undisclosed company practice of sales

representatives adding accounts without customers’ knowledge, triggering extensive media

coverage and congressional investigations. According to the CenturyLink whistleblower,



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there were “frightening parallels between the Wells Fargo Bank scandal and what she saw

happening at CenturyLink.”

       146.   After none of her complaints led to any discipline or action by CenturyLink

management, Heiser brought her concerns to the Company’s CEO. Specifically, in an

online Townhall meeting where Company employees had the opportunity to post questions

to online message board for review by Defendant Post in October 2016, Heiser posted an

online question asking the CEO “why customers were being given multiple accounts and

being billed for things they did not ask for” – again alerting CenturyLink’s senior-most

management to the cramming practices they had monitored for years.

       147.   Heiser’s question was removed from the message board shortly after she

posted it and just two days later, Heiser was alerted she had been suspended—and later

terminated—as retaliation for blowing the whistle. While the Company claimed Heiser

was being terminated for hanging up on customers, those disconnections were caused by

technical issues that Heiser had for months repeatedly sought help in remedying from her

managers, and had never before been raised as a concern.             As demonstrated by

CenturyLink’s termination of FE-11, who was fired for refusing to “cram” and sell a “full

service” package to a 90-year-old customer who only wanted a line with local service and

caller ID, CenturyLink’s termination of Heiser for a pre-textual reasons was hardly unique.

This was how the Company perpetuated its undisclosed and unlawful billing scheme.




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       I.     CenturyLink Continues to Falsely Deny and Downplay Reports of
              Sales Misconduct

       148.   As the Company’s misconduct continued unabated, and consumer

complaints grew to outsized levels, CenturyLink’s practices began to attract the attention

of local news outlets. In late 2016 and early 2017, complaints over CenturyLink’s billing

misconduct began to make headlines, particularly in those areas – such as Seattle,

Washington, Portland, Oregon, Omaha, Nebraska, Boise, Idaho, Denver, Colorado, and

Minneapolis, Minnesota – where CenturyLink had expanded operations and sought to

compete with cable providers.

       149.   For example, a February 1, 2017 report by KGW television in Oregon

detailed how a Portland resident was promised a discount on her phone, internet and cable

TV but after signing up with CenturyLink, was charged nearly four times that rate and was

unable to get CenturyLink to correct her bill. As the resident explained, “I felt like it was

back-alley tactics.” In responding to the story, CenturyLink issued a statement denying

any wrongdoing, falsely claiming that:

       CenturyLink strives to provide the best possible service at all times. As a
       customer-first business, we take any complaint seriously and work diligently
       to provide each customer with a fair and quick resolution. And where our
       investigations into complaints show that process changes can improve the
       customer experience, we make improvements and incorporate them into our
       employee training and customer outreach.

       150.   CenturyLink continued to issue statements like these and similar false denials

to at least six local news stations from October 2016 through the end of the Class Period,

consistently denying any systemic billing problems, claiming that such complaints were

the result of an isolated failure to properly “follow routine billing processes,” that the

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Company promptly investigated and resolved the complaint, and had “put in a new review

process for pending offers, installed a new bill estimation tool and the company is

simplifying promotional offers.” These statements were materially false and misleading

because, as Defendants knew, customer complaints were not “taken seriously.” Instead,

CenturyLink arbitrarily limited refunds by placing limits on customer “credits” and

customer complaints were in fact treated as additional sales opportunities. Nor was

CenturyLink a “customer first” business and the improper and inaccurate bills were not

isolated—they were a core part of CenturyLink’s business model.

       151.   At the same time – despite having implemented CenturyLink’s cramming

scheme, and separately having been informed about it in myriad ways, including through

monthly reporting, communications in connection with investigations by at least two state

Attorneys General, and directly by Heiser – Defendants continued to represent that the

Company was focused on customers and engaged in ethical sales practices. During the

Company’s February 8, 2017 earnings call, Defendant Post claimed that CenturyLink had

worked hard to “improve the customer experience and make sure that we’re more

competitive in the marketplace in certain areas,” reassuring investors that “we approach

our responsibilities each day with a customer-centric mindset.”        And days later, on

February 23, 2017, the Company again touted its Code of Conduct in its Form 10-K for the

fiscal year 2016 – which, as before, assured investors that the Company would be “truthful

and demonstrate integrity in all our dealings,” would “truthfully market, promote, advertise

and sell our products” and would not “engage in unethical or deceptive sales practices,”



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including “plac[ing] or record[ing] an order for our products and services for a customer

without that customer’s authorization.”

V.     THE TRUTH REGARDING CENTURYLINK’S BOILER ROOM
       PRACTICES IS REVEALED IN A SERIES OF CORRECTIVE
       DISCLOSURES

       A.     A Whistleblower Exposes CenturyLink’s Wells Fargo-Like Scheme

       152.   On Friday June 16, 2017, the truth concerning CenturyLink’s billing

practices and their impact on the Company’s financial condition began to be revealed. On

that day, Bloomberg published an article entitled “CenturyLink Is Accused of Running a

Wells Fargo-Like Scheme,” which reported that Heidi Heiser, the former CenturyLink

customer service and sales agent who alleged that she had been fired after publicly raising

the issue of the Company’s cramming business model to Defendant Post, had filed a

whistleblower complaint against the Company. As the article explained, Heiser’s

complaint revealed that the Company had engaged in a practice of charging customers for

services they neither authorized nor requested. The article further explained that, according

to Heiser’s complaint, to deal with customers complaining about having charges crammed

onto their bills, CenturyLink customer service personnel were “directed ‘to inform the

complaining customer that CenturyLink’s system indicated that the customer had approved

the service,’ . . . and as a result ‘it was really the customer’s word against CenturyLink.’”

       153.   The article also explained that Heiser was fired two days after directly

informing Defendant Post of these practices at an internal, Company-wide question-and-

answer session. In addition, the article connected the revelations to the recently-uncovered

fraud at Wells Fargo, noting that “[t]he complaint likens what Heiser said CenturyLink

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sales agents did to the Wells Fargo scandal and estimated the alleged unauthorized fees

amounted to ‘many millions’ of dollars.”

       154.   This disclosure partially corrected Defendants’ prior materially misleading

statements and omissions concerning CenturyLink’s purportedly “customer first” sales

practices, and also revealed that the Company’s revenues had been inflated by cramming.

Market reaction to the news was swift. As a result of these revelations, the Company’s

stock declined significantly, falling $1.23 per share – nearly 5% – on heavy volume, from

the previous day’s close of $26.95 to close at $25.72 on June 16, 2017.

       155.   Analysts immediately reacted and reassessed their views of CenturyLink

stock based on these revelations, and connected the share price decline to the disclosures

of the Company’s misconduct contained in Heiser’s lawsuit. For example, in a June 16,

2017 report, a CFRA analyst downgraded his rating on CenturyLink stock in direct reaction

to these revelations, citing “increased risks” after reports of “a lawsuit filed by a former

employee, accusing CTL of running a Wells Fargo like scheme.”

       156.   Analysts and market observers also recognized that the revelations in the

Heiser lawsuit had wide-ranging impact on the Company’s business. For example, on June

16, 2017, technology and communications publication CRN cited an industry professional

whose company worked with CenturyLink who expressed shock at the practices revealed

in the lawsuit. As reported in the article, this CenturyLink business partner “told CRN that

he thought ‘slamming,’ or the illegal practice of switching a consumer’s telephone service

without authorization, was a thing of the past.” The article further explained that these

practices would likely impact future business, as CenturyLink’s customers would raise

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questions about the Company’s practices. Similarly, in a June 19, 2017 note, Morgan

Stanley reported that the share price decline was triggered by “[n]ews that CenturyLink

was facing a lawsuit alleging that the company overcharged customers in Arizona by

adding additional services,” stressing that additional information concerning the “scope of

the alleged activity” and the “degree to which this appears to be an isolated incident, or

something with broader geographic and financial scope” would further impact their view

of the Company’s stock.

       157.   Defendants immediately scrambled to minimize the impact of the revelations

in the Bloomberg article. In articles published on June 16, 2017 in technology and

communications publications Ars Technica and CRN, CenturyLink claimed that the

conduct alleged in Heiser’s complaint was “completely inconsistent with our company

policies, culture, and Unifying Principles, which include honesty and integrity,” and

pleaded ignorance on the part of the Company’s senior executives, stating that “our

leadership team was not aware of this matter until the lawsuit was filed.”

       158.   The next trading day, however, news worsened for CenturyLink investors.

On Monday, June 19, 2017, at 9:30 a.m., Bloomberg reported that a consumer class action

lawsuit arising out of CenturyLink’s billing misconduct had been filed in California the

night before. The article explained that the lawsuit detailed how “Ms. Heiser’s allegations

of what she observed, and what CenturyLink corporate culture encouraged” were

“consistent with the experiences of hundreds of thousands and potentially millions of

consumers who have been defrauded by CenturyLink.”            The article noted that the

“damages to consumers could range between $600 million and $12 billion, based

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on CenturyLink’s 5.9 million subscribers.” Shortly thereafter, numerous consumer class

action lawsuits were filed in courts across the country.

       159.   This disclosure further partially corrected Defendants’ prior materially

misleading statements and omissions concerning CenturyLink’s sales practices, and also

further revealed the scope of misconduct at CenturyLink and the degree to which the

Company’s revenues had been materially inflated by cramming.

       160.   The market again reacted quickly. CenturyLink’s shares dropped

significantly by a further $0.36, or 1.4%, to close at $25.36. The price of CenturyLink’s

7.60% Senior Notes similarly declined significantly, dropping nearly 6% from a June 16,

2017 closing price of $984.30 to close at $926.05 on June 19, 2017.

       161.   Analysts continued to report on the revelations contained in the consumer

lawsuits that were filed across the country. For example, on June 26, 2017, an analyst from

Barclays issued a report explaining the risks to CenturyLink in light of the revelations in

the complaints filed in the weeks before and the Company’s subsequent nearly 10% drop

in share price, and noted that these disclosures “could serve as an overhang for the shares

for some time.”

       162.   Significantly, on June 22, 2017, the Company disclosed that Defendant

Douglas – who had been the senior-most executive responsible for consumer sales and was

just appointed by Defendant Post in April 2017 to serve as a member of the combined

Company’s senior leadership team – would be leaving the Company as soon as the merger

closed. In doing so, Douglas forfeited more than $3 million in compensation in the form

of time-based and performance-based restricted shares that had been granted him in

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February 2017 – a pay package that the Company confirmed in a Form 8-K filed on June

1, 2017, just three weeks prior to the abrupt leadership change.

       B.     The Minnesota Attorney General Details CenturyLink’s Fraudulent
              Sales Practices

       163.   Investors soon learned far more about the scope of CenturyLink’s billing

fraud. On July 12, 2017, the last day of the Class Period, news reports disclosed that the

Minnesota Attorney General filed suit against CenturyLink in Minnesota state court

following a year-long investigation that cited internal Company documents, emails, and

call recordings revealing extensive detail as to how the Company fraudulently charged

Minnesota consumers in violation of Minnesota’s consumer protection laws.

       164.   The Minnesota Attorney General’s complaint provided significant and newly

disclosed detail concerning the means by which the Company cheated customers.

Specifically, citing internal Company documents and non-public correspondence obtained

through the Minnesota Attorney General’s year-long investigation, the complaint detailed

how CenturyLink’s complex pricing systems, exception-laden promotional strategies, and

myriad fees contributed to CenturyLink sales representatives systematically misquoting

and misrepresenting prices to customers that the Company refused to honor. The complaint

cited 35 specific examples of customers who were defrauded, and provided significant

detail as to how the Company’s billing scheme was carried out. For example, the complaint

cited an April 2015 email from a Company employee stating that she got “so many”

complaints per day and that:

       maybe 1 out of 5 [customers] are quoted correctly or close enough. I have
       one today quoted $39 and its [actually] over $100 monthly. So I tend to get

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       on the defensive for the customer at times because of the large amount that
       are misquoted. As in many cases, the customer calls in for several months
       and promised call backs, passed around, or cut off before going to the AG,
       PUC, FCC or BBB . . . .

       165.   In a May 2015 conversation recorded by CenturyLink that was obtained and

cited by the Minnesota Attorney General, another Company employee stated that “there

are not enough people to do the work” of responding to the complaints, and that there was

a “whole pile of Minnesota [complaints] to go through…they usually come in groups of

10.”

       166.   The lawsuit also revealed that the Company had systematically refused to

honor the prices it quoted customers, and internally documented this fraudulent practice.

Citing internal recordings and reviews of internal Company documents, the complaint

detailed how CenturyLink refused to correct customers’ improper and fraudulent bills. For

example:

             A sales representative told a customer that “no one can get you that
              price” even though the Company’s complaint file states that
              CenturyLink listened to a recording of the phone call and internally
              confirmed the “misquote” by the sales representative;

             A CenturyLink representative admitted to a customer that “you were
              misquoted,” but that “I can’t give it [the quoted price] to you, no one
              can”;

             A CenturyLink representative told a customer that its offers are “not
              binding”;

             Another CenturyLink representative told a customer that the discounts
              that it had offered need not be honored because they are “a gift from
              us to you”;

             After a CenturyLink customer called to complain that her bill had
              increased more than 50% the month after CenturyLink promised to
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              change her rate, and cited the confirmation number she was given, the
              representative told her that CenturyLink can “give you all the
              confirmation numbers in the world” but that if CenturyLink “quotes
              you [a rate] not available it’s going to get denied.”

       167.   The details provided in the Minnesota Attorney General’s complaint also

further revealed the financial impact of the Company’s fraudulent practices. For example,

in the 35 examples cited in the complaint, the fraudulent pricing added from $10 to over

$100 increases in monthly charges, in many cases more than doubling customers’ bills. In

a press conference held the same day the suit was filed, General Swanson said that, while

unsure of the precise number of Minnesota customers impacted or the amount of restitution

that would be required, she expected the numbers to be “very, very significant.”

       168.   The Minnesota Attorney General’s complaint and General Swanson’s press

conference announcing the lawsuit were covered extensively in the press. For example, a

July 12, 2017 Bloomberg article reporting on the lawsuit revealed that the Minnesota

Attorney General had been investigating CenturyLink for over a year.             The article

explained that, contrary to CenturyLink’s claims that it had cooperated in the investigation,

the Company had in fact frustrated the Attorney General’s inquiry by falsely claiming that

certain customer call recordings did not exist. In fact, General Swanson obtained them

immediately as soon as her office subpoenaed a third-party CenturyLink vendor that had

custody of the calls. The report also explained that the Company had also refused to

provide basic pricing information, claiming doing so was “unduly burdensome.” Similarly,

the Minnesota Star Tribune confirmed CenturyLink attempted to conceal its unlawful

practices, reporting that General Swanson said that CenturyLink was “lackluster” in


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responding to the State’s investigation. According to General Swanson, in the course of

the investigation, “[t]he company was contacted hundreds of times,” and that “[t]his issue

has been going on for a long, long time. We felt the need for judicial intervention.”

       169.   Analysts reacted sharply to the news. The same day, Morningstar published

an analyst report in which it reported on the Minnesota Attorney General and consumer

lawsuits. Morningstar analysts noted complaints of “similar overbilling practices in a

number of other states, such as Oregon, Colorado, and Arizona,” and explained that “it is

likely that other states will follow suit in bringing legal actions against CenturyLink.” On

the sole basis of the revelations in the Minnesota Attorney General’s complaint and the

assessment that the problem was widespread, Morningstar’s slashed its fair value estimate

for CenturyLink stock by over 6%.

       170.   These disclosures further corrected Defendants’ prior materially misleading

statements and omissions concerning CenturyLink’s sales practices. These disclosures

also revealed that the Company’s institutionalized cramming model went beyond adding

unrequested services to customers’ accounts and also included charging and

misrepresenting fees, and systematically refusing to honor the prices offered to customers.

Last, these revelations informed investors that the Company and its senior executives had

knowledge of the extensive problems with CenturyLink’s sales practices but concealed

them from the state regulators.

       171.   Once again, the market reacted severely to these revelations, with

CenturyLink stock declining in a statistically significant manner, falling by $0.75 per share,



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or 3.23%, on extraordinarily high volume, to close at $22.50 on July 12, 2017, causing

investors substantial losses.

VI.    POST-CLASS PERIOD EVENTS

       172.   On its second quarter August 2, 2017 earnings call, CenturyLink disclosed

that it had formed a special committee to investigate the Company’s consumer billing

practices—but Defendant Post refused to answer any questions about the investigation, the

Company’s billing practices, or their impact on the Company, stating that “we cannot speak

for the work [of the committee] before it’s complete.”

       173.   On October 23, 2017, CenturyLink entered into a stipulated consent order

with the Minnesota Attorney General in which it agreed to dramatically reform its sales

practices in Minnesota. Specifically, CenturyLink agreed to “in a clear and conspicuous

manner disclose to Minnesota consumers at the time of sale” significantly more

information than the Company had throughout the Class Period, including the monthly

base prices of services, an itemization of fees, the time period during which quoted prices

applied, information about whether CenturyLink guaranteed the fees, and any restrictions

or conditions on a customer’s ability to receive the quoted prices. The consent order also

prohibited CenturyLink from charging Minnesota consumers amounts greater than those

that had been disclosed, to refuse to honor quoted prices on the basis of undisclosed

conditions or restrictions, and required the Company to “implement processes and

procedures, and provide sufficient training designed to ensure” that the Company made

adequate disclosures to consumers.      That CenturyLink was required to stipulate to

providing such basic information and assurances confirmed that the Company’s

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representations about its customer service and sales practices throughout the Class Period

were materially false and misleading, as they did not include even basic measures to ensure

customers were quoted the correct price or that customer complaints were properly

investigated and handled.

       174.   On December 7, 2017, the Company announced the results of the Special

Committee’s investigation into the Company’s sales and billing practices. Although

CenturyLink claimed that this investigation “did not reveal evidence to conclude that any

member of the Company’s management team engaged in fraud or wrongdoing” – despite

the overwhelming evidence cited above confirming the contrary – the Company admitted

several key findings demonstrating that its Class Period statements were materially false

and misleading when made. These findings included that:

             “[s]ome of the Company’s products, pricing and promotions were
              complex and caused confusion, and the resulting bills sometimes
              failed to meet customer expectations”;

             “limitations in the Company’s ordering and billing software made it
              difficult to provide customers with estimates of their bills and
              confirmation of service letters that reflected all discounts, prorated
              charges, taxes and fees”;

             “[s]ystems and human errors led to certain customers not receiving an
              offered point-of-sale discount”; and

             “[t]he Company did not fully address this issue in a timely manner for
              some customers.”

       175.   These admissions confirmed several key allegations in the whistleblower

complaint and, as news media reports were quick to point out, they contradicted the

Company’s claims of management’s innocence. For example, on December 13, 2017, the

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telecommunications webzine Techdirt published an article titled “After Investigating Itself,

CenturyLink Proclaims There’s Just No Way It Committed Billing Fraud,” mocking the

committee for finding “precisely what CenturyLink CEO Glen Post hoped they would.”

As the report noted, the Special Committee’s findings were in “stark contrast to what

whistleblowers and numerous state investigations have so far discovered.” To date,

CenturyLink has refused to produce any documents or information underlying the

committee’s investigation to the Minnesota Attorney General or the plaintiffs in the

consumer class actions, broadly claiming those materials are subject to work product and

attorney-client privileges.

       176.   On December 18, 2017, Defendant Post conceded that the reduction of

CenturyLink’s operating cash flows – which had been curtailed by the Company’s inability

to continue generating revenues through cramming – to the decline in CenturyLink’s share

price. Specifically, in an internal Company email sent one week before Christmas,

Defendant Post told employees that, “[b]ecause of the reductions we have experienced in

operating cash flow, I have decided it is best that we not pay the holiday bonus that we

have previously paid for many years at CenturyLink.” In that email, Post said that “we

must make progress in stabilizing and growing our cash flows,” noting that “this cash flow

issue has contributed to the decline in our stock price we have seen over this past year.”

Several weeks later, on January 11, 2018, Defendant Post sent an internal memo

announcing a pay freeze for 2018, again citing the Company’s lowered stock price. At the

same time, Defendant Post earned more than $14 million in compensation in 2017, and

over $50 million during the Class Period.

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      177.   On March 6, 2018, Defendant Post – who had previously announced his

intention to stay on with the Company as CEO until January 1, 2019 – unexpectedly

announced that he would retire in May 2018, immediately following the Company’s annual

shareholder meeting. Post resigned from the Company on May 23, 2018. Post had served

as CenturyLink’s CEO for more than 26 years and been with the company for 42 years.

      178.   Numerous investigations by state attorneys general and other regulatory

authorities into CenturyLink’s fraudulent billing practices remain pending, and discovery

in those actions has only further confirmed the extent of Defendants’ fraud. For example,

on March 14, 2018, the Minnesota Attorney General filed a letter brief revealing that

discovery in its case revealed “that CenturyLink charged over 12,000 Minnesota

consumers more than CenturyLink promised” and that information produced in another

state investigation showed that “CenturyLink over-billed more than 175,000 customers in

that state.” Moreover, according to the Minnesota Attorney General, discovery in that case

disclosed that an internal “nation-wide audit” conducted by CenturyLink showed “various

billing problems, including that CenturyLink potentially over-billed more than 3.5 million

customers in various states”—amounting to over half of CenturyLink’s 5.9 million

broadband subscribers. These facts confirm the systemic nature of CenturyLink’s billing

misconduct, and that such a companywide, institutional practice could not have escaped

the attention of CenturyLink’s senior management but could have only been carried out

with the explicit approval or reckless disregard of the Executive Defendants.




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VII.   SCIENTER

       179.   Numerous facts, considered collectively, demonstrate that CenturyLink and

the Executive Defendants knew that they were misrepresenting the Company’s sales

practices, the bases for the consumer segment’s reported revenues, and the sustainability

of those revenues or, at a minimum, acted with severe recklessness.

       180.   First, as noted above, Defendants were directly informed of sales misconduct

occurring at a massive scale throughout the Company, which directly demonstrates

scienter. For example, in April 2014, FE-5 directly informed Defendant Bailey of the

cramming issues s/he encountered, and Defendant Bailey acknowledged that cramming

was occurring and stated that “We’ve got to do something about our call centers.” Shortly

thereafter, Defendant Post sent a Company-wide email stating that the Company was

creating a position for Bailey concerning business ethics and how the Company deals with

customers. At around the same time, the Company implemented a dramatic reform of how

it assessed sales personnel in an effort to address the cramming crisis at the Company. This

change was accompanied by a companywide communication blast, and Kathy Flynn was

recognized by Defendant Post for her work on the project. However, after the Company’s

sales numbers took a downturn shortly after the change, the Company’s senior management

reverted back to the old metrics system immediately. Because, as CenturyLink has

admitted, all sales and billing policies were made by managers at CenturyLink’s

headquarters, these significant companywide changes could only have occurred with the

knowledge and/or specific approval of the Executive Defendants.



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      181.   The Executive Defendants were also made aware of the investigations

initiated by the Arizona and Minnesota state Attorneys General, and their findings were

communicated to the Executive Defendants. Indeed, after the end of the Class Period,

Defendant Post attempted to take credit for personally responding to the Minnesota

Attorney General’s investigation. In a July 23, 2017 internal email to Company employees,

Post claimed that “we have been fully cooperating with the AG’s office since the inquiry

began” in May 2016, and “we had several phone meetings with the AG’s office about the

information provided and were never told they thought we were being uncooperative.”

Moreover, customers reported instances of improper billing directly to the Executive

Defendants, including Defendants Post and Puckett, who tracked the Company’s

investigation into and response to those complaints.      As FE-19 reported, typically,

Defendant Post complained that the Company offered too much compensation to resolve

customer billing complaints. Last, when a whistleblower, Heiser, raised concerns about

rampant sales misconduct directly with Defendant Post in October 2016 in a companywide

forum, she was promptly terminated.

      182.   Second, the Executive Defendants received regular routine reporting that

directly informed them of the extent and nature of the widespread billing practices at the

Company’s call centers. Numerous employees, including FE-16, FE-18, and FE-19,

confirmed that the Executive Defendants – including Defendants Post, Ewing, and Puckett

– received monthly reports by email that provided data on customer complaints about

customer billing, including from state regulators, the FCC, and the BBB, and that these

reports specifically identified “cramming.” As FE-16 explained, the “complaint that

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always stood out was misrepresenting prices,” because the Company “always had those

issues.” Indeed, as a former CenturyLink employee explained, the Company’s “coaching”

systems included an option in its drop-down menu for “cramming,” demonstrating just how

institutionalized these practices were. The Company’s cramming practices were also

recorded in the Company’s Q-FINITY reporting system, documented in reports to

supervisors and managers, tracked in monthly sales worksheets, reflected in HR

investigations, exit surveys, and disciplinary and termination proceeding materials, and

discussed in monthly meetings by senior management. For these reasons, it would be

implausible for Defendants to claim they were unaware they were occurring.

      183.   Third, the Company’s billing scheme was implemented by the Executive

Defendants, who dictated the revenue projections and sales targets the Company’s sales

force was required to meet. Not only did the Executive Defendants set the Company’s

revenue targets, senior management closely monitored and enforced the sales quotas

required to meet them. The Executive Defendants had access to “real time” sales and

revenue data through the Company’s dashboard system, and could track the revenues and

sales at the employee-level. In fact, as described by FE-8, Olsen, an HR Business Partner,

and the relevant directors and managers of each call center would hold monthly meetings

to review sales employee performance and tracking of quotas, and discuss the discipline

for employees who missed targets. Despite regular reporting and evidence that sales quotas

were simply unobtainable, CenturyLink’s managers refused to adjust them. As FE-8

explained, sales targets went unchanged even when over half of all employees failed to

meet them for a significant portion of the Class Period, while and FE-1 reported that

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between 70% to 80% of all sales employees were under some sort of corrective action for

missing quotas at any given time. The same managers charged with setting and monitoring

quotas—including Olsen—were informed of the fraudulent practices and customer

complaints that enforcement of these quotas encouraged. Indeed, CenturyLink managers

even trained sales employees to engage in cramming by instructing them to quote a sine

price to customers without breaking out optional service fees. These facts raise a strong

inference that Defendants knew that cramming was a significant problem at the Company

when they made their misrepresentations.

       184.   Fourth, Defendants paid careful attention to the drivers of the Company’s

revenues and made regular representations to the market about them—and can therefore

not plausibly deny knowledge of a practice that impacted up to half of all CenturyLink

customers. On numerous conference calls, Defendants discussed whether (and to what

degree) various strategies affected the Company’s results and reported on, for example,

specific details concerning the efficacy of CenturyLink’s “bundling” strategy, the amount

of CenturyLink’s ARPU compared to its competitors, and the credit profiles of

CenturyLink customers. As Defendant Douglas admitted, CenturyLink executives were

“constantly monitoring what our competitors are doing in the marketplace,” and thus also

obviously knew what the Company itself was doing. Given that the Executive Defendants

paid close attention to the drivers of the Company’s and its competitors’ revenues, there is

a strong inference that they were aware of a key driver – rampant sales misconduct – that,

according to an internal CenturyLink audit, may have impacted between a third and a half

of all CenturyLink customers.

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       185.   Fifth, the Company repeatedly represented to numerous constituencies and

public regulators not to engage in fraudulent sales practices, and affirmatively denied that

it engaged in sales misconduct alleged herein. Throughout the Class Period, Defendant

Cole and the Company certified compliance and entered into numerous agreements with

public utilities which required the Company to explicitly agree to avoid engaging in the

very misconduct alleged herein.         Moreover, in entering into an Assurance of

Discontinuance with the Arizona Attorney General, the Company explicitly agreed to

refrain from the same conduct that would be revealed as Company practice by Heiser’s and

the Minnesota Attorney General’s complaints. Indeed, in the Arizona Assurance of

Discontinuance, which expressly applied to CenturyLink’s “officers, directors, managerial

[and] supervisory employees,” the Company “expressly deni[ed]” allegations that it

engaged in billing misconduct. And, in responding to media inquiries detailing customer

complaints, the Company asserted that any identified problems were in conflict with

Company policy or were the result of other, innocuous causes. These false denials were

part of the senior leadership’s overriding culture in dealing with investigation into and

criticism of its sales practices. As FE-19 reported, no matter the facts, CenturyLink’s

executive leadership would rather “pay the fines” than “kowtow” to a state Attorney

General and actually reform the Company’s practices. These facts further confirm that

Defendants either knew their statements were false, or were reckless in making them.

       186.   Sixth, sales misconduct was so widespread and material at the Company that

Defendants had to have known about it. Cramming resulted in overbilling of up to 3.5

million customers, representing between one-third and one-half (or more) of the

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Company’s subscribers. Heiser characterized the scandal at CenturyLink as “Wells Fargo-

like,” but the scale of misconduct at CenturyLink was far more pervasive than at Wells

Fargo. Wells Fargo has said that the number of unauthorized or fraudulent accounts at

issue there represented approximately 2% of all such accounts at Wells Fargo. At

CenturyLink, between a third and a half of all subscribers may have been overbilled.

Moreover, as detailed above in ¶93, the amounts of fraudulent charges at CenturyLink

amounted to hundreds of dollars per customer are far greater than the total amount of

fraudulent accounts at Wells Fargo, which totaled approximately $2.5 million. Given the

pervasive nature of the alleged misconduct, Defendants cannot plausibly claim they were

ignorant of it during the Class Period.

         187.   Seventh, the SEC specifically asked the Company to provide more detailed

information about its reported revenues and marketing and sales efforts of its consumer

segment, further underscoring the importance of the Company’s disclosures about its actual

sales practices. In fact, the SEC was questioning the Company’s disclosures about these

practices at the same time the Company had undertaken significant efforts to address illegal

cramming at the Company—but then aborted those efforts after they led to a decline in

sales.    The fact that the Company’s primary securities regulator sought additional

disclosure concerning the reasons for the performance of the Company’s consumer

segment – and the fact the Company and Defendant Cole refused to provide such disclosure

– also raises a strong inference that Defendants knew or were reckless in not knowing about

the fraud.



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       188.   Finally, several members of CenturyLink’s senior leadership departed under

suspicious circumstances. On February 11, 2015, Defendant Puckett, who had previously

served as CenturyLink’s COO for 5 years, was elevated to a position leading CenturyLink’s

global head of sales and revenue. Less than four months later, however, she was summarily

terminated, and forfeited equity awards that would later be valued at over $2 million. In

similar circumstances, on April 28, 2017, CenturyLink announced that Defendant Douglas,

Puckett’s successor, would be a member of the senior leadership team reporting to

Defendant Post after the Level 3 merger closed. Less than two months later, after investors

began to learn the truth about the Company’s widespread sales misconduct, CenturyLink

announced that Douglas would be leaving the Company. In so doing, Douglas forfeited

more than $2 million in compensation.         It is implausible that these executives left

voluntarily, forfeiting millions of dollars in compensation, shortly after being promoted.

The termination of Defendants Puckett and Douglas – the senior-most executives with

direct responsibility for consumer segment sales – adds to the inference of scienter.

       189.   Similarly, Joseph Zimmel, the former director and audit committee member,

was ousted from the Board under suspicious circumstances. Investors only learned about

the background concerning his removal because Zimmel forced the Company to disclose

it. Zimmel was forced off of the Board just weeks after the Company responded to the

SEC’s inquiry questioning the bases for the consumer segment’s operating performance.

And Zimmel himself said his forced departure, and the Board’s handling of the matter,

“raised serious governance, transparency and honesty issues” and that the Company

attempted to portray those events to the investing public in an “incomplete[,] inaccurate[,]”

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and “deliberately misleading” way. The unusual circumstances of Zimmel’s ouster, as well

as his role on the Company’s audit committee, the timing of significant companywide

employee performance changes and their corresponding revenue impact, adds to the

inference of scienter.

VIII. DEFENDANTS’ FALSE AND MISLEADING STATEMENTS

       190.   Throughout the Class Period, Defendants made numerous materially false

and misleading statements and omissions, including those concerning: (1) the nature of the

Company’s “customer first” business strategy and, particularly, CenturyLink’s purported

strategy of providing products and services according to customers’ “needs” and its

purported practice of “bundling” its products and services; (2) the reasons and factors

driving the Company’s financial performance, including the drivers of the revenues it

reported from consumers and small business customers, the impact of the Company’s

“bundling” marketing strategy, and the quality and demand for the Company’s services;

(3) the reasons behind CenturyLink’s fluctuating financial results, which had been secretly

impacted by the Company’s quickly-aborted effort to address its deceptive sales practices

cramming crisis; (4) CenturyLink’s business conduct, particularly as it related to sales

practices, business integrity, and ethical standards, as well as the Company’s statements

minimizing, and denying the Company’s fraudulent billing practices in response to news

reports that began to highlight them; and (5) CenturyLink’s material omissions under Item

303.




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       A.     Materially False And Misleading Statements And Omissions
              Concerning CenturyLink’s Business Strategies and Financial
              Performance

       191.   Throughout the Class Period, Defendants misled investors concerning the

reasons for the Company’s financial performance and the business strategies the Company

purportedly used to drive subscriber and revenue growth. Specifically, the Company

claimed the Company adhered to a “customer first” marketing approach and enhanced

revenues and “customer loyalty” through its service “bundling” strategy. Defendants also

falsely attributed revenue growth and performance to the Company’s strategy of

implementing price increases, focusing on retention and higher ARPU customers, as well

as its purported transparent billing and CenturyLink’s purported practice of not charging

the “additional fees” its competitors did.

       192.   These statements were materially false and misleading.      In reality, the

Company did not place customers first or provide services based on customers’ “needs,”

but “only cared about profits” and routinely charged customers for services they did not

need and did not authorize. Further, the Company did not grow revenues through a

“bundling” strategy, by imposing selective price increases, focusing on higher ARPU

customers, or by providing transparent billing and avoiding the “additional fees” its

competitors charged. In fact, the opposite was true: the Company routinely added services

and charged customers’ accounts without their approval and refused to honor the prices

customers had been quoted. These practices were so ubiquitous that imposing “additional

fees” for unauthorized services and other fraudulent sales practices were a material

undisclosed contributor to the Company’s reported revenues.

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             1.     False and Misleading Statements Concerning CenturyLink’s
                    Purported Focus on Customer “Needs”

      193.   Throughout     the    Class   Period,   Defendants   repeatedly emphasized

CenturyLink’s purported strategy of selling services and growing subscribers by focusing

on providing services that met its customers’ “needs,” and how this focus helped the

Company to effectively compete with cable companies that were often able to offer cheaper

prices for similar services.      For example, on June 24, 2015, Defendant Post and

CenturyLink CTO Aamir Hussain presented at the CenturyLink Inc. Financial Analyst

Day. During the presentation, Post stated that CenturyLink was:

      [F]ocus[ed] on our customers, their needs, the customer experience in all that
      we do. It really is about the customer. As we transform this Company,
      because it has to come from the customer, not what we think is best. What
      does the customer need to really -- for us to create value for that customer,
      bring them what they need, how they need their services, their
      communication services or IT services?

                                      *      *       *

      [W]e have talked about our focus on the customer today. And I know maybe
      that sounds a little trite. But so many customers -- so many companies fail to
      really focus on the customer. And it is about creating value for that customer
      in a way and the customer experience being something they can walk away
      with really makes him want to do business with CenturyLink in this case,
      very important.

Confirming the Company’s purported strategy of focusing on CenturyLink’s customers’

needs, Hussain stated that CenturyLink had “a team focused on that and their job is day-

in/day-out just rationalize all the product sets that [the Company has] out there, make the

network and products simple and easy to use for [its] customers.” Hussain stressed that

“[w]e underline all that with a world-class project management and metrics team and their


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job is to … [d]eliver a solution that gets to the customer when they need, what they need

and where they need it. That is key for us.”

       194.   Defendants made similar statements in the Company SEC filings during the

Class Period, on earnings calls, and during other public presentations. For example, on

March 1, 2013, the first day of the Class Period, CenturyLink filed its Form 10-K annual

report for fiscal year 2012 (the “2012 Annual Report”) with the SEC. In its 2012 Annual

Report, CenturyLink stated that it “rel[ied] on [its] call center personnel to promote sales

of services that meet the needs of our customers.”           According to CenturyLink, its

“approach” to its “residential customers emphasizes customer-oriented sales, marketing

and service with a local presence.” CenturyLink stated that it “market[ed] [its] products

and services primarily through direct sales representatives, inbound call centers, local retail

stores, telemarketing and third parties.”

       195.   CenturyLink repeated these statements throughout the Class Period,

including in its annual reports filed on Form 10-K for fiscal year 2013 (the “2013 Annual

Report”), filed on February 27, 2014; fiscal year 2014 (the “2014 Annual Report”), filed

on February 24, 2015; fiscal year 2015 (the “2015 Annual Report”), filed on February 25,

2016; and fiscal year 2016 (the “2016 Annual Report”), filed on February 23, 2017. Each

of these reports were signed by Defendants Post, Ewing and Cole.

       196.   In its 2015 and 2016 Annual Reports, CenturyLink represented that its “sales

and marketing strategy [was] to enhance [its] sales by offering solutions tailored to the

needs of [its] various customers and promoting our brands,” and that its “offerings include



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both stand-alone services and bu.ndled services designed to meet the needs of different

customer segments.”

       197.   CenturyLink also represented that its business strategy for specific services

was based on the Company “meeting customer care needs.” For example, referring to its

consumer segment and “strategic services”—such as the Company’s broadband and

television services—CenturyLink’s 2012 Annual Report represented that the Company’s

strategy for maintaining and increasing its customers was “based on pricing, packaging of

services and features, quality of service and meeting customer care needs.” The Company

repeated this same statement in its 2013, 2014, 2015, and 2016 Annual Reports. Similarly,

during investor conference calls on March 9, 2015, June 4, 2015 and March 7, 2016,

Defendant Ewing stated “[w]e’re committed to being the broadband leader in our markets,

offering advanced broadband services that meet the needs of our customers.”

       198.   With respect to CenturyLink’s “legacy services”—i.e., the “traditional”

voice, data and long distance phone services that were threatened by a structural shift to

wireless and other newer technologies—the Company represented in its 2012 Annual

Report that its “strategy to reduce access line loss” was “based primarily on [its] pricing,

packaging of services and features, quality of service and meeting customer care needs.”

CenturyLink made nearly identical representations concerning its strategy to “reduce” or

“manage access line loss” and legacy services revenues in its 2013, 2014, 2015, and 2016

Annual Reports.

       199.   Defendants specifically highlighted the Company’s focus on “customer

needs” as responsible for CenturyLink’s results. For example, during CenturyLink’s 2014

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second quarter conference call on August 6, 2014, Defendant Post attributed the

“significant improvement” and impressive $4.11 billion quarterly “core” revenues, which

represented “a significant improvement from the 2% and 3% declines in year-over-year

core revenues in the first-quarter 2013 and 2012, respectively,” as “reflecting the

commitment and dedication of our employees to meet the needs of our customers.”

       200.   The statements set forth above in ¶¶193-199 were materially false and

misleading and omitted material facts because, as described in Section IV, rather than offer

“solutions tailored to the needs” of customers or pursuing strategies based on customers’

“purchasing needs,” CenturyLink disregarded and undermined its customers’ “needs.”

Despite the fact that CenturyLink’s customers were entitled to and expected transparent,

accurate, and fair quotes and bills, CenturyLink engaged in systematic cramming in which

the Company routinely misquoted prices and omitted the prices of optional services when

selling to customers. Moreover, the Company fraudulently added services to customers’

bills that those customers did not request or authorize—let alone need. Rather than pursue

strategies or solutions focused on customer “needs,” CenturyLink disregarded its

customers’ “needs” by repeatedly refusing to honor prices that customers had been quoted.

              2.     False And Misleading Statements Concerning CenturyLink’s
                     Reported Revenues

       201.   Throughout the Class Period, Defendants told investors that the Company

had taken a number of measures to achieve “revenue stability” – the point at which

increased revenues from lower margin “strategic” services would offset slowing revenue

declines from high-margin “legacy services” – and eventually return the Company to


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profitability. Indeed, this was analysts’ central concern during the Class Period, and a topic

of discussion in virtually every public presentation CenturyLink gave. For this reason,

investors and analysts were highly attuned to the Company’s revenue performance.

       202.   During every earnings announcement during the Class Period, Defendants

told investors that the Company was achieving consistent “progress” toward CenturyLink’s

publicly-described goal of reaching “revenue stability” through key business strategies,

including the Company’s “bundling” strategy and pricing and discount initiatives, and the

quality of and demand for specific CenturyLink products and services that Defendants

claimed were responsible for revenue performance. The false and misleading statements

concerning the Company’s reported revenues, and the representations describing the

reasons driving them and the Company’s financial performance, are set forth in the chart

attached hereto as Appendix A.

       203.   The statements in Appendix A were materially false and misleading because

they omitted the material fact that the Company’s revenue and financial performance was

due, at least in part, to the undisclosed illegal cramming practices alleged herein.

Specifically, these representations created the false impression that the Company’s

financial performance resulted from the pursuit of legitimate business strategies and the

purported demand for CenturyLink’s services – and that therefore “revenue stability” was

achievable in the near term – when, in reality, the Company’s results depended upon and

were materially impacted by the Company’s undisclosed cramming practices.

       204.   Further, the Company’s statements attributing revenue performance to

purportedly legitimate factors concealed the highly material risks and consequences that

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the Company’s illegal activities invited. In reality, the Company’s undisclosed practices

were fundamentally unsustainable because they were inflated through fraud, and exposed

the Company to the highly probable outcome that these revenues would disappear when

CenturyLink’s misconduct was uncovered. Indeed, that is exactly what happened.

                3.    False And Misleading Statements Concerning CenturyLink’s
                      Service “Bundling” Strategies

         205.   Defendants represented that one of the most important marketing strategies

the Company pursued to grow consumer revenues involved “bundling”—selling numerous

services to a single customer—which the Company said led to greater customer loyalty,

helped mitigate “legacy” revenue declines, increased service usage, and enabled the

Company to effectively compete. For example, in its SEC filings during the Class Period,

the Company represented that CenturyLink’s “bundling” strategy:

               Presented significant “value” to customers: “We offer our customers
                the ability to bundle together several products and services. We
                believe our customers value the convenience and price discounts
                associated with receiving multiple services through a single
                company.”6

               Helped “maintain customer relationships”: “We strive to maintain our
                customer relationships by, among other things, bundling our service
                offerings to provide our customers with a complete offering of
                integrated communications services.” Similarly, CenturyLink stated
                that its “sales and marketing” “strategy [was] to enhance [its]
                communications services by offering a comprehensive bundle of
                services…to further enhance customer loyalty.”7


6
 2012 Annual Report, 2013 Annual Report, 2014 Annual Report, 2015 Annual Report,
2016 Annual Report.
7
    2012 Annual Report, 2013 Annual Report, 2014 Annual Report.

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              Positively impacted customer “retention”: “While bundle price
               discounts have resulted in lower average revenues for our individual
               services,” the Company “believe[d] service bundles continue to
               positively impact [its] customer retention.”8

              Helped mitigate legacy service declines: As part of its effort to
               “mitigate” declines in its legacy services, the Company remained
               “focused on efforts to … promote long-term relationships with our
               customers through bundling of integrated services.”9

              Attracted customers and led to increased usage of services:
               CenturyLink claimed that, “in addition to bundle discounts, we also
               offer limited time promotions on our broadband service for
               prospective customers who want our broadband service in their
               bundle, which further aids our ability to attract and retain customers
               and increase usage of our services.”10

              Enabled CenturyLink to effectively compete:             CenturyLink
               represented that “[i]n order to remain competitive, we believe
               continually increasing connection speeds is important. As a result, we
               continue to invest in our network, which allows for the delivery of
               higher speed broadband services. We also continue to expand our
               marketing and product bundling efforts by offering a variety of
               bundled products and services with various pricing discounts, as we
               compete in a maturing market in which a significant portion of
               consumers already have broadband services.”11




8
 2012 Annual Report, 2013 Annual Report, 2014 Annual Report, 2015 Annual Report,
and 2016 Annual Report.
9
 2012 Annual Report, 2013 Annual Report, 2014 Annual Report, 2015 Annual Report,
2016 Annual Report; CenturyLink’s Quarterly Reports on Form 10-Q filed on August 8,
2013, November 8, 2013, May 8, 2014, August 7, 2014, November 6, 2014, May 6, 2015,
August 6, 2015, November 5, 2015, May 5, 2016, August 4, 2016, November 4, 2016, and
May 5, 2017; and Definitive Proxy Statement on Form DEF 14A filed April 10, 2013,
April 16, 2014, April 8, 2015, April 5, 2016, and April 13, 2017.
10
     2012 Annual Report and 2013 Annual Report.
11
     2014 Annual Report, 2015 Annual Report, and 2016 Annual Report.
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      206.   Defendants also made similar statements concerning the benefits and impact

of the Company’s “bundling” strategy during investor conference calls and presentations

throughout the Class Period, including those set forth in paragraphs ¶¶58-59 above and set

forth in the chart attached as Appendix A.

      207.   The statements set forth above in ¶¶205-06 describing CenturyLink’s

“bundling” strategy were materially false and misleading because, as described in Section

IV, rather than “offer…customers the ability to bundle multiple products,” CenturyLink

fraudulently and routinely added services that customers did not request and did not wish

to “bundle.” As set forth above in Section IV, CenturyLink’s “bundling” strategy was

frequently pursued by omitting key facts concerning “bundled” service packages, such as

the existence and/or price of charges for individual services included within a “bundle”

(e.g., @Ease and LineGuard), as well as terms and conditions for “bundle” package

discounts. Moreover, CenturyLink routinely refused to honor requests by customers to

cancel services, including requests to cancel services that customers never agreed to or

requested. Thus, in truth, CenturyLink’s strategy was not to “enhance” its services by

“offering a comprehensive bundle of services” but to inflate the Company’s revenues by

adding improper charges and services to customers’ bills. Rather than “promote long-term

relationships” and “enhance customer loyalty,” these practices greatly jeopardized the

Company’s ability to retain customers and ultimately threatened the sustainability of the

Company’s reported revenues.




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              4.     False And Misleading Statements Concerning CenturyLink’s
                     Pricing and Discounting Strategies and the Demand for and
                     Quality of CenturyLink’s Offerings

       208.   Defendants also repeatedly claimed that specific pricing and marketing

strategies, as well as the quality and demand for specific CenturyLink services, were

responsible for the financial performance of CenturyLink’s consumer segment.

       209.   Among other things, Defendants represented that CenturyLink’s strategy of

imposing select “price increases” on certain products and changing various offered

“discounts” impacted revenues. For example, during a February 11, 2015 investor call

addressing fourth-quarter and year-end 2014 results, Defendant Puckett explained that

select price increases in CenturyLink’s Prism TV services, as well as “price increases” on

“different categories of really access lines and other places,” had a “positive impact” on

the $1.494 billion in consumer revenues CenturyLink reported for the quarter. According

to Defendant Puckett, these price increases were based on a methodology that CenturyLink

had effectively used before, explaining that “we have a pretty good methodology that

we’ve used over the years in terms of the lifecycle of products and price increases. We’re

just following our process there.”

       210.   Defendants similarly highlighted CenturyLink’s supposedly attractive

“higher bandwidth and IPTV” services as responsible for revenues in the consumer

segment in the first and second quarters of 2015. For example, during a November 4, 2015

conference call addressing the Company’s third quarter 2015 results, Defendant Post

explained that “[f]aster broadband speeds and hosting solutions are at the top of many of

customers’ list of needs,” and that CenturyLink consumer revenues experienced “solid

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year-over-year growth” by “attracting more high-value customers and we have increased

our ARPU through the continued launch of GPON, higher-value bundled sales and select

pricing increases.” Similarly, on December 7, 2015, at the UBS Global Media and

Communications Conference, in response to an analyst’s questions concerning revenue

stability, Defendant Ewing stated, “if you look at the consumer side of the business,

between the increase in revenues that we have seen from high-speed Internet as well as our

Prism TV service and price increases, select price increases that we have done, we’ve been

able to see real stable revenue on the consumer side.”

       211.   These statements were materially false and misleading. It was materially

false and misleading to represent that select price increases, based on pricing strategies that

CenturyLink had “used over the years in terms of the lifecycle of products,” were

responsible for revenue gains when, in truth, a highly material portion of the Company’s

reported revenues was obtained through fraudulent cramming. Further, it was false and

misleading for Defendants to attribute revenue growth to “attracting more high-value

customers” and increased ARPU through “higher-value bundled sales and select price

increases” while concealing that CenturyLink’s higher ARPU was at least in part achieved

through illegal cramming.

       212.   It was also materially false and misleading for Defendants to represent that

“consumer demand” for the Company’s purportedly “attractive” high-bandwidth and

Prism TV offerings was responsible for the Company’s consumer revenue growth when,

in reality, a highly material portion of CenturyLink’s reported revenues were achieved

through illegal cramming. In truth, as described above in Section IV, the Company’s

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revenue performance was materially impacted by CenturyLink’s routine failure to properly

disclose terms and conditions concerning pricing discounts, systematic refusal to honor

prices quoted to customers at the time of sale, and other improper and illegal billing

practices.

       B.     False And Misleading Statements Covering Up Defendants’ Secret
              Attempt to Address the Company’s Cramming Crisis

       213.   As set forth above in Section IV, by 2014, Defendants recognized that

CenturyLink’s institutionalized cramming had reached crisis levels, that the Company had

to “do something about our call centers,” and secretly undertook dramatic steps to address

it. Specifically, CenturyLink implemented a significant change to the Company’s sales

employee performance assessment model, switching to a “behavioral” coaching model in

which the failure of sales representatives to meet quotas no longer led to immediate

termination. While the new method led to a sharp decline customer complaints and

terminations for unethical behavior after several months, the change also led to a decline

in sales. As soon as sales declined, however, the Company reverted back to the prior

method almost immediately because CenturyLink’s senior management could not tolerate

any decline in revenues.

       214.   The steps that CenturyLink took to address the cramming crisis—and its

quick abandonment of those measures—had an immediate and material effect on the

Company’s reported financial performance. Instead of disclosing the true reasons for those

results, however, Defendants created a false narrative that declining revenues (and the later




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rebound) were the result of a deliberate strategy the Company pursued to focus on “higher

value” customers, generate higher ARPU and reduce “churn.”

       215.   Specifically, Defendants represented that a “pivot” to reinvigorate the

Company’s “bundling” strategy, additional promotional efforts, select price increases and

changes to the Company’s customer targets were responsible for the fluctuations in the

performance of the Company’s consumer segment. For example, during the Company’s

August 5, 2015 earnings call for second quarter 2015, Defendant Post told investors that

the Company was “tightening our credit policies for our internet-only customers to reduce

sales to customers who tend to change internet providers frequently, leaving unpaid

balances when they exit.” In other words, Defendant Post sought to blame a decline in

revenues on supposedly less creditworthy customers, while at the same time suggesting

that the Company’s effort to address this “problem” was also responsible for the reported

decline in revenues. Indeed, Defendant Post represented that the Company’s “credit

tightening” strategy would help ensure more consistent and sustainable revenues from

more dependable, paying customers going forward.

       216.   Similarly, at the Oppenheimer Technology, Internet & Communications

Conference on August 12, 2015, in a response to a question about competing on price with

cable providers, Defendant Ewing explained the changes CenturyLink had made to its

“discount” pricing strategy and efforts to tighten credit requirements:

       So we are still somewhat discounted, I believe, to the cable
       companies. Although, again, as I mentioned, we have increased our prices
       both for our broadband customers as well as our Prism TV customers to keep
       up with the content cost increases there.


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       The other thing that we are doing is we are doing less discounting on the
       front end in terms of customers. As well as increasing our credit requirements
       somewhat, especially for the customers who don’t buy their Internet in a
       bundle, who basically just come to us and want standalone high-speed
       Internet service. So we’re increasing the credit requirements there a little bit
       to try to mitigate some of the churn that we’ve been seeing there.


       217.     In subsequent quarters, Defendants continued to represent that these

strategies were responsible for the consumer segment’s performance, and would continue

having the intended effect of increasing ARPU and reducing churn in an effort to drive

revenue growth over the long term. For example, during the Company’s third quarter 2015

earnings call on November 4, 2015, Defendant Ewing explained that “high-speed internet

and Prism TV net subscriber growth was negatively impacted” due to “tightening our credit

and collection processes,” but that “these adjustments had little impact on revenue and

should actually help improve our broadband growth in 2016 due to lower churn.”

       218.     The representations in ¶¶213-17 above were materially false and misleading.

It was materially false and misleading to blame the consumer segment’s faltering

performance on strategies to “tighten” credit requirements and shift to higher ARPU

customers when, in reality, the decline in revenues was attributable to a corresponding

decline in illegal cramming, and the Company’s secret efforts to “do something about” its

call centers.

                1.    False And Misleading Statements Concerning Defendants’
                      “Pivot” and Revenue Rebound Based on A Purported Shift in
                      Strategy to Focus on High ARPU Customers

       219.     As set forth in Section IV, CenturyLink abandoned the behavioral coaching

model and returned to its prior strict enforcement of sales quotas almost “immediately”

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after the reduction in cramming led to a decline in revenues. And not long after the

Company reverted back to the metrics-based system, CenturyLink returned to form, with

cramming and revenues rebounding in short order.

       220.   Again, rather than disclose the true reasons behind the changes in the

Company’s financial performance, Defendants attributed the rebound to the supposedly

legitimate steps that the Company had taken to address the disappointing results in the first

half of 2015. Specifically, over the next several quarters, Defendants characterized the

rejuvenated consumer segment performance as the result of a shift in strategy. At the same

time, Defendants sought to distinguish CenturyLink’s sales practices from its competitors,

highlighting the Company’s purportedly legitimate and conservative approach to issuing

price discounts and credits, and its refusal to “add a lot of fees” to customers’ bills.

       221.   For example, in announcing year-end results on February 10, 2016,

Defendant Post highlighted the “aggressive corrective action” the Company had taken –

including the realignment of the sales force and new leadership appointments (referencing

Douglas’ replacement of Puckett) – to address the slumping revenue numbers in the first

two quarters of the year.

       222.   Similarly, on that call, Defendant Ewing told investors that the improved

results were the result of a renewed focus on “churn reduction” and strategy change to

“keep the customers we have and try to make some of the price declines and credits that

we’ve been issuing smaller.” In other words, Defendant Ewing attributed the improved

performance to a more conservative approach to providing discounts and credits—



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suggesting that the Company had previously been overly generous in issuing “credits” to

resolve customer billing disputes.

       223.   Defendants repeated these same themes in the following quarterly earnings

report. Specifically, during the Company’s first quarter 2016 earnings call on May 4, 2016,

Defendant Douglas told investors that consumer segment results were impacted by the

Company’s effort to refocus on its “bundling” strategy explaining. According to Defendant

Douglas, although the purported strategy “pivot” had led to temporary subscriber declines,

it would soon translate into more dependable and sustainable revenues as a result of lower

churn and higher ARPU:

       Some of the pressures that we’re facing in the business have to do with a
       slight adjustment in strategy. For example, in the high-speed internet realm,
       what we did was we pivoted from an approach that was pure broadband, to
       one that’s more traditional bundled broadband. We did that in the latter part
       of FY15. And so, we’re starting to work through what that means in the first
       part of FY16, and we expect that, that will continue to work through the
       middle part of the year of FY16. But that pivot to the more traditional
       approach to high-speed bandwidth in the consumer segment especially,
       should allow us to have customers that have -- less proclivity to churn and a
       higher ARPU. So we think that is going to be something that we will benefit
       from in the second half of the year and into 2017.

       224.   Most importantly, Douglas further clarified that the purported shift in

broadband strategy was based on a “competitive analysis” and that the Company’s ARPU

figures were legitimate and, unlike those of CenturyLink’s competitors, were not inflated

by unwanted fees:

       Question – Oppenheimer Analyst: Can you give some examples of what
       you mean by, more advanced broadband services, or more bundled
       broadband services? Also how does your ARPU -- maybe can talk about
       your broadband average ARPU, and maybe how does that compare to your
       competitors? ….

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      Answer – Dean Douglas: Okay. So let’s talk about the examples of what
      we mean by bundled broadband services, so that the traditional high-speed
      internet services are really what you’d expect in a double play or triple play.
      So it’s not only a high speed, but it’s also video, and some voice technology
      as well. And so, that’s pretty much a typical broadband suite of services.

      When you look at the Prism adds that we did in the first quarter of this year,
      53% of them were with new customers. So you’re now starting to see
      services like Prism attract new customers, that were not customers of
      Century Link, and they’re dragging along broadband services with that
      video play. So 98% of those customers that signed up for Prism in the first
      quarter, also signed up for our broadband services.

      And so, we see in those markets that bundling the technologies, broadband,
      video and the like, really do provide a much more compelling offering for
      both our customer base, as well as our folks that were with either
      competitors or didn’t have the service at all, but nonetheless were not
      customers of CenturyLink. And so, as we think about how we go forward
      with -- to the marketplace, we obviously do a lot of competitive analysis.

      So I would tell you that our ARPUs are consistent with what you’d see at an
      ARPU level in our competitors. And we see competition adding a lot of fees.
      And so, that’s where there might be a little bit of a delta, but we’re working
      through, and constantly monitoring what our competitors are doing in the
      marketplace, with regard to the average ARPUs in our business.

      225.   The statements in ¶¶221-24 above were materially false and misleading. It

was materially false and misleading for Defendants to attribute the rebound in consumer

revenues to the “corrective actions” Defendant Post described because, in truth, these

revenue gains were driven by the illegal cramming practices Defendants failed to correct.

It was also materially false and misleading for Defendant Ewing to represent that revenue

growth was the result of the Company limiting the amount of “credits” it gave customers

while omitting the highly material fact that CenturyLink had for years employed a policy

of limiting the amount of credits it would offer customers who were improperly billed and,


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in fact, routinely and systematically failed to honor the prices customers were quoted. It

was also false and misleading for Defendant Douglas to represent that CenturyLink’s

competitors “add[ed] a lot of fees” and to imply that CenturyLink did not (and this was the

reason for the “delta” in the ARPU) because, in truth, CenturyLink systematically and

unlawfully added fees and other unauthorized charges to customers’ bills.

       226.   Defendants continued to issue numerous false and misleading statements

concerning the purported “pivot” in strategy that coincided with the rebound in consumer

revenues. For example, during the Company’s second quarter 2016 earnings call on

August 3, 2016, Defendants again highlighted bundling and credit tightening as responsible

for the Company’s disappointing broadband subscriber numbers, while touting the higher

ARPU supposedly generated by this shift. For example, Defendant Post noted that “we

continue to pivot toward the sale of higher speed, higher value bundle offerings, to better

credit quality customers,” who have “higher ARPU, lower churn, and a much higher

lifetime value than lower speed, lower credit, standalone broadband customers.”

       227.   Defendant Post claimed that this strategy would prove beneficial, stating that

“this is the right approach for the long term health of our business, even though it does

have an impact on broadband units, some of which we saw during the second quarter.”

Defendant Post downplayed any concerns about subscriber net losses, however, noting that

approximately 20% of the 65,000 broadband subscriber decline the Company reported for

the quarter was “driven by a higher than expected number of slow and non-paying customer

churn” and that a “significant percentage of the churn is related to standalone broadband

customers who are less loyal than our traditional bundled customers.” In other words,

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Defendant Post explained that the subscriber declines were caused by the very problems

Defendants’ purported shift in strategy was intended to address.

       228.   On that same conference call, Defendant Douglas reiterated the Company’s

ongoing “shift” to target “bundled customers” as helping to drive “better ARPU, as well as

a longer lifetime revenue base for that customer.” According to Douglas, the Company

was seeing “churn level for our pure customers, or standalone high-speed customers” that

was “double that of what we’re seeing in those bundled customers,” explaining that this

signified a “very, very significant churn rate in those [pure, non-bundled] customers.”

Douglas further clarified that, in addition to the shift to more dependable bundled

customers, the Company was and would continue generating revenue growth through price

increases, noting that “we’re continuing to drive some of those price increases into the

second half, and we’ll see those manifest themselves in the second half, as well.”

       229.   In addition, Defendants also began to highlight another strategic initiative

focused on customer retention.          Specifically, Defendant Post told investors that

CenturyLink had “increased the level of focus in [its] call centers in first call resolution for

our customers.” According to Defendant Post, the “focus on first call resolution is another

change we believe may have affected our broadband additions for the quarter as we focus

more on the customer issues rather than selling, but we believe the improved customer

experience will improve customer retention and improve our revenue over time.”

       230.   Defendants continued to highlight the purported strategy shift in fielding

questions about revenue and subscriber fluctuations, assuring investors that the Company’s

focus on “bundled” and higher ARPU customers would lead to more predictable and

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dependable cash flows. For example, during an August 10, 2016 presentation at the

Oppenheimer Technology, Internet & Communications Conference, CenturyLink’s Head

of Investor Relations Tony Davis reminded investors that “we’re pivoting away from the

sale of standalone broadband service and going back to more of a bundle play, higher

ARPU, longer lifetime value of the customer, less churn. And so we’re in the middle of

that pivot as we talked a lot about on the quarter call.”

       231.   Similarly, during a September 21, 2016 presentation at the Goldman Sachs

Communicopia Conference, Defendant Post discussed the purported shift in strategy, and

the supposed benefits that would provide in terms of more dependable cash flows:

       We have decided that we -- we were focused on quantity, driving more
       customers in. We’ve changed our approach there. We look at the propensity
       of the churn of those single service customers, look at their credit
       worthiness. A lot of them weren’t paying, and the ARPU issue.

       We believe that we are stronger and better off going forward to focus on
       high-value customers, not what’s pointed at the numbers, but get really
       strong customers that are going to drive value, stability going forward that
       are more loyal and pay their bills.

       So we believe the high-value focus is very important for us and we are
       confident it could change the stability and the fluctuation in those
       numbers. So it’s going to take some time to work through the base of that
       single service customer base, but we’re seeing improvement already and we
       expect going into in 2017 we’ll see even more.

       232.   On that same call, Defendant Ewing explained that the Company had

implemented an initiative to prevent customers from leaving when the promotional

discount periods on their contracts expired:

       The other thing that we’re doing there is we’re working on churn and
       mitigating churn. So what we find is that when customers come off of a
       promotion and their rate goes up, that’s when they are most likely to

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       churn. So we’re putting programs in place that really won’t help the fourth
       quarter so much as next year, but it will give us an opportunity to touch those
       customers to try to prevent that churn event from happening either by
       potentially keeping their rates lower than they would otherwise move up to
       or to try to help sell them to a higher speed service.

       233.   In reporting quarterly results for the third and fourth quarters of 2016,

Defendants told investors that these strategies were working, and were reflected in the

Company’s reported results. For example, during an October 31, 2016 conference call to

discuss the Company’s third quarter results (and the announcement of the Level 3

acquisition), Defendant Post explained:

       We remain focused on continuing our pivot to higher quality broadband
       customers and while we still have more improvement to achieve on a year-
       over-year basis in the third quarter, we added higher ARPU customers, lower
       churn and fewer…high-risk credit customers in the quarter. So we are
       making that pivot with our consumer base and we saw those trends in the
       third quarter.

       234.   Similarly, in reporting 2016 fourth quarter and year-end results on February

8, 2017, Defendant Post again cited the strategy shift as partly to blame for the reported

slower growth in strategic consumer revenues, explaining that lower growth in consumer

broadband revenue was “driven by unit declines as we shifted our marketing spend more

toward bundled, higher-speed solutions and tightened our credit policy,” as well as “slower

growth in consumer video subscribers and revenues than originally anticipated, and that

obviously had an impact on our results.” Defendants further claimed that, despite this

slowdown, the strategy had already begun to work. For example, Defendant Post told

investors on that call that the “focus on improving our customer experience is beginning to




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be seen in our results, as we saw a 15 basis points improvement in consumer broadband

churn year-over-year and a 30 basis point improvement in Prism TV churn.”

       235.   Defendants repeated this refrain during an investor presentation on March 7,

2017, where they explained that the shift in strategy had already impacted results, and

would continue to do so. Defendant Ewing explained that, “on the consumer side,

basically, we have upped our credit standards from a broadband consumer standpoint and

we feel like the customers that we are signing up are better quality customers. They are for

the most part 40 meg or higher, which tend to churn less.” Defendant Post said this change

would also help going forward, as the Company “continued to see improvement in our

churn rate and reduce customer credits,” and anticipated that “a significant portion of the

second half improvement [included in 2017 guidance] to be driven by the improvement in

the churn rate.”

       236.   The statements set forth above in ¶¶226-35 were materially false and

misleading. As described in Section IV, after CenturyLink aborted its attempt to address

the cramming crisis at the Company, CenturyLink immediately reverted back to its prior

deceptive sales practices, which quickly returned to serving as a material undisclosed driver

of CenturyLink’s reported financial results. Accordingly, it was materially false and

misleading to claim that the Company’s strategies to focus on “higher value,” more “loyal”

and “creditworthy” customers had contributed to the financial performance of the

consumer segment because, in reality, the Company’s results were materially impacted by

CenturyLink’s deceptive systemic cramming practices. Moreover, it was materially false

and misleading to blame the Company’s “other” presumably less “loyal” or “creditworthy”

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customers for CenturyLink’s previous lackluster results when, in truth, CenturyLink

routinely and systematically refused to honor the prices it quoted customers, failed to

disclose key terms of contracts, and added services to customers’ bills that they did not

request or authorize.    Further, it was materially false and misleading to claim that

CenturyLink was attempting to improve its customer experience and customer retention

when the Company had, in fact, returned to cramming its customers.

       C.     Materially False And Misleading Statements And Omissions
              Concerning CenturyLink’s Purported Business Integrity, Legal
              Compliance, and Honesty In Sales Practices

       237.   Throughout the Class Period, CenturyLink bolstered investors’ confidence

in its reported financial results and the legitimacy of the Company’s operating activities by

directing investors to the Company’s official Code of Conduct, which was published on

CenturyLink’s website and introduced by a message from Defendant Post, publicly

affirming its compliance with the numerous regulations governing its business, and

denying any improper conduct.

       238.   In each of CenturyLink’s annual reports filed during the Class Period,

CenturyLink stated as follows with respect to its Code of Conduct:

       We have adopted written codes of conduct that serve as the code of ethics
       applicable to our directors, officers and employees, in accordance with
       applicable laws and rules promulgated by the SEC and the New York Stock
       Exchange. In the event that we make any changes (other than by a technical,
       administrative or non-substantive amendment) to, or provide any waivers
       from, the provisions of our code of conduct applicable to our directors or
       executive officers, we intend to disclose these events on our website or in a
       report on Form 8-K filed with the SEC.




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         239.   The Company’s SEC filings referred to the Code of Conduct explicitly, and

directed investors to the Code of Conduct on CenturyLink’s website. Further, according

to each of CenturyLink’s Definitive Proxy Statements for Fiscal Years 2013 through 2017,

“[a]ll of our directors, officers and employees are required to abide by our long-standing

ethics and compliance policies and programs, which include standards of business

conduct.”

         240.   Under CenturyLink’s Code of Conduct, CenturyLink committed that it

would:

         Never misstate facts or confuse or mislead consumers about Company
         advertisements or promotions….

         Follow all applicable sales policies and procedures to ensure we do not
         engage in unethical or deceptive sales practices….

         Never place or record an order for our products and services for a customer
         without that customer’s authorization…..

         Be truthful in all dealings with customers, employees, shareholders, business
         associates and the general public.

         241.   The statements set forth above in ¶¶238-40 were materially false and

misleading because, as described in Section IV, CenturyLink systematically misquoted the

prices of its services, denied promised discounts, and charged customers for services that

they did not request. As the Company continued to engage in its institutionalized

cramming scheme throughout the class period, customers complained and consumer

advocacy groups and the media took notice. In articles and publicly-filed documents

throughout the Class Period, when confronted with allegations of sales misconduct at the

Company, CenturyLink repeatedly denied those allegations and/or made other false and

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misleading statements about the Company’s practices, conduct, and attempts to remedy

identified issues.

         242.   For example, in response to an October 6, 2016 story published by a Seattle

television station reporting on an investigation of CenturyLink by the Seattle Office of

Cable Communications in connection with improper billing, the Company made the

following statement:

         Some of our customers have experienced customer service and billing
         challenges. We take these concerns seriously and have implemented process
         and system improvements designed to resolve their concerns. We are
         working diligently to identify immediate changes, as well as other changes
         that will require a few months to implement. We’re fully committed to
         resolving these issues as quickly as possible in order to ensure a high-quality
         experience for our customers,” said Sue Anderson, vice president of
         operations in Washington.12

         243.   Similarly, when the Star Tribune reported that “[t]he Better Business Bureau

of Minnesota ha[d] logged 1,150 complaints against CenturyLink in Minnesota since 2015,

compared with 450 for Comcast, 300 for DirecTV and 170 for the Dish Network,”

CenturyLink spokeswoman Molly Clemen said, “We are committed to providing the best

quality experience and will continue to work to meet and exceed our customers’

expectations in our markets.”13




12
  CenturyLink Held Accountable for Billing, Service Issues, KING5 NEWS, Oct. 6, 2016,
http://www.king5.com/article/money/consumer/centurylink-held-accountable-for-billing-
service-issues/329020908.
13
   Why More Folks Aren’t Cutting the Cord on Cable TV, Star Tribune, Oct. 18, 2016,
http://www.startribune.com/why-folks-aren-t-cutting-the-cord-on-cable-tv/397326141/.

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         244.   Months later, a Portland, Oregon news outlet reported on increasing

complaints against the Company, noting that the Better Business Bureau had logged 11,954

complaints about CenturyLink in the prior three years and quoting a spokesperson for the

Better Business Bureau who said:

         Consistently consumers are telling us about the same type of issues. They
         are signing up and they are understanding a certain price and when their bill
         does not reflect that price they call in for corrections–they never see
         corrections on their bills. It’s not isolated to folks in Oregon. We are seeing
         those complaints in the markets in which CenturyLink does business.14

CenturyLink offered the following misleading response:

         CenturyLink strives to provide the best possible service at all times. As a
         customer-first business, we take any complaint seriously and work diligently
         to provide each customer with a fair and quick resolution. And where our
         investigations into complaints show that process changes can improve the
         customer experience, we make improvements and incorporate them into our
         employee training and customer outreach. Improving the customer
         experience is our constant objective, and customer feedback, even if
         negative, is an important part of this continuous effort.

         245.   CenturyLink took a similar tack in responding to several other media reports

about its billing misconduct. As above, in those instances, CenturyLink denied any

systematic wrongdoing, characterized any claimed instances of improper billing as isolated

and contrary to Company policy, and told the public that the Company would take swift

action to remedy any inappropriate billing and correct any problems that had been

identified. For example, in response to a report published by a Denver, Colorado television

station, CenturyLink falsely represented that, “[a]s a customer-first business, we take any


14
  Growing Pains: CenturyLink Consumer Complaints Spike as Service Expands, KGW8
NEWS, Feb. 1, 2017, http://www.kgw.com/article/news/investigations/growing-pains-
centurylink-consumer-complaints-spike-as-service-expands/283-395525834.

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complaint seriously and work diligently to provide each customer with a fair and quick

resolution,” and that where “investigations into complaints show that process changes can

improve the customer experience, we make improvements and incorporate them into our

employee training and customer outreach.”15 And in a news article about “dozens of

[CenturyLink] cable subscribers who complained about billing nightmares and bait and

switch sales tactics,” CenturyLink responded to allegations by again emphasizing its

purported commitment to and focus on its customers, stating that “CenturyLink values our

customers and strives to provide the best possible experience and customer service at all

times…. We are committed to providing the best quality experience and will continue to

work to meet and exceed our customers’ expectations.”16

         246.   The statements set forth above in ¶¶238-45 were materially false and

misleading. CenturyLink was not a “customer-first business,” did not take the thousands

of complaints and millions of violations “seriously” or “work diligently to provide each

customer with a fair and quick resolution,” and did not “strive[] to provide the best possible

experience and customer service at all times.” To the contrary, as described above in

Section IV, CenturyLink’s “customer service” apparatus was not designed to provide

customer service but rather to promote sales, even sales obtained through fraud. Indeed,



15
  Denver Better Business Bureau Issues Warning About CenturyLink, KDVR, Jan. 27,
2017, http://kdvr.com/2017/01/27/denver-better-business-bureau-issues-warning-about-
centurylink/.
16
  CenturyLink Customers Complain About Billing Nightmares, KING5 NEWS, May 25,
2017, http:// www.king5.com/article/money/consumer/centurylink-customers-complain-
about-billing-nightmares/441975389.
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rather than “provide each customer with a fair and quick resolution,” the Company’s

customer service personnel were instructed to make sales rather than resolve complaints.

Customer service personnel were in fact limited in the amount of “credits” they were

permitted to provide to customers to resolve complaints—without regard to the nature of

the complaints or the amount customers disputed—and were in fact rewarded for limiting

the amount of “credits” they provided.

       247.   As discussed above, on April 6, 2016, CenturyLink entered into a publicly-

filed Assurance of Discontinuance with the Arizona Attorney General. In the Assurance of

Discontinuance, the Arizona Attorney General explained each alleged violation of Arizona

Consumer law it believed CenturyLink engaged in, and—for each allegation—

CenturyLink “expressly deni[ed]” the allegation. In fact, not only did CenturyLink deny

the Attorney General’s allegations of providing incomplete information, the Company

affirmatively stated that it fully disclosed all such information to consumers.

       248.   Specifically, in response to the Arizona Attorney General’s allegation that

CenturyLink failed to adequately disclose material qualifying conditions to advertised

promotional rates, CenturyLink stated that it:

       expressly denies these allegations and alleges that all material qualifying
       conditions that apply to its advertised promotional rates, including but not
       limited to term commitments and authorization that CenturyLink may
       automatically withdraw monthly payments from financial accounts were
       fully disclosed.

       249.   In response to the Arizona Attorney General’s allegation that CenturyLink

failed to adequately disclose that a promotion rate would end before the consumers’ term



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commitment expired, CenturyLink stated that it “expressly denies these allegations and

alleges that these terms were fully disclosed.”

       250.   In response to the Arizona Attorney General’s allegation that CenturyLink

failed to adequately disclose early termination fees, CenturyLink stated that it “expressly

denies these allegations and alleges that these terms were fully disclosed.”

       251.   In response to the Arizona Attorney General’s allegation that it sold

consumers levels of high speed internet that were not available at consumers’ addresses

when, CenturyLink stated that it “expressly denies these allegations and alleges that these

terms were fully disclosed.”

       252.   In response to the Arizona Attorney General’s allegation that it failed to

adequately disclose that a consumer will be required to purchase or lease a modem/router

for high speed internet service, CenturyLink stated that it “expressly denies these

allegations and alleges that these terms were fully disclosed.”

       253.   In response to the Arizona Attorney General’s allegation that CenturyLink

failed to adequately disclose that a consumer will be charged an installation fee for certain

services and products, CenturyLink stated that it “expressly denies these allegations and

alleges that these terms were fully disclosed.”

       254.   Furthermore, CenturyLink also “denie[d] any violation of state, federal, or

local law, that any actions, inactions, or practices of CenturyLink were a consumer fraud

or otherwise legally improper” and “expressly denie[d] that its policies, practices, or

procedures… fail to meet or violate any applicable standard.”



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       255.   CenturyLink’s statements set forth above in ¶247-54 were materially false

and misleading. CenturyLink was not “committed to customer service”: it in fact employed

a policy and practice of routinely engaging in misleading and deceptive practices which

harmed its customers by, among other things, charging them for services and products they

did not request, misquoting prices at the point of sale, and other similarly deceptive

conduct, as set forth above in Section IV. Moreover, CenturyLink’s “express[] deni[als]”

of each of the allegations set forth in the Arizona Assurance of Discontinuance were false,

because, as is set forth more fully above in Section IV, CenturyLink in fact engaged in the

alleged activities. In addition, CenturyLink’s denial that it violated any “state, federal, or

local law” and “express[] deni[al] that its policies, practices, or procedures…fail to meet

or violate any applicable standard” was false because CenturyLink’s cramming scheme in

fact violated numerous consumer protection laws and regulations.

       D.     Materially False And Misleading Statements And Omissions
              Concerning CenturyLink’s Regulatory Risks

       256.   Throughout the Class Period, CenturyLink represented that it faced

hypothetical risks in connection with the high level of regulatory oversight it experienced.

For example, in the Company’s 2013 Annual Report, CenturyLink warned investors that

the Company “operate[d] in a highly regulated industry and are therefore exposed to

restrictions on our operations and a variety of claims relating to such regulation” (emphasis

in original). CenturyLink explained that it was subject to “significant” regulation by the

FCC and state utility commissions, and that it was “generally” required to “obtain and

maintain certificates of authority or licenses from [regulatory] bodies in most territories


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where we offer regulated services.” The Company warned that “the prescribed service

standards and conditions imposed on us in connection with obtaining or acquiring control

of these licenses may impose on us substantial costs and limitations.” It further warned:

      We are also subject to numerous requirements and interpretations under
      various international, federal, state and local laws, rules and regulations,
      which are often quite detailed and occasionally in conflict with each
      other. Accordingly, we cannot ensure that we are always considered to be in
      compliance with all these requirements at any single point in time. The
      agencies responsible for the enforcement of these laws, rules and regulations
      may initiate inquiries or actions based on customer complaints or on their
      own initiative.

CenturyLink substantially repeated the risk warnings set forth above in each Form 10-K

and Form 10-Q it filed during the Class Period.

      257.   CenturyLink explicitly told investors not to interpret a hypothetical risk as

one that was, in fact, likely to occur. As Defendant Bailey explained in testimony before

the Public Service Commission of Utah before the Class Period, the risk warnings

contained in CenturyLink’s SEC filings were “not intended to suggest that the risks are

likely outcomes.”

      258.   The statements set forth above in ¶¶256-57 were materially false and

misleading. The statement that the service standards and conditions imposed on the

Company in connection with obtaining licenses to operate in various locales “may” impose

“substantial costs and limitations” was materially misleading because it set forth the risk

as a mere possibility when Defendants knew that the service standards imposed upon

CenturyLink did, in fact, impose substantial limitations on the Company’s existing

operations. Indeed, as set forth above in Section IV, Defendants knew that the Company’s


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institutionalized cramming model was explicitly prohibited by several of the service

standards and conditions the Company represented it would comply with when entering

into agreements with local regulators that were in effect during the Class Period.

       259.   Further, the statement that CenturyLink could not “ensure” that it could be

considered “in compliance” with the requirements of “federal, state and local laws, rules

and regulations” was materially misleading, because it set forth the risk of noncompliance

with those laws as a mere possibility when, as set forth above in Section IV, Defendants

knew that the Company’s institutionalized cramming model was, in fact, in direct violation

of several “federal, state and local laws, rules and regulations,” and in any event that

CenturyLink’s conduct rendered it highly unlikely that the Company could be considered

“in compliance” with applicable laws, rules, and regulations.

       260.   In addition, the statement that “[t]he agencies responsible for the

enforcement of [the] laws, rules and regulations [to which the Company was subject] may

initiate inquiries or actions based on customer complaints or on their own initiative” was

materially misleading, because it characterized the risk of inquiries or enforcement actions

as a mere possibility when, as set forth in Section IV, Defendants knew that, in fact, several

inquiries and enforcement actions had been instituted against the Company, and that the

Company’s conduct in employing an institutionalized cramming model made further such

inquiries and actions highly likely, not merely possible.

       E.     False and Misleading Omissions In CenturyLink’s SEC Filings

       261.   CenturyLink’s SEC filings, including the Forms 10-Q and Forms 10-K filed

during the Class Period, failed to disclose information required to be disclosed therein

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under Item 303(a) of Regulation S-K and Securities Act Release No. 33-8350. 17 C.F.R.

§ 299.303. Among other things, Item 303 required CenturyLink to disclose, among other

things, “any known trends or uncertainties that have had or that the registrant reasonably

expects will have a material favorable or unfavorable impact on net sales or revenues or

income from continuing operations.”

      262.   Throughout the Class Period, CenturyLink was required under Item 303 to

disclose the fact that the Company’s illegal and deceptive sales practices were a material

driver of the Company’s reported revenue for its consumer and small business segments.

As set forth above in Section IV, Defendants knew that these practices had a material

impact on the Company’s revenues and income, and presented a significant uncertainty

given that these practices were illegal and the revenues and income they generated were

therefore unsustainable.    CenturyLink’s senior management specifically approved

significant changes to the Company’s sales employee discipline and compensation scheme

in order to address these practices in 2014.     And once these changes to employee

assessment and discipline were made, they immediately materially impacted revenues—so

much so, that CenturyLink reverted back to its prior method of disciplining sales

employees almost immediately.

      263.   CenturyLink was required to disclose this information to the SEC when the

agency directly questioned the Company about its disclosures concerning the operating

performance of its consumer segment and the Company’s compliance with Item 303. For

these reasons, among others, the Company’s September 22, 2015 response letter attributing

the consumer segment’s performance to “price compression and customer disconnects

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caused by competition” – without disclosing the changes to the Company’s sales practices

and their impact on CenturyLink’s revenues – was materially misleading, and only

underscores the abject failure of CenturyLink to comply with Item 303.

IX.    LOSS CAUSATION

       264.   Defendants’ wrongful conduct, as alleged herein, directly and proximately

caused Plaintiffs and the Class to suffer substantial losses. During the Class Period,

Plaintiffs and the Class purchased CenturyLink securities at artificially inflated prices and

were damaged thereby when the price of CenturyLink securities declined when the truth

was revealed.    The price of CenturyLink’s securities significantly declined (causing

investors to suffer losses) when Defendants’ misrepresentations, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were

revealed, and/or the risks that had been fraudulently concealed by Defendants materialized.

       265.   Specifically, Defendants’ materially false and misleading statements

misrepresented the true reasons behind the growth and fluctuations in the Company’s

reported revenues, the Company’s prospects for future revenue growth, and its financial

performance. When those statements were corrected and the risks concealed by them

materialized, including when the disclosure of the Company’s “Wells Fargo-like” scheme

revealed that the Company had engaged in illegal sales practices including unauthorized

cramming of customer accounts, investors suffered losses as the price of CenturyLink

securities declined.

       266.   As a result of the disclosure of the truth of Defendants’ fraud, CenturyLink’s

stock price declined over 16%, from a close of $26.95 on June 15, 2017 to close at $22.50

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on July 12, 2017. Similarly, the price of the 7.60% Senior Notes suffered statistically

significant declines, and ultimately fell nearly 6%, from a price of $97.533 on June 15,

2016 to a closing price of $91.887 on July 12, 2017. The disclosures that corrected the

market price of CenturyLink securities and reduced the artificial inflation caused by the

Defendants’ materially false and misleading statements are summarized in the following

chart, which identifies each corrective disclosure event, the price declines in CenturyLink

common stock resulting from the event, and, for purposes of comparison, the percentage

change in the S&P 500 Index on each event date:


    Date                Corrective Event                  Closing    Common       S&P 500
                                                           Stock    Stock Price    Price
                                                           Price      Change      Change


 6/16/2017    Bloomberg published a story revealing       $25.72      -4.72%       0.03%
              that a CenturyLink whistleblower was
              fired after raising concerns about the
              Company’s        fraudulent   business
              practices with Defendant Post.


 6/19/2017    Additional reports of consumer class        $25.36      -2.35%       0.84%
              actions alleging systemic billing
              misconduct.


 7/12/2017    The Minnesota Attorney General              $22.50      -4.13%       0.74%
              announced that it filed a lawsuit against
              CenturyLink alleging violations of
              state consumer protection laws after a
              year-long investigation.


       267.   Accordingly, as a result of their purchases of CenturyLink publicly traded

securities, Plaintiffs and other members of the Class suffered economic loss and damages.



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X.     CLASS ACTION ALLEGATIONS

       268.     Plaintiffs bring this action as a class action pursuant to Rules 23(a) and (b)(3)

of the Federal Rules of Civil Procedure on behalf of a Class consisting of all persons and

entities who purchased or otherwise acquired CenturyLink’s publicly traded securities

during the period from March 1, 2013 to July 12, 2017, inclusive, and who were damaged

thereby.      Excluded from the Class are Defendants; CenturyLink’s affiliates and

subsidiaries; the officers and directors of CenturyLink and its subsidiaries and affiliates at

all relevant times; members of the immediate family of any excluded person; heirs,

successors, and assigns of any excluded person or entity; and any entity in which any

excluded person has or had a controlling interest.

       269.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, CenturyLink’s common shares were actively

traded on the New York Stock Exchange. As of February 16, 2017, CenturyLink had

approximately 546.6 million shares of common stock issued and outstanding. Although

the exact number of Class members is unknown to Plaintiffs at this time, Plaintiffs believe

that there are at least thousands of members of the proposed Class. Members of the Class

can be identified from records maintained by CenturyLink or its transfer agent(s), and may

be notified of the pendency of this action by publication using a form of notice similar to

that customarily used in securities class actions.

       270.     Lead Plaintiff’s and Plaintiff’s claims are typical of the claims of the

members of the Class as all members of the Class were similarly damaged by Defendants’

conduct as complained of herein.

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       271.    Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among

the questions of fact and law common to the Class are:

       (a)     whether Defendants’ misrepresentations and omissions as alleged herein
               violated the federal securities laws;

       (b)     whether Defendants’ misrepresentations and omissions as alleged herein
               misrepresented material facts about, among other things, CenturyLink’s
               billing practices and financial performance during the Class Period;

       (c)     whether the Executive Defendants are personally liable for the alleged
               misrepresentations and omissions described herein;

       (d)     whether Defendants’ misrepresentations and omissions as alleged herein
               caused the Class members to suffer a compensable loss; and

       (e)     whether the members of the Class have sustained damages, and the proper
               measure of damages.

       272.    Plaintiffs will fairly and adequately protect the interests of the members of

the Class and have retained counsel competent and experienced in class actions and

securities litigation. Plaintiffs have no interest that conflicts with the interests of the Class.

       273.    A class action is superior to all other available methods for the fair and

efficient adjudication of this action. Joinder of all Class members is impracticable.

Additionally, the damage suffered by some individual Class members may be small relative

to the burden and expense of individual litigation, making it practically impossible for such

members to redress individually the wrongs done to them. There will be no difficulty in

the management of this action as a class action.

       274.    The names and addresses of those persons and entities that purchased or

acquired CenturyLink’s securities during the Class Period are available from

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CenturyLink’s transfer agent(s) or other sources. Notice may be provided to such class

members via first-class mail using techniques and a form of notice similar to those

customarily used in securities class actions.

XI.    PRESUMPTION OF RELIANCE

       275.   Plaintiffs are entitled to a presumption of reliance under Affiliated Ute

Citizens of Utah v. United States, 406 U.S. 128 (1972), because the claims asserted herein

against Defendants are predicated upon omissions of material fact that there was a duty to

disclose.

       276.   Plaintiffs are also entitled to a presumption of reliance on Defendants’

material misrepresentations and omissions pursuant to the fraud-on-the-market doctrine

because, during the Class Period:

       (a)    CenturyLink’s common stock was actively traded in an efficient
              market on the NYSE;

       (b)    CenturyLink’s common stock traded at high weekly volumes, with an
              average of over 28.7 million shares traded each week during the Class
              Period. The average weekly turnover as a percentage of shares
              outstanding was approximately 5.1% (median of 4.3%), well
              surpassing the higher 2% threshold level of average weekly trading
              volume necessary for an efficient market;

       (c)    CenturyLink’s publicly-traded bonds, including CenturyLink’s
              7.60% Senior Notes, were listed and actively traded on over-the-
              counter markets and other national options exchanges, highly efficient
              markets, and promptly reacted to public information concerning
              CenturyLink;

       (d)    As a regulated issuer, CenturyLink filed periodic public reports with
              the SEC;


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      (e)    CenturyLink was eligible to file registration statements with the SEC
             on Form S-3;

      (f)    CenturyLink regularly communicated with public investors by means
             of established market communication mechanisms, including through
             regular dissemination of press releases on the major news wire
             services and through other wide-ranging public disclosures, such as
             communications with the financial press, securities analysts and other
             similar reporting services;

      (g)    The market reacted promptly to public information disseminated by
             and concerning CenturyLink;

      (h)    CenturyLink securities were covered by numerous securities analysts
             employed by major brokerage firms, including Barclays Capital,
             BMO Capital Markets, Bank of America Merrill Lynch, Citigroup,
             Cowen & Co., Deutsche Bank, Gabelli & Co., Goldman Sachs,
             Jeffries LLC, JPMorgan Chase & Co., Macquarie Research, Morgan
             Stanley, Nomura Securities International, Oppenheimer & Co.,
             Raymond James & Associates, Inc., UBS, and Wells Fargo Securities;

      (i)    Each of these reports was publicly available and entered the public
             marketplace;

      (j)    The material misrepresentations and omissions alleged herein would
             tend to induce a reasonable investor to misjudge the value of
             CenturyLink securities; and

      (k)    Without knowledge of the misrepresented or omitted material facts
             alleged herein, Plaintiffs and other members of the Class purchased or
             acquired CenturyLink securities between the time Defendants
             misrepresented or failed to disclose material facts and the time the true
             facts were disclosed.

      277.   Accordingly, the market for CenturyLink’s publicly traded securities

promptly digested current information with respect to CenturyLink from all publicly-

available sources and reflected such information in the prices of those securities. Under

these circumstances, all purchasers of the Company’s publicly traded securities during the


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Class Period suffered similar injury through their purchases at artificially inflated prices,

and a presumption of reliance applies.

XII.   NO SAFE HARBOR

       278.   The statutory safe harbor applicable to forward-looking statements under

certain circumstances does not apply to any of the false or misleading statements pleaded

in this Complaint. The statements complained of herein were historical statements or

statements of current facts and conditions at the time the statements were made. Further,

to the extent that any of the false or misleading statements alleged herein can be construed

as forward-looking, the statements were not accompanied by any meaningful cautionary

language identifying important facts that could cause actual results to differ materially from

those in the statements.

       279.   Alternatively, to the extent the statutory safe harbor otherwise would apply

to any forward-looking statements pleaded herein, Defendants are liable for those false and

misleading forward-looking statements because at the time each of those statements was

made, the speakers knew the statement was false or misleading, or the statement was

authorized or approved by an executive officer of CenturyLink who knew that the

statement was materially false or misleading when made.

XIII. CAUSES OF ACTION

                                         COUNT I

FOR VIOLATIONS OF SECTION 10(b) OF THE EXCHANGE ACT AND
            RULE 10b-5 PROMULGATED THEREUNDER
   (Against Defendants CenturyLink, Post, Ewing, Cole, Puckett and
                              Douglas)


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       280.    Plaintiffs repeat and re-allege each and every allegation set forth above as if

fully set forth herein.

       281.    During the Class Period, Defendants CenturyLink, Post, Ewing, Cole,

Puckett and Douglas carried out a plan, scheme and course of conduct which was intended

to, and throughout the Class Period, did: (i) deceive the investing public regarding

CenturyLink’s business, operations, management and the intrinsic value of CenturyLink

stock and other securities; (ii) enabled Defendants to artificially inflate the price of

CenturyLink stock and other securities; and (iii) caused Plaintiffs and other members of

the Class to purchase CenturyLink common stock and other securities at artificially inflated

prices. In furtherance of this unlawful scheme, plan and course of conduct, Defendants

jointly and individually (and each of them) took the actions set forth herein.

       282.    The Defendants named in this count: (i) employed devices, schemes, and

artifices to defraud; (ii) made untrue statements of material facts or omitted to state material

facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading; and (iii) engaged in acts, practices, and a course of

business that operated as a fraud or deceit upon the purchasers of the Company’s common

stock during the Class Period in an effort to maintain artificially high market prices for

CenturyLink common stock in violation of Section 10(b) of the Exchange Act and Rule

10b-5. The Defendants named in this count are sued as primary participants in the wrongful

and illegal conduct charged herein. The Executive Defendants are also sued as controlling

persons as alleged below.



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       283.   These Defendants, individually and in concert, directly and indirectly, by the

use, means or instrumentalities of interstate commerce and/or of the mails, engaged and

participated in a continuous course of conduct to conceal adverse material information

about the business, operations and future prospects of CenturyLink as specified herein.

       284.   These Defendants employed devices, scheme and artifices to defraud, while

in possession of material adverse non-public information and engaged in acts, practices,

and a course of conduct as alleged herein in an effort to assure investors of CenturyLink’s

value and performance and continued growth, which included the making of, and the

participation in the making of, untrue statements of material facts and omitting to state

material facts necessary in order to make the statements made about CenturyLink and its

business operations and future prospects in light of the circumstances in which they were

made, not misleading, as set forth more particularly herein, and engaged in transactions,

practices and a course of business which operated as a fraud and deceit upon the purchasers

of CenturyLink common stock during the Class Period.

       285.   These Defendants are liable for the following materially false and misleading

statements and omissions made during the Class Period as alleged above in Section VIII:

       (a)    Defendant CenturyLink: Defendant CenturyLink is liable for all the
              false and misleading statements and omissions made by itself, its
              spokespersons, and Defendants Post, Ewing, Cole, Puckett and
              Douglas, its senior most officers during the Class Period and lead
              spokespersons for the Company during that time, which are set forth
              above in Section VIII.

       (b)    Defendant Post: Defendant Post is liable for the false and misleading
              statements and omissions made in the Company’s Forms 10-Q filed
              on August 8, 2013, November 7, 2013, May 8, 2014, August 7, 2014,
              November 6, 2014, May 6, 2015, August 6, 2015, November 5, 2015,

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          May 5, 2016, August 4, 2016, November 4, 2016, and May 4, 2017
          and Forms 10-K filed on March 1, 2013, February 27, 2014, February
          24, 2015, February 20, 2016, and February 23, 2017 and for
          statements made in conference calls in which he participated during
          the Class Period, held on May 8, 2013, August 7, 2013, November 6,
          2013, February 12, 2014, May 7, 2014, August 6, 2014, November 5,
          2014, February 11, 2015, May 5, 2015, June 24, 2015, August 5, 2015,
          September 10, 2015, November 4, 2015, February 10, 2016, March 2,
          2016, May 4, 2016, August 3, 2016, September 21, 2016, October 31,
          2016, February 8, 2017, March 1, 2017, and May 3, 2017;

    (c)   Defendant Ewing: Defendant Ewing is liable for the false and
          misleading statements and omissions made in the Company’s Forms
          10-Q filed on August 8, 2013, November 7, 2013, May 8, 2014,
          August 7, 2014, November 6, 2014, May 6, 2015, August 6, 2015,
          November 5, 2015, May 5, 2016, August 4, 2016, November 4, 2016,
          and May 4, 2017 and Forms 10-K filed on March 1, 2013, February
          27, 2014, February 24, 2015, February 20, 2016, and February 23,
          2017 and for statements made in conference calls in which he
          participated during the Class Period, held on May 8, 2013, May 16,
          2013, August 7, 2013, August 14, 2013, September 12, 2013,
          November 6, 2013, December 10, 2013, January 7, 2014, February
          12, 2014, March 5, 2014, March 11, 2014, May 7, 2014, May 19,
          2014, June 3, 2014, June 12, 2014, August 6, 2014, September 11,
          2014, November 5, 2014, December 9, 2014, January 6, 2015,
          February 11, 2015, March 2, 2015, March 9, 2015, May 5, 2015, May
          18, 2015, June 4, 2015, June 24, 2015, August 5, 2015, August 12,
          2015, November 4, 2015, December 7, 2015, January 6, 2016,
          February 10, 2016, March 2, 2016, March 7, 2016, March 8, 2016,
          May 4, 2016, August 3, 2016, September 15, 2016, September 21,
          2016, October 31, 2016, November 10, 2016, November 29, 2016,
          December 5, 2016, January 4, 2017, February 8, 2017, March 1, 2017,
          March 7, 2017, May 3, 2017, and May 22, 2017.

    (d)   Defendant Cole: Defendant Cole is liable for the false and misleading
          statements and omissions made in the Company’s Forms 10-Q filed
          on August 8, 2013, November 7, 2013, May 8, 2014, August 7, 2014,
          November 6, 2014, May 6, 2015, August 6, 2015, November 5, 2015,
          May 5, 2016, August 4, 2016, November 4, 2016, and May 4, 2017
          and Forms 10-K filed on March 1, 2013, February 27, 2014, February
          24, 2015, February 20, 2016, and February 23, 2017.


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       (e)    Defendant Puckett: Defendant Puckett is liable for the false and
              misleading statements and omissions made in conference calls in
              which she participated during the Class Period, held on: May 8, 2013,
              August 7, 2013, November 6, 2013, February 12, 2014, May 7, 2014,
              August 6, 2014, November 5, 2014, February 11, 2015, May 5, 2015,
              and August 5, 2015.

       (f)    Defendant Douglas: Defendant Douglas is liable for the false and
              misleading statements and omissions made in conference calls in
              which he participated during the Class Period, held on: May 4, 2016,
              August 3, 2016, February 8, 2017, and May 3, 2017.

       (g)    Defendants Post, Ewing, Cole, Puckett and Douglas are liable for all
              false statements made by other Defendants in conference calls in
              which they participated during the Class Period.

       286.   Defendants Post, Ewing, Cole, Puckett and Douglas, as senior officers of the

Company, are liable as direct participants in the wrongs complained of herein. Through

their high-ranking positions of control and authority as the most senior executive officers

of CenturyLink, each of these Defendants was able to control, and did directly control, the

content of the public statements disseminated by CenturyLink. Defendants Post, Ewing,

Cole, Puckett and Douglas had direct involvement in the daily business of the Company

and participated in the preparation and dissemination of CenturyLink’s materially false and

misleading statements set forth above.

       287.   The allegations in this Complaint establish a strong inference that Defendants

Post, Ewing, Cole, Puckett and Douglas acted with scienter throughout the Class Period in

that they had actual knowledge of the misrepresentations and omissions of material facts

set forth herein, or acted with reckless disregard for the truth in that they failed to ascertain

and disclose such facts. As demonstrated by Defendants’ material misstatements and


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omissions throughout the Class Period, if Defendants did not have actual knowledge of the

misrepresentations and omissions alleged herein, they were reckless in failing to obtain

such knowledge by recklessly refraining from taking those steps necessary to discover

whether their statements were false or misleading, even though such facts were available.

       288.    Plaintiffs and the other members of the Class have suffered damages in that,

in reliance on the integrity of the market in which the securities traded, they paid artificially

inflated prices for CenturyLink common stock and other securities, which inflation was

removed from the stock and other securities when the true facts became known. Plaintiffs

and the other members of the Class would not have purchased CenturyLink common stock

and other securities at the prices they paid, or at all, if they had been aware that the market

price had been artificially inflated by Defendants’ misleading statements.

       289.    By virtue of the foregoing, Defendants have violated Section 10(b) of the

Exchange Act and Rule 10b-5 promulgated thereunder.

       290.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs

and the other members of the Class suffered damages in connection with their respective

purchases of CenturyLink securities during the Class Period.

                                         COUNT II

   FOR VIOLATIONS OF SECTION 20(a) OF THE EXCHANGE ACT
   (Against Defendants Post, Ewing, Cole, Puckett, Douglas and Bailey)

       291.    Plaintiffs repeat and re-alleges each and every allegation set forth above as if

fully set forth herein.




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       292.   Defendants Post, Ewing, Cole, Puckett, Douglas and Bailey acted as

controlling persons of CenturyLink within the meaning of Section 20(a) of the Exchange

Act, as alleged herein.

       293.   By reasons of their high-level positions of control and authority as the

Company’s most senior officer and, in the case of Defendant Post, also as a CenturyLink

director, the Executive Defendants had the power and authority to influence and control,

and did influence and control, the decision-making and activities of the Company and its

employees, and to cause the Company to engage in the wrongful conduct complained of

herein. The Executive Defendants were able to and did influence and control, directly and

indirectly, the content and dissemination of the public statements made by CenturyLink

during the Class Period, thereby causing the dissemination of the false and misleading

statements and omissions of material facts as alleged herein. The Executive Defendants

were provided with or had unlimited access to copies of the Company’s press releases,

public filings and other statements alleged by Plaintiffs to be misleading prior to and/or

shortly after these statements were issued and had the ability to prevent the issuance of the

statements to be corrected.

       294.   In their capacities as CenturyLink’s most senior corporate officers, and as

more fully described above, the Executive Defendants had direct and supervisory

involvement in the day-to-day operations of the Company and, therefore, are presumed to

have had the power to control or influence the particular transactions giving rise to the

securities law violations as alleged herein. Defendants Post, Ewing and Cole signed

CenturyLink’s SEC filings, and Defendants Post and Ewing signed CenturyLink’s

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Sarbanes-Oxley certifications, and were directly involved in providing false information

and certifying and/or approving the false statements disseminated by CenturyLink during

the Class Period.

       295.   In their capacities as CenturyLink’s most senior corporate officers, and as

more fully described above, the Executive Defendants had direct and supervisory

involvement in the day-to-day operations of the Company and, therefore, are presumed to

have had the power to control or influence the particular transactions giving rise to the

securities law violations as alleged herein.

       296.   Defendants Post, Ewing and Cole signed CenturyLink’s SEC filings, and

Defendants Post and Ewing signed CenturyLink’s Sarbanes-Oxley certifications, and were

directly involved in providing false information and certifying and/or approving the false

statements disseminated by CenturyLink during the Class Period.

       297.   Defendant Puckett served as CenturyLink’s President, Global Markets, from

November 1, 2014 until she left the Company on August 31, 2015. Prior to that, Puckett

served as CenturyLink’s President and COO from 2002 until July 2009, and as

CenturyLink’s Executive Vice President and Chief Operating Officer from July 2009 until

November 1, 2014. From the beginning of the Class Period until her departure from the

Company, Puckett was the Company’s second-highest paid executive officer, was listed as

one of CenturyLink’s named executive officers in its proxy filings each year, and spoke

frequently on the Company’s conference calls. At CenturyLink, Puckett oversaw the

Company’s entire sales apparatus, including the Company’s call centers, and was

responsible for addressing this segment in the Company’s investor presentations.

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       298.   Defendant Douglas succeeded Puckett as the Company’s President, Sales

and Marketing, in February 2016. Defendant Post explained that Douglas was brought in

to “driv[e] the ship” with respect to sales and revenue and, from the time he arrived until

the end of the Class Period, Douglas was the second-highest-paid executive, after Post.

Douglas spoke regularly on the Company’s conference calls, particularly in connection

with the Company’s plans to improve sales and revenues.

       299.   Defendant Bailey worked for CenturyLink for over 25 years. During the

Class Period, Bailey served as the Company’s Senior Vice President and Treasurer, as the

Senior Vice President of Operations with oversight over “all” of CenturyLink’s region

operations, as a Senior Vice President in an operations transformation role leading a

“transformation, of how we operate the Company, how we serve the Company, bringing

really a better customer experience at every touch point for our customers.” Defendant

Ewing explained that Bailey worked directly for Post and had a wide purview to study “all”

of CenturyLink’s processes.

       300.   Each of the Executive Defendants culpably participated in some meaningful

sense in the fraud alleged herein. Defendants Post, Ewing, Cole, Puckett, Douglas and

Bailey each acted with scienter, as set forth more fully in Section VII.

       301.   By virtue of their positions as controlling persons of CenturyLink and as a

result of their own aforementioned conduct, Defendants Post, Ewing, Cole, Puckett,

Douglas and Bailey together and individually, are liable pursuant to Section 20(a) of the

Exchange Act, jointly and severally with, and to the same extent as the Company is liable

under Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.

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XIV. PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for relief and judgment as follows:

       (a)    Declaring that this action is a proper class action and certifying Plaintiffs as

class representatives under Rule 23 of the Federal Rules of Civil Procedure;

       (b)    Awarding compensatory damages in favor of Plaintiffs and the other Class

members against all Defendants, jointly and severally, for all damages sustained as a result

of Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

       (c)    Awarding Plaintiffs and the other members of the Class their reasonable costs

and expenses incurred in this action, including attorneys’ fees and expert fees; and

       (d)    Awarding such other and further relief as the Court may deem just and proper

XV.    JURY DEMAND

       Plaintiffs hereby demand a trial by jury.

Dated: Minneapolis, Minnesota                  BERNSTEIN LITOWITZ BERGER &
       June 25, 2018                           GROSSMANN LLP

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                                   Employee Retirement Board, on behalf of
                                   the Oregon Public Employee Retirement
                                   Fund, Counsel to Plaintiff Fernando
                                   Alberto Vildosola, as trustee for the AUFV
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             APPENDIX A: FALSE AND MISLEADING STATEMENTS CONCERNING REVENUE RESULTS

Reporting         Misleading
 Period         Revenue Metrics                                     False and Misleading Statements
FY 2012     Regional Markets        2012 Form 10-K (March 1, 2013):
            Segment Revenue: $9.876
            billion                       Growth in strategic services revenues was [in part] due to increases in the number of
                                          broadband subscribers as well as volume increases in our facilities-based video.
            Regional Markets
            Segment Strategic
            Revenue: $3.607 billion

Q1 2013     Consumer Segment            Q1 2013 Form 8-K (May 8, 2013):
            Revenue: $1.511 billion
                                              The Consumer segment realized continued strategic revenue growth driven by increased
            Consumer Segment                  high-speed Internet and CenturyLink® PrismTM TV subscribers.
            Strategic Revenue: $620
            million.                    Q1 2013 Earnings Call (May 8, 2013):

            (Repeated in Form 8-K,            Post: We achieved strong high speed Internet and Prism TV subscriber growth. And the
            Earnings Call, Form 10-Q)         focused investments we have made in our key strategic initiatives have positively
                                              contributed to strategic revenue growth, and continued to improve our top line revenue
                                              trend.

                                              Ewing: Strategic revenue in the quarter increased [in part] due to growth in strategic
                                              products [including] high speed Internet [and] Prism TV.

                                        Q1 2013 Form 10-Q (May 10, 2013):

                                              The increase in [consumer] strategic services revenues is due primarily to volume
                                              increases in our facilities-based video and increases in the number of broadband
                                              subscribers.
                                                                                                                                       CASE 0:17-md-02795-MJD-KMM Document 180 Filed 06/25/18 Page 146 of 165




Q2 2013     Consumer Segment            Q2 2013 Form 8-K (August 7, 2013):
            Revenue: $1.494 billion
Reporting         Misleading
 Period         Revenue Metrics                                       False and Misleading Statements
            Consumer Segment                  The Consumer segment realized continued strategic revenue growth driven by year-over-
            Strategic Revenue: $628           year increased high-speed Internet and CenturyLink Prism TV subscribers.
            million
                                        Q2 2013 Earnings Call (August 7, 2013):
            (Repeated in Form 8-K,
            Earnings Call, Form 10-Q)         Post: [S]trength in revenue from high speed internet . . . and Prism TV were . . . drivers
                                              of [strategic revenue] growth.

                                              Ewing: Strategic revenue in the quarter increased to 48% of total revenue from 45% in
                                              the second quarter a year ago, due to growth in strategic products such as high speed
                                              internet . . . [and] Prism TV.

                                        Q2 2013 Form 10-Q (August 8, 2013):

                                              The increase in [consumer] strategic services revenues is due primarily to volume
                                              increases in our facilities-based video services and increases in the number of broadband
                                              subscribers, as well as from price increases on various services.

Q3 2013     Consumer Segment            Q3 2013 Form 8-K (November 6, 2013):
            Revenue: $1.503 billion
                                              The Consumer segment realized continued strategic revenue growth driven by increased
            Consumer Segment                  high-speed Internet and CenturyLink Prism TV subscribers, along with price increases
            Strategic Revenue: $644           for selected services.
            million
                                        Q3 2013 Earnings Call (November 6, 2013):
            (Repeated in Form 8-K,
            Earnings Call, Form 10-Q)         Post: Strengthened revenues from high speed internet . . . and Prism TV were . . . drivers
                                              of [strategic revenue] growth.

                                              Ewing: Our strategic revenues in [the consumer] segment grew 6.8% year over year to
                                              $644 million, driven by growth in high speed internet and Prism customers and price
                                                                                                                                           CASE 0:17-md-02795-MJD-KMM Document 180 Filed 06/25/18 Page 147 of 165




                                              increases.



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Reporting         Misleading
 Period         Revenue Metrics                                       False and Misleading Statements
                                        Q3 2013 Form 10-Q (November 8, 2013):

                                              The increase in [consumer] strategic services revenues is due primarily to volume
                                              increases in our facilities-based video services and increases in the number of broadband
                                              subscribers, as well as from price increases on various services.

                                        UBS Conference (December 10, 2013):

                                              Ewing: [B]asically, the consumer revenue uplift that we had in the third quarter was
                                              predominantly related to price increases.

Q4 and FY For Q4 2013:                  Q4 and FY 2013 8-K (February 12, 2014):
  2013
          Consumer Segment                    CenturyLink achieved strong financial and operating results for the fourth quarter with
          Revenue: $1.496 billion             operating revenues at the top end of our guidance range for the quarter, record PrismTM
                                              TV subscriber growth, [and] higher than anticipated high-speed Internet subscriber
            Consumer Segment                  additions.
            Strategic Revenue: $683
            million                           The Consumer segment realized continued strategic revenue growth driven by increased
                                              high-speed Internet and CenturyLink Prism TV subscribers.
            For FY 2013:
                                        Q4 and FY 2013 Earnings Call (February 12, 2014):
            Consumer Segment
            Revenue: $6.004 billion           Post: [C]ontinued [core] revenue improvement was driven by nearly a $400 million
                                              increase in strategic revenues, [in part] due to growth in broadband [and] Prism TV.
            Consumer Segment
            Strategic Revenue: $2.650         Ewing: Our strategic revenues in [the consumer] segment grew 7.7% year over year to
            billion                           $683 million, driven by growth in high-speed Internet and Prism subscribers and the full-
                                              quarter impact of price increases.
            (Repeated in Form 8-K,
            Earnings Call, Form 10-K) 2013 Form 10-K (February 27, 2014):
                                                                                                                                          CASE 0:17-md-02795-MJD-KMM Document 180 Filed 06/25/18 Page 148 of 165




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Reporting         Misleading
 Period         Revenue Metrics                                       False and Misleading Statements
                                              The increase in [consumer] strategic services revenues is due primarily to volume
                                              increases in our facilities-based video services and increases in the number of broadband
                                              subscribers, as well as from price increases on various services.

Q1 2014     Consumer Segment            Q1 2014 Form 8-K (May 7, 2014):
            Revenue: $1.509 billion
                                              CenturyLink generated strong first quarter financial and operating results, driven [in part]
            Consumer Segment                  by . . . consumer demand for high-speed Internet and Prism TV services.
            Strategic Revenue: $702
            million                           The Consumer segment achieved strong strategic revenue growth driven by increased
                                              high-speed Internet and CenturyLink® PrismTM TV customers, price increases on
            (Repeated in Form 8-K,            certain products and lower customer churn.
            Earnings Call, Form 10-Q)
                                        Q1 2014 Earnings Call (May 7, 2014):

                                              Post: Consumer revenue grew sequentially and was nearly flat year over year, fueled by
                                              continued strength in high-speed internet and Prism TV customer growth, price increases,
                                              and improved churn.

                                              Ewing: Strategic revenues in [the consumer] segment grew 8.8% year over year to $702
                                              million, driven by growth in high-speed internet, Prism customers, price increases, and
                                              improved churn.

                                        Q1 2014 Form 10-Q (May 9, 2014):

                                              The increase in [consumer] strategic services revenues is due primarily to volume
                                              increases in our facilities-based video services and increases in the number of broadband
                                              subscribers, as well as from price increases on various services.

                                        Morgan Stanley Conference (June 12, 2014):
                                                                                                                                             CASE 0:17-md-02795-MJD-KMM Document 180 Filed 06/25/18 Page 149 of 165




                                              Ewing: [O]ur revenue declined on a consolidated basis pro forma 5.6% in 2010. Last
                                              year, we reduced that decline to 1.5%. . . . The main drivers of the improving revenue


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Reporting         Misleading
 Period         Revenue Metrics                                       False and Misleading Statements
                                              trends are related to the strategic revenue growth, which are primarily our products such
                                              as high-speed Internet [and] our Prism TV product for our consumers.

Q2 2014     Consumer Segment            Q2 2014 Form 8-K (August 6, 2014):
            Revenue: $1.500 billion
                                              CenturyLink second quarter results reflect [among other things] solid consumer demand
            Consumer Segment                  for Prism TV service and our continued mitigation of legacy revenue declines.
            Strategic Revenue: $709
            million                           The Consumer segment achieved year-over-year revenue growth driven by increased
                                              high-speed Internet and CenturyLink Prism TV customers and price increases on certain
            (Repeated in Form 8-K,            products.
            Earnings Call, Form 10-Q)
                                        Q2 2014 Earnings Call (August 6, 2014):

                                              Ewing: Strategic revenues in [the consumer] segment grew 8.6% year-over-year to $709
                                              million, driven by growth in high speed internet and Prism TV customers, price increases,
                                              and improved churn.

                                              [W]e did some price increases early part of this year, too, that benefited second quarter
                                              as well. . . . That’s helping the revenue decline on the legacy.

                                        Q2 2014 Form 10-Q (August 7, 2014):

                                              The increase in [consumer] strategic services revenues . . . was due primarily to volume
                                              increases in our facilities-based video services and increases in the number of broadband
                                              subscribers, as well as from price increases on various services.

Q3 2014     Consumer Segment            Q3 2014 Form 8-K (November 5, 2014):
            Revenue: $1.491 billion
                                              The Consumer segment achieved strong year-over-year strategic revenue growth driven
            Consumer Segment                  by increased high-speed Internet and CenturyLink® PrismTM TV customers.
                                                                                                                                          CASE 0:17-md-02795-MJD-KMM Document 180 Filed 06/25/18 Page 150 of 165




            Strategic Revenue: $712
            million                     Q3 2014 Earnings Call (November 5, 2014):


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Reporting         Misleading
 Period         Revenue Metrics                                       False and Misleading Statements
            (Repeated in Form 8-K,            Ewing: Strategic revenues in [the consumer] segment grew 6.4% year-over-year to $712
            Earnings Call, Form 10-Q)         million driven by growth in high-speed Internet and Prism TV customers, price increases,
                                              and improved churn.

                                        Q3 2014 Form 10-Q (November 6, 2014):

                                              The increase in strategic services revenues . . . was due primarily to increases in the
                                              number of our facilities-based video customers and increases in the number of broadband
                                              subscribers, as well as from price increases on various services.

Q4 and FY For Q4 2014:                  Q4 and FY 2014 Form 8-K (February 11, 2015):
  2014
          Consumer Segment                    The Consumer segment achieved strong year-over-year strategic revenue growth driven
          Revenue: $1.494 billion             primarily by increased high-speed Internet and CenturyLink Prism TV customers.

            Consumer Segment            Q4 and FY 2014 Earnings Call (February 11, 2015):
            Strategic Revenue: $727
            million                           Post: [CenturyLink’s] continued revenue improvement was driven by a nearly $380-
                                              million increase in strategic revenues, [in part] due to growth in . . . high-speed Internet
            For FY 2014:                      [and] Prism TV.

            Consumer Segment                  Ewing: Strategic revenues in [the consumer] segment grew 6.4% year over year to $727
            Revenue: $5.994 billion           million, driven [in part] by growth in high-speed Internet and Prism TV customers, price
                                              increases, [and] improved churn . . . . Legacy revenues for the segment declined 5.7% for
            Consumer Segment                  fourth quarter 2013, as access line and long-distance revenue declines were partially
            Strategic Revenue: $2.850         offset by select price increases.
            billion
                                        2014 Form 10-K (February 24, 2015):
            (Repeated in Form 8-K,
            Earnings Call, Form 10-K)         The increase in [consumer] strategic services revenues . . . was due primarily to increases
                                              in the number of our facilities-based video customers and increases in the number of
                                                                                                                                             CASE 0:17-md-02795-MJD-KMM Document 180 Filed 06/25/18 Page 151 of 165




                                              broadband subscribers, as well as from price increases on various services.



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Reporting         Misleading
 Period         Revenue Metrics                                       False and Misleading Statements
                                        Deutsche Bank Conference (March 9, 2015):

                                              This continued improvement [in revenues] was driven by a nearly $380 million increase
                                              in strategic revenues [in part] due to growth in . . . high-speed Internet [and] Prism TV . .
                                              . revenues.

Q1 2015     Consumer Segment            Q1 2015 Form 8-K (May 5, 2015):
            Revenue: $1.497 billion
                                              The Consumer segment achieved solid year-over-year strategic revenue growth driven
            Consumer Segment                  primarily by increased high-speed Internet and CenturyLink Prism TV customers, along
            Strategic Revenue: $738           with select price increases.
            million
                                        Q1 2015 Earnings Call (May 5, 2015):
            (Repeated in Form 8-K,
            Earnings Call, Form 10-Q)         Ewing: Strategic revenues in [the consumer] segment grew 5.1% year over year to $738
                                              million driven by growth in high-speed internet and Prism TV customers and select price
                                              adjustments. Legacy revenues for the consumer segment declined 6% from first quarter
                                              2014 as access line and long-distance revenue declines were partially offset by select
                                              price adjustments.

                                        Q1 2015 Form 10-Q (May 6, 2015):

                                              The increase in [consumer] strategic services revenues was due primarily to increases in
                                              the number of our Prism TV customers and increases in the number of broadband
                                              subscribers, as well as from price increases on various services.

Q2 2015     Consumer Segment            Q2 2015 Form 8-K (August 5, 2015):
            Revenue: $1.502 billion
                                              The Consumer segment achieved strong year-over-year strategic revenue growth driven
            Consumer Segment                  primarily by increased high-speed Internet and CenturyLink Prism TV customers, along
            Strategic Revenue: $758           with select price increases.
                                                                                                                                              CASE 0:17-md-02795-MJD-KMM Document 180 Filed 06/25/18 Page 152 of 165




            million
                                        Q2 2015 Earnings Call (August 6, 2015):

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Reporting         Misleading
 Period         Revenue Metrics                                      False and Misleading Statements
            (Repeated in Form 8-K,            Ewing: Strategic revenues in [the consumer] segment grew 6.9% year over year to $758
            Earnings Call, Form 10-Q)         million, driven by growth in high-speed Internet and Prism TV customers and select price
                                              increases. Legacy revenues for the consumer segment declined 5.8% from second-quarter
                                              2014, as access line and long-distance revenue declines were partially offset by select
                                              price increases.

                                        Q2 2015 Form 10-Q (August 6, 2015):

                                              The increase in [consumer] strategic services revenues was primarily due to increases in
                                              the number of our Prism TV customers and increases in the number of broadband
                                              subscribers, as well as from price increases on various services.

Q3 2015     Consumer Segment            Q3 2015 Form 8-K (November 4, 2015):
            Revenue: $1.509 billion
                                              The Consumer segment achieved strong year-over-year strategic revenue growth driven
            Consumer Segment                  primarily by increased high-speed Internet and CenturyLink Prism TV customers, along
            Strategic Revenue: $763           with higher ARPU.
            million
                                        Q3 2015 Earnings Call (November 4, 2015):
            (Repeated in Form 8-K,
            Earnings Call, Form 10-Q)         Ewing: Strategic revenues in [the consumer] segment grew 7.2% year over year to $763
                                              million, driven by year-over-year growth in high-speed internet and Prism TV customers
                                              and higher average revenue per customer through select price increases and higher-value
                                              bundles.

                                        Q3 2015 Form 10-Q (November 5, 2015):

                                              The increase in [consumer] strategic services revenues was primarily due to increases in
                                              the number of high-speed Internet subscribers and increases in the number of our Prism
                                              TV customers, as well as from price increases on various services.
                                                                                                                                         CASE 0:17-md-02795-MJD-KMM Document 180 Filed 06/25/18 Page 153 of 165




                                        UBS Conference (December 7, 2015):



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Reporting         Misleading
 Period         Revenue Metrics                                       False and Misleading Statements
                                              Ewing: [I]f you look at the consumer side of the business, between the increase in
                                              revenues that we have seen from high-speed Internet as well as our Prism TV service and
                                              price increases, select price increases that we have done, we’ve been able to see real stable
                                              revenue on the consumer side.

Q4 and FY For Q4 2015:                  Q4 and FY 2015 Form 8-K (February 10, 2016):
  2015
          Consumer Segment                    The Consumer segment achieved solid year-over-year revenue growth driven primarily
          Revenue: $1.513 billion             by increased high-speed Internet and CenturyLink Prism TV revenues.

            Consumer Segment            Q4 and FY 2015 Earnings Call (February 10, 2016):
            Strategic Revenue: $773
            million                           Ewing: Strategic revenues in [the consumer] segment grew 6.3% year-over-year, to $773
                                              million, driven by year-over-year growth in high-speed internet and Prism TV revenues.
            For FY 2015:                      Legacy revenues for the Consumer segment declined only 3.4% from fourth quarter 2014,
                                              as access line and long-distance revenue declines were partially offset by select price
            Consumer Segment                  increases.
            Revenue: $6.021 billion
                                        2015 Form 10-K (February 25, 2016):
            Consumer Segment
            Strategic Revenue: $3.032         The increase in [consumer] strategic services revenues was [in part] due to growth in the
            billion                           number of high-speed Internet subscribers and increases in the number of Prism TV
                                              customers.
            (Repeated in Form 8-K,
            Earnings Call, Form 10-K)

 Q1 2016    Consumer Segment            Q1 2016 Form 8-K (May 4, 2016):
            Revenue: $1.509 billion
                                              The Consumer segment achieved solid year-over-year strategic revenue growth driven
            Consumer Segment                  primarily by increased high-speed Internet and CenturyLink Prism TV revenues.
            Strategic Revenue: $763
                                                                                                                                              CASE 0:17-md-02795-MJD-KMM Document 180 Filed 06/25/18 Page 154 of 165




            million                     Q1 2016 Earnings Call (May 4, 2016):


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Reporting         Misleading
 Period         Revenue Metrics                                          False and Misleading Statements
            (Repeated in Form 8-K,            Ewing: Strategic revenues in this segment grew 4.9% year-over-year to $774 million,
            Earnings Call, Form 10-Q)         driven by year-over-year growth in high-speed internet and Prism TV revenues. Legacy
                                              revenues for the consumer segment declined 5.8% from first quarter 2015, as voice
                                              revenue declines were partially offset by select price increases.

                                              Douglas: [O]ur ARPUs are consistent with what you’d see at an ARPU level in our
                                              competitors. And we see competition adding a lot of fees. And so, that’s where there
                                              might be a little bit of a delta, but we’re working through, and constantly monitoring what
                                              our competitors are doing in the marketplace, with regard to the average ARPUs in our
                                              business.

                                        Q1 2016 Form 10-Q (May 5, 2016):

                                              The increase in our [consumer] strategic services revenues was primarily due to high-
                                              speed internet rate increases resulting from various pricing initiatives and increases in the
                                              number of our Prism TV customers.

Q2 2016     Consumer Segment            Q2 2016 Form 8-K (August 3, 2016):
            Revenue: $1.494 billion
                                              Consumer segment revenues were $1.49 billion, a decrease of 0.6% from second quarter
            Consumer Segment                  2015, primarily due to a decline in legacy voice revenues, which was partially offset by
            Strategic Revenue: $800           growth in broadband and Prism TV revenues.
            million
                                        Q2 2016 Earnings Call (August 3, 2016):
            (Repeated in Form 8-K,
            Earnings Call, Form 10-Q)         Ewing: Strategic revenues in [the consumer] segment grew 5.5% year-over-year to $800
                                              million, driven by year-over-year growth in broadband and Prism TV revenues. Legacy
                                              revenues for the consumer segment declined 6.8% from second quarter a year ago, as
                                              access line declines were partially offset by select price increases.

                                        Q2 2016 Form 10-Q (August 4, 2016):
                                                                                                                                              CASE 0:17-md-02795-MJD-KMM Document 180 Filed 06/25/18 Page 155 of 165




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Reporting         Misleading
 Period         Revenue Metrics                                          False and Misleading Statements
                                              The increase in our [consumer] strategic services revenues . . . was primarily due to rate
                                              increases resulting from various pricing initiatives on broadband, Prism TV and other
                                              strategic products and services, and increases in the number of our Prism TV customers.

 Q3 2016    Consumer Segment            Q3 2016 Form 8-K (October 31, 2016):
            Revenue: $1.472 billion
                                              Consumer segment revenues were $1.47 billion, a decrease of 2.5% from third quarter
            Consumer Segment                  2015, primarily due to a decline in legacy voice revenues, which was partially offset by
            Strategic Revenue: $789           growth in broadband and Prism TV revenues.
            million
                                        Q3 2016 Earnings Call (October 31, 2016):
            (Repeated in Form 8-K,
            Earnings Call, Form 10-Q)         Ewing: Strategic revenues in this segment grew 3.4% year-over-year to $789 million
                                              driven by year-over-year growth in broadband and Prism TV revenues.

                                        Q3 2016 Form 10-Q (November 4, 2016):

                                              The decrease in our consumer segment revenues . . . was primarily due to the declines in
                                              our legacy services revenues, which were partially offset by increases in our strategic
                                              services revenues. . . . The increase in our strategic services revenues . . . was primarily
                                              due to rate increases resulting from various pricing initiatives on broadband, Prism TV
                                              and other strategic products and services, and increases in the number of our Prism TV
                                              customers, which were partially offset by a decline in broadband customers.

Q4 and FY For Q4 2016:                  Q4 and FY 2016 Form 8-K (February 8, 2017):
  2016
          Consumer Segment                    Consumer segment revenues were $1.45 billion, a decrease of 4.3% from fourth quarter
          Revenue: $1.448 billion             2015, primarily due to a decline in legacy voice revenues, which was partially offset by
                                              growth in Prism TM TV revenues. Strategic revenues were $784 million in the quarter, a
            Consumer Segment                  1.4% increase over fourth quarter 2015.
            Strategic Revenue: $784
                                                                                                                                             CASE 0:17-md-02795-MJD-KMM Document 180 Filed 06/25/18 Page 156 of 165




            million                     Q4 and FY 2016 Earnings Call (February 8, 2017):


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Reporting         Misleading
 Period         Revenue Metrics                                         False and Misleading Statements
            For FY 2016:                      Ewing: [T]he consumer segment . . . generated $1.45 billion in total operating revenues,
                                              a decline of 4.3% from fourth quarter 2015. Strategic revenues in the segment grew 1.4%
            Consumer Segment                  year-over-year to $784 million, driven by year-over-year growth in Prism TV revenues.
            Revenue: $5.903 billion
                                        2016 Form 10-K (February 23, 2017):
            Consumer Segment
            Strategic Revenue: $3.147         The decrease in our consumer segment revenues was primarily due to the declines in our
            billion                           legacy services revenues, which were partially offset by increases in our strategic
                                              revenues. . . . The increase in our strategic services revenues was primarily due to 2016
            (Repeated in Form 8-K,            rate increases resulting from various pricing initiatives on broadband, Prism TV and other
            Earnings Call, Form 10-K)         strategic products and services, and increases in the number of our Prism TV customers.

Q1 2017     Consumer Segment            Q1 2017 Earnings Call (May 3, 2017):
            Revenue: $1.412 billion
                                              Post: [C]onsumer broadband subscriber trends have been improving the last several
            Consumer Segment                  quarters and improved again this quarter.
            Strategic Revenue: $764
            million                           Our focus has been on managing these legacy service revenues and related cost within
                                              for the cash flows they provide, enabling us to invest in our strategic services -- service
            (Repeated in Form 8-K,            offerings and effectively compete in today’s marketplace. We believe the decline in our
            Earnings Call, Form 10-Q)         legacy revenues has been better than most of our peers and we will continue to manage
                                              these revenue streams to drive cash flows to invest in strategic services that meet the
                                              needs of the Enterprise and Consumer customers.
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